                                                                       1


 1                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
 2                            WESTERN DIVISION

 3

 4    UNITED STATES OF AMERICA,-   Docket No. 5:18-CR-452-FL-1
                               -
 5       Plaintiff,            -    New Bern, North Carolina
                               -    January 22, 2019
 6           v.                -    Motion Hearing
                               -
 7    LEONID ISAAKOVICH TEYF, -
                               -
 8       Defendant.            -
      -------------------------------
 9
                        TRANSCRIPT OF MOTION HEARING
10              BEFORE THE HONORABLE LOUISE WOOD FLANAGAN
                       UNITED STATES DISTRICT JUDGE.
11
      APPEARANCES:
12
      For the Plaintiffs:         United States Attorneys' Office
13                                By: Jason M. Kellhofer
                                      Barbara D. Kocher
14                                310 New Bern Avenue, Suite 800
                                  Raleigh, NC 27601
15                                (919) 856-4500

16    For the Defendant:          Moore & Van Allen PLLC
                                  By: James P. McLoughlin, Jr.
17                                    Nathan A. White
                                  100 North Tryon Street, Suite 4700
18                                Charlotte, NC 28202-4003
                                  (704) 331-1000
19
      Court Reporter:             Tracy L. McGurk, RMR, CRR
20                                413 Middle St.
                                  New Bern, NC 28560
21                                (419) 392-6626

22

23
      Proceedings recorded by mechanical stenography,
24    transcript produced by notereading.

25




     Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 1 of 94
                                                                                        2


            1                    (Commenced at 10:01 a.m.)

            2                    THE COURT:      Good morning.

00:00:02    3                    MR. KELLHOFER: Good morning, Your Honor.

00:00:04    4                    MR. McLOUGHLIN:       Good morning.

00:00:04    5                    THE COURT:      As the first order of business,

00:00:06    6    would the clerk administer the oath to our interpreter.

00:00:13    7                    THE CLERK:      Please state your name.

00:00:15    8                    THE INTERPRETER:        Tatyana Draga.

00:00:18    9                    (Whereupon the interpreter was sworn by the

00:00:25   10    clerk.)

00:00:25   11                    THE COURT:      For the record, Mr. Kellhofer,

00:00:29   12    you are here present and representing the Government,

00:00:32   13    together with Ms. Kocher.

00:00:33   14                    MR. KELLHOFER: Yes, Your Honor.

00:00:34   15                    THE COURT:      And on behalf of the defendant,

00:00:35   16    sir, would you facilitate introductions.

00:00:38   17                    MR. McLOUGHLIN:       Yes, Your Honor.          Good

00:00:39   18    morning.       I am Jim McLoughlin from Moore & Van Allen

00:00:43   19    here representing Mr. Teyf.           To my right is John Han

00:00:47   20    from our office.        To my left is Nathan White from our

00:00:51   21    office.     And to Mr. White's left is Manvel Vasilyev, who

00:01:00   22    represents Mr. Teyf.

00:01:02   23                    THE COURT:      Mr. Teyf is here and present.

00:01:06   24                    Well, it's your motion.          How would you like

00:01:08   25    to proceed?




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 2 of 94
                                                                                        3


00:01:10    1                    MR. McLOUGHLIN:       That is exactly the

00:01:11    2    question, Your Honor, I was about to ask you.                   Our

00:01:15    3    position, as you know, is that Mr. Teyf is entitled to a

00:01:18    4    de novo hearing.        We can proceed with our argument with

00:01:24    5    submission of evidence, or if the Government intends to

00:01:27    6    call a witness, since it is their burden of proof, the

00:01:30    7    Government may go first; we could cross-examine and then

00:01:34    8    respond.     I think that is Your Honor's call.

00:01:39    9                    THE COURT:      What are you prepared to do,

00:01:41   10    counsel for the Government?

00:01:43   11                    MR. KELLHOFER: Your Honor, it's our

00:01:44   12    understanding that this is the defendant's motion and

00:01:48   13    that the burden would be on the defendant.                We did not

00:01:51   14    intend to present evidence.           This appears to be an

00:01:56   15    evidentiary hearing called by the defense.

00:01:59   16                    There are matters by proffer that we have

00:02:01   17    raised through motion.          And I think at the outset it may

00:02:04   18    be appropriate at this time to raise our concerns with

00:02:07   19    regard to who was introduced as Mr. Manvel Vasilyev on

00:02:14   20    the defense table at the moment.

00:02:17   21                    THE COURT:      What's your concern?

00:02:19   22                    MR. KELLHOFER: Your Honor, we have a few

00:02:21   23    concerns, and this actually will go towards our -- today

00:02:25   24    we will be submitting a requested protective order, Your

00:02:30   25    Honor.     I will explain by proffer as to our issues with




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 3 of 94
                                                                                         4


00:02:40    1    regard to Mr. Vasilyev.

00:02:44    2                    MR. McLOUGHLIN:       Your Honor, with respect --

00:02:45    3    may I interrupt here for a moment and ask a question?

00:02:47    4                    THE COURT:      Let's understand what the

00:02:51    5    question is.

00:02:51    6                    You can continue.

00:02:53    7                    MR. KELLHOFER: Thank you, Your Honor.

00:02:59    8                    Mr. Vasilyev has not entered a notice of

00:03:01    9    appearance, Your Honor, at this point.               That falls -- or

00:03:07   10    I guess exacerbates additional concerns that the

00:03:10   11    Government has and at this time feels the need to make

00:03:13   12    you fully aware of.         I guess the beginning is the best

00:03:20   13    place to start for Your Honor.

00:03:23   14                    This investigation has been ongoing for a

00:03:25   15    number of years, Your Honor.            Mr. Manvel Vasilyev was

00:03:33   16    known to the investigation as a friend of Mr. Teyf's;

00:03:40   17    that had been the characterization.

00:03:41   18                    THE COURT:      Go through the introductions

00:03:43   19    again.     Who is this person?        And tell me your name

00:03:46   20    again.

00:03:48   21                    MR. VASILYEV:       Manvel Vasilyev.

00:03:50   22                    THE COURT:      Are you a lawyer?

00:03:53   23                    MR. VASILYEV:       I am.

00:03:53   24                    THE COURT:      Are you admitted to practice?

00:03:57   25                    MR. VASILYEV:       In New York.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 4 of 94
                                                                                        5


00:03:58    1                    THE COURT:      So you have filed no notice of

00:04:00    2    appearance in this case?

00:04:02    3                    MR. VASILYEV:       I have not.

00:04:03    4                    THE COURT:      Mr. Han, you haven't either?

00:04:05    5                    MR. McLOUGHLIN:         Mr. Han is a member of the

00:04:07    6    New York bar also, Your Honor.              He is here just to

00:04:09    7    assist me this morning.          And Mr. Vasilyev is here to

00:04:12    8    give me advice on immigration law.              Mr. Vasilyev is an

00:04:16    9    immigration lawyer.

00:04:17   10                    THE COURT:      Okay.      And where do you practice

00:04:19   11    in New York?

00:04:24   12                    MR. VASILYEV:       My practice is in Charlotte.

00:04:27   13                    THE COURT:      Where do you practice in

00:04:29   14    Charlotte?

00:04:30   15                    MR. VASILYEV:       I have an office.

00:04:32   16                    THE COURT:      You practice by yourself?

00:04:35   17                    MR. VASILYEV:       Yes.

00:04:36   18                    THE COURT:      Okay.      And, sir, who are you

00:04:38   19    again?

00:04:44   20                    MR. WHITE:      I am Nathan White.

00:04:49   21                    THE COURT:      And you have filed a notice of

00:04:50   22    appearance?

00:04:51   23                    MR. WHITE:      Yes, Your Honor.

00:04:54   24                    THE COURT:      So we have four lawyers over

00:04:55   25    there.     And what's your concern about the Charlotte




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 5 of 94
                                                                                         6


00:04:58    1    lawyer?

00:04:59    2                    MR. KELLHOFER: Yes, Your Honor.             So Mr.

00:05:02    3    Vasilyev was known to this investigation as a friend of

00:05:06    4    the defendant, Mr. Teyf.          That's how he had been

00:05:10    5    characterized by multiple individuals during this case.

00:05:15    6                    After the present charges had occurred, and

00:05:20    7    after Mr. Teyf had been arrested, a number of attorneys,

00:05:26    8    as is present here from the firm of Moore & Van Allen,

00:05:31    9    entered -- a notice of appearance was entered.                  At no

00:05:34   10    point did Mr. Vasilyev enter an appearance or otherwise

00:05:38   11    indicate that he was representing Mr. Teyf, the

00:05:40   12    defendant, in these matters, nor did any member of the

00:05:45   13    defense team indicate to the Government that Mr.

00:05:49   14    Vasilyev was a member of the defense team.

00:05:53   15                    While in Charlotte on an unrelated matter at

00:05:58   16    an immigration hearing, HSI Agent Tony Bell saw Mr.

00:06:03   17    Vasilyev at that location.           Agent Bell approached and

00:06:08   18    questioned whether he would be willing to speak with

00:06:11   19    Agent Bell about the defendant or whether he considered

00:06:14   20    himself an attorney for the defendant.               Special Agent

00:06:18   21    Bell indicated at that time that if Mr. Vasilyev was not

00:06:21   22    going to be speaking with Special Agent Bell, that

00:06:24   23    Special Agent Bell would be further investigating Mr.

00:06:27   24    Vasilyev's relationship with Mr. Teyf.

00:06:31   25                    Shortly thereafter we were contacted by




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 6 of 94
                                                                                              7


00:06:34    1    defense counsel, Mr. McLoughlin, and were questioned

00:06:40    2    about this event.        And there was a concern that Special

00:06:45    3    Agent Bell was intimidating a member of the defense

00:06:49    4    counsel.

00:06:51    5                    Counsel for the Government were completely

00:06:53    6    unaware of Mr. Vasilyev's relationship in this regard,

00:06:57    7    in any regard, and stated as much.              In fact, Mr.

00:07:02    8    Vasilyev uses an independent email, an independent

00:07:06    9    address, independent phone number, independent

00:07:10   10    letterhead.      He's completely separate and apart.

00:07:13   11                    THE COURT:      What's your point today?

00:07:14   12                    MR. KELLHOFER: Yes, Your Honor.             The

00:07:16   13    investigation into Mr. Vasilyev has uncovered matters

00:07:21   14    that make him a target of the investigation.                    That's the

00:07:26   15    ultimate concern.        And I can go on and explain why that

00:07:29   16    is, Your Honor.        But Mr. Vasilyev being utilized in the

00:07:35   17    manner he's been utilized causes us great concern for a

00:07:38   18    number of reasons.         And if I may continue.

00:07:44   19                    THE COURT:      Are you seeking -- what

00:07:46   20    relief --

00:07:46   21                    MR. KELLHOFER: We'll be seeking a protective

00:07:48   22    order that there is no contact with Mr. Vasilyev, Your

00:07:54   23    Honor -- and I should say between Mr. Teyf and Mr.

00:07:59   24    Vasilyev.

00:08:01   25                    And I can go on to explain in further




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 7 of 94
                                                                                       8


00:08:03    1    detail, Your Honor, our concerns and why they've been

00:08:06    2    raised to us from confidential human sources as to the

00:08:11    3    paperwork filed by Mr. Vasilyev that is the subject of

00:08:16    4    this investigation in terms of the immigration counts.

00:08:21    5                    Mr. Vasilyev was the individual assisting in

00:08:24    6    that and fraudulently submitting that paperwork.                So

00:08:30    7    having Mr. Vasilyev continue as an attorney who at a

00:08:35    8    minimum is a witness to this case is of great concern,

00:08:41    9    particularly when he is having attorney-client

00:08:44   10    supposedly privileged continuing contact with the

00:08:50   11    defendant unmonitored.

00:08:54   12                    THE COURT:      Okay.     Thank you.

00:08:57   13                    MR. McLOUGHLIN:         Your Honor, I have a couple

00:08:59   14    of points here.        First, the Government has been

00:09:05   15    investigating Mr. Teyf, we believe, based on their

00:09:10   16    statements, for approximately four years.                The

00:09:14   17    Government has known for a very long time that Mr.

00:09:19   18    Vasilyev is counsel, was counsel, immigration counsel

00:09:25   19    for Mr. Teyf and represented Mr. Teyf in connection with

00:09:29   20    the immigration matters.

00:09:31   21                    When Agent Bell approached Mr. Vasilyev and

00:09:35   22    threatened him and asked him to -- threatened him if he

00:09:42   23    would not disclose communications between himself, Mr.

00:09:45   24    Vasilyev, and Mr. Teyf, Agent Bell was violating every

00:09:51   25    DOJ protocol with respect to communications with counsel




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 8 of 94
                                                                                              9


00:09:55    1    for a defendant or an attorney for a defendant,

00:09:59    2    forgetting the question of whether he was representing

00:10:01    3    Mr. Teyf in connection with this specific proceeding.

00:10:07    4    And we don't know who approved that or did or did not

00:10:12    5    approve that.       The Government indicates at this point

00:10:15    6    that they didn't approve it.            We'll leave that for the

00:10:21    7    future.

00:10:22    8                    When Mr. Bell made this approach to an

00:10:26    9    attorney for a defendant in violation of DOJ procedures

00:10:31   10    and guidance, and I would argue the Constitution and

00:10:35   11    privilege and a list of laws that we don't have time to

00:10:41   12    list today, I called the Government and very

00:10:44   13    specifically asked them: If you have an issue, let me

00:10:49   14    know; if Mr. Vasilyev, you are saying, is a target or a

00:10:53   15    subject, let me know.

00:10:55   16                    Now, they have been investigating Mr. Teyf

00:10:58   17    and these immigration issues for four years.                    What I got

00:11:02   18    from them was: Well, we don't usually comment on that,

00:11:06   19    but we'll get back to you.           That was at least six weeks

00:11:13   20    ago and more.       We don't get a phone call.           Mr. Vasilyev

00:11:19   21    doesn't get a target letter, doesn't get a notice that

00:11:22   22    he's a subject until we make this motion.                And the first

00:11:26   23    thing the Government does to highjack this motion is to

00:11:30   24    raise these issues cold to us and to the Court, not

00:11:34   25    having made a motion, which they are required to do if




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 9 of 94
                                                                                       10


00:11:37    1     they're going to seek a protective order, again, not

00:11:41    2     having sent a target letter, they announced in open

00:11:45    3     court that an attorney is a target.             This is outrageous.

00:11:49    4                    And if we look at the alleged fraud which

00:11:53    5     the Government has made certain allegations, the alleged

00:11:56    6     fraud is that the application for Mr. Teyf's -- or so

00:12:01    7     far as it has been conveyed so far in open court is that

00:12:05    8     Mr. Teyf said that he was going to receive a salary of

00:12:08    9     $110,000 from his employer at the time that the

00:12:15   10     application was made.         The Government has made the point

00:12:18   11     that the records they have seen to date indicate that

00:12:23   12     the salary was less than that; I want to say it was

00:12:27   13     $27,000; and therefore, they claim that there was fraud.

00:12:31   14                    Now, there is nothing in the discovery that

00:12:34   15     we have seen and that they have provided, including the

00:12:38   16     immigration file that they've provided, in which there's

00:12:41   17     any allegation or evidence that there was any fraud on

00:12:44   18     behalf of either Mr. Teyf or Mr. Vasilyev.                Nothing.

00:12:49   19                    Moreover, what the law states is that that

00:12:52   20     salary can be paid by the employing company offshore or

00:12:57   21     onshore.     And if he was paid offshore, then those

00:13:01   22     records wouldn't be available to the government, and

00:13:03   23     they wouldn't know it.

00:13:04   24                    So at this point the Government's claim to

00:13:06   25     fraud is as tenuous as can be, at least as has been made




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 10 of 94
                                                                                          11


00:13:11    1     available to us.       And so, Your Honor, our position is if

00:13:14    2     they want to make a motion, and if they want to raise an

00:13:17    3     objection, they should file it.            We will have the

00:13:20    4     opportunity to respond, and then we can have a hearing.

00:13:23    5                    But it unclear to us what exactly they want

00:13:26    6     to have happen this morning, other than try to influence

00:13:30    7     the Court's decision on the detention issue.                And so we

00:13:33    8     object to having any further discussion about this until

00:13:37    9     they've made a proper motion.

00:13:38   10                    THE COURT:      Let's do this; let's think about

00:13:41   11     Rule 44.1, "Appearance of Counsel in a Criminal Case."

00:13:45   12     "Counsel representing a defendant in a criminal case

00:13:48   13     shall file a Notice of Appearance with the clerk and

00:13:53   14     serve the United States Attorney and other counsel with

00:13:56   15     a copy."

00:13:57   16                    So what are you relying on to bring to court

00:14:00   17     these two gentlemen and seat them next to you and rely

00:14:04   18     on their advice and counsel but not cause them to file a

00:14:08   19     notice of appearance?

00:14:09   20                    MR. McLOUGHLIN:        Well, Your Honor, with

00:14:10   21     respect to Mr. Vasilyev, since he was and is immigration

00:14:14   22     counsel for Mr. Teyf, we believe we have the right --

00:14:19   23     and he can make a motion for appearance; we're happy to

00:14:25   24     do that.     We didn't think it was necessary.

00:14:26   25                    THE COURT:      We have a rule.        So would you




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 11 of 94
                                                                                       12


00:14:28    1     reflect on that rule and tell me what permits you to be

00:14:34    2     joined by these gentlemen and have them seated with you

00:14:37    3     in this criminal proceeding and rely on their counsel

00:14:41    4     and advice and not cause them to file a notice of

00:14:44    5     appearance?       Maybe you know one, and I don't.

00:14:48    6                    MR. McLOUGHLIN:        Well, Your Honor, with

00:14:49    7     respect to the local rule, I believe the local rule as

00:14:52    8     interpreted requires that someone who is going to make

00:14:54    9     an appearance and argue and submit papers and otherwise

00:14:58   10     communicate with the Court has the obligation to make an

00:15:01   11     appearance.      Mr. Vasilyev is part of our team because he

00:15:05   12     is immigration counsel to Mr. Teyf and has a great deal

00:15:10   13     of factual knowledge.         Therefore, we think it's

00:15:12   14     appropriate to have him available.             If Your Honor would

00:15:15   15     like him to sit on the other side of the bar for that

00:15:17   16     reason until he makes an appearance, we are happy to do

00:15:20   17     that.

00:15:21   18                    And with respect to Mr. Han, we're happy to

00:15:25   19     do the same thing.

00:15:26   20                    THE COURT:      I want to know who's noticed an

00:15:28   21     appearance.      I want to hear from those people today.

00:15:30   22     So, gentlemen, since you have not noticed an appearance

00:15:33   23     pursuant to our rule, I think you need to just seat

00:15:38   24     yourself in the gallery.          And if you are going to be

00:15:40   25     appearing, you need to file a notice of appearance.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 12 of 94
                                                                                          13


00:15:43    1     Okay?

00:15:44    2                    MR. HAN:      Yes, Your Honor.

00:15:45    3                    THE COURT:      So we'll just focus on what's in

00:15:47    4     front of me today.        And what's in front of me today is

00:15:49    5     the question of whether or not the Court can fashion a

00:15:54    6     set of release conditions that's going to insure that

00:15:57    7     Mr. Teyf shows up and doesn't harm others while this

00:16:02    8     action is proceeding.

00:16:05    9                    So you don't have any witnesses.             It is a de

00:16:12   10     novo hearing.      You're relying on matters of record.               And

00:16:15   11     anything else?

00:16:16   12                    MR. KELLHOFER: Well, Your Honor, I suppose

00:16:18   13     first, per our motion, our first would be simply that an

00:16:25   14     evidentiary hearing, there has been insufficient

00:16:27   15     evidence to establish the need for --

00:16:29   16                    THE COURT:      But isn't that for me to decide,

00:16:32   17     not for you?       So do you have any evidence?

00:16:35   18                    MR. KELLHOFER: I guess the question for us

00:16:36   19     then, Your Honor, is whether a decision has been made

00:16:39   20     that a de novo --

00:16:42   21                    THE COURT:      Well, I set this matter for

00:16:44   22     hearing.     And when I do, it's de novo.

00:16:46   23                    MR. KELLHOFER: Yes, Your Honor.              Then in

00:16:47   24     that instance we would rely on the transcript that was

00:16:50   25     provided -- or that is available, I apologize, Your




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 13 of 94
                                                                                          14


00:16:53    1     Honor.

00:16:53    2                    THE COURT:      It's available?

00:16:56    3                    MR. KELLHOFER: Yes, Your Honor.

00:16:57    4                    THE COURT:      Remind me where on the docket

00:16:59    5     that is.

00:17:09    6                    MR. KELLHOFER: Yes, Your Honor.             That is DE

00:17:12    7     71.

00:17:20    8                    THE COURT:      I've read all of your papers,

00:17:26    9     and there's talk of new evidence on the part of the

00:17:30   10     defendant.

00:17:32   11                    MR. McLOUGHLIN:         Yes, Your Honor.

00:17:33   12                    THE COURT:      How do you plan to proceed?

00:17:35   13                    MR. McLOUGHLIN:         Your Honor, what we would

00:17:37   14     like to do is present some exhibits to the Court, and

00:17:41   15     then we are going to offer a proposed custodian to

00:17:47   16     testify, and then we will close, Your Honor.

00:17:55   17                    THE COURT:      Okay.     All right.

00:17:59   18                    MR. McLOUGHLIN:         And since these are

00:18:02   19     proffers at this point, we will argue the relevancy and

00:18:06   20     materiality of the exhibits as we put them in.

00:18:09   21                    THE COURT:      Well, please go forward.

00:18:13   22                    MR. McLOUGHLIN:         Thank you, Your Honor.

00:18:15   23                    Your Honor, the defense's first exhibit --

00:18:18   24     if I may approach.

00:18:19   25                    THE COURT:      Yes.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 14 of 94
                                                                                        15


00:18:22    1                    MR. McLOUGHLIN:        -- is formerly Government's

00:18:24    2     Exhibit 12.      It is now Defense Exhibit 1 for this

00:18:30    3     hearing.

00:18:41    4                    THE COURT:      You've handed up triplicate

00:18:44    5     copies.

04:11:28    6                    (Whereupon Defendant's Exhibit 1 is admitted

04:11:31    7     into evidence.)

00:18:53    8                    MR. McLOUGHLIN:        Your Honor, the relevancy

00:18:55    9     of this document is the following:             The Government

00:18:58   10     argues and it's in its brief on this motion at page 16;

00:19:03   11     and it is, I believe, discussed in the transcript at, I

00:19:09   12     want to say, around page 38 or 39, that in the last five

00:19:13   13     years Mr. Teyf has used five different countries of

00:19:16   14     citizenship to travel; that being Belarus, Israel,

00:19:21   15     Serbia, Russia, and the United States.              And they have

00:19:26   16     argued that as a result, Mr. Teyf is a risk of flight.

00:19:31   17                    Your Honor, that statement with respect to

00:19:37   18     five countries of citizenship to travel is demonstrably

00:19:41   19     false, and it is false as demonstrated by Exhibit D-1.

00:19:44   20     If you would look at Exhibit D-1, it includes a column

00:19:50   21     of the immigration document number that was used for

00:19:53   22     travel, the direction of travel, and it lists the

00:19:58   23     citizenship of or the alleged citizenship that Mr. Teyf

00:20:04   24     employed when he was travelling.            And I will point Your

00:20:09   25     Honor to the document column on the far right.                  The




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 15 of 94
                                                                                           16


00:20:14    1     documents that are the basis of this exhibit are Mr.

00:20:19    2     Teyf's alien registration card 210021799, which is his

00:20:25    3     green card; second, an Israeli passport number 31823387

00:20:34    4     that will expire in January of 2023; his Russian

00:20:39    5     passport, last three digits 135; and his now-expired

00:20:44    6     Israeli passport ending in 981.

00:20:49    7                    Your Honor, all of these documents have a

00:20:55    8     role.     And you will note that there is no document that

00:20:59    9     mentions Serbia, and there is no document that mentions

00:21:06   10     Belarus.     There is, in fact, nothing on this document or

00:21:11   11     the document on the exhibit or the documents the

00:21:14   12     Government relies on that there was any claim of

00:21:17   13     citizenship by Mr. Teyf to Serbia or that he has a

00:21:24   14     Serbian passport or any other Serbian document.                 In the

00:21:27   15     immigration file we have received there is nothing from

00:21:30   16     Serbia.     We think they just made a mistake.

00:21:33   17                    More important, however, if you look at the

00:21:35   18     U.S. references down -- about one-third down the page,

00:21:40   19     there is the allegation made by the Government that he

00:21:44   20     argued or used U.S. citizenship to enter the United

00:21:52   21     States.     That claim by dint of this document is false.

00:21:58   22     First -- and the Government knows the difference between

00:22:01   23     citizenship and residency.           The document they rely upon

00:22:05   24     for Mr. Teyf claiming U.S. citizenship to enter the

00:22:08   25     United States is, in fact, his green card.                That green




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 16 of 94
                                                                                             17


00:22:12    1     card says on its face to anybody who reads it, he's not

00:22:15    2     a citizen.     If you are entering the United States and

00:22:19    3     you are a foreign national, you have to show your green

00:22:22    4     card to show your qualification as an entry visa.                   So if

00:22:27    5     you are entering the United States as a foreign

00:22:29    6     national, and you have a green card, you show your

00:22:32    7     passport, and you show your green card.               That is not a

00:22:36    8     claim of U.S. citizenship.           And the allegations in the

00:22:40    9     brief and in the hearing are incorrect.

00:22:45   10                    Moreover, they then add Russia and Belarus.

00:22:51   11     Again, there is -- of the documents that they cite for

00:22:55   12     the claim that Mr. Teyf was travelling under Belarus

00:23:00   13     citizenship, they list his Russian passport.                That's not

00:23:05   14     a Belarus passport; it's a Russian passport.                    Mr. Teyf

00:23:10   15     was born in Belarus, and his Russian passport says he

00:23:14   16     was born in Belarus.         But he's a Russian citizen.            And

00:23:18   17     the Government argued in the brief to this Court that he

00:23:21   18     was a flight risk because he was using Belarus

00:23:24   19     citizenship to travel.         And the very documents that they

00:23:27   20     rely upon are a Russian passport that has nothing to do

00:23:30   21     with Belarus.

00:23:35   22                    Second, if we move on from the travel

00:23:39   23     record, we have the argument the Government has made

00:23:43   24     that Mr. Teyf operates a safe house.

00:23:48   25                    Now, we have the deed for that, quote, safe




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 17 of 94
                                                                                             18


00:24:04    1     house.    It's actually a condo.

04:11:28    2                    (Whereupon Defendant's Exhibit 2 is admitted

04:11:31    3     into evidence.)

04:11:31    4                    MR. McLOUGHLIN:        Now, Your Honor, you will

00:24:17    5     recall from the transcript that the Government made a

00:24:26    6     big deal over the fact that Mr. Teyf knows how to

00:24:29    7     operate LLCs, so therefore has the ability to hide real

00:24:37    8     estate and create safe houses.

00:24:39    9                    Ironically the Government argued:                We don't

00:24:41   10     know how many safe houses Mr. Teyf might have.

00:24:43   11                    Well, if you have a burden of proof, and

00:24:46   12     your evidence is:        I don't know; which is to say:             I

00:24:48   13     don't have any evidence, that's what looks like a

00:24:52   14     failure of proof.

00:24:53   15                    But more importantly, what the Government

00:24:55   16     didn't tell Judge Numbers and didn't disclose in its

00:24:59   17     brief is that when Mr. Teyf bought this condo, he bought

00:25:03   18     it in his own name.        Having argued in the hearing that

00:25:08   19     he bought the New Market property in an LLC, and so he

00:25:12   20     knows how to hide ownership, they then segued into the

00:25:15   21     condominium without disclosing to Judge Numbers that he

00:25:19   22     bought the condominium in his own name.               He subsequently

00:25:22   23     transferred 90 percent ownership to his son but kept ten

00:25:25   24     percent ownership, and he's on the deed.               The point

00:25:27   25     being here, Your Honor, as the Government argued, that




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 18 of 94
                                                                                              19


00:25:32    1     if putting something in an LLC name would show some

00:25:37    2     intent to create a safe house, then the fact that you

00:25:41    3     put it in your own name generates or should generate the

00:25:45    4     opposite assumption, which is you don't care whether

00:25:48    5     anybody knows you own it.

00:25:49    6                    Now, the Government also argues that the

00:26:02    7     sole purpose of this condo was to be a safe house.                    And

00:26:09    8     it's unclear exactly what the Government means by that.

00:26:14    9     But if one looks at the divorce records, which we are

00:26:19   10     proffering as Exhibit D-3, what we find in the divorce

00:26:31   11     records is that the decree of divorce was filed in March

00:26:38   12     of 2017.     The property was acquired in February of 2017.

00:26:48   13     Now, we then come to the Government's argument that this

00:26:54   14     is somehow a place to hide or something else.                   And

00:26:56   15     instead what we have is a circumstance where a man is in

00:26:59   16     the middle of a divorce where his wife is going to get

00:27:03   17     title to their house, and does, needs a place to live.

00:27:08   18     And so, in his own name, shortly before his divorce, a

00:27:15   19     month, he buys a condo.          This does not give rise to an

00:27:20   20     inference of improper conduct or flight risk.

04:11:28   21                    (Whereupon Defendant's Exhibit 3 is admitted

04:11:31   22     into evidence.)

00:27:24   23                    THE COURT:      Well, what was furnishing that

00:27:27   24     condominium?

00:27:29   25                    MR. McLOUGHLIN:        Well, that's interesting.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 19 of 94
                                                                                     20


00:27:31    1     That's an interesting point.           The first thing is, Your

00:27:34    2     Honor, if you want to create a safe house where you

00:27:36    3     could go and hide, you know what the first thing I would

00:27:38    4     have?    I'd have a bed, because I would need a place to

00:27:41    5     sleep.    There was no bed in that condo.             The reason

00:27:45    6     there was no bed in that condo is because, as the

00:27:48    7     evidence demonstrate, Mr. Teyf and Mrs. Teyf worked out

00:27:53    8     an arrangement where he could continue to stay at their

00:27:56    9     large home in Raleigh so he could participate in the

00:27:58   10     raising of their children, specifically their eight and

00:28:02   11     now-nine-year-old daughter.           So he didn't need to

00:28:04   12     furnish the condo because he was living on the other

00:28:07   13     side of Raleigh.       Nothing nefarious.

00:28:12   14                    Now, the next thing that we hear in that as

00:28:14   15     well, in addition to it being sparsely furnished --

00:28:17   16     again, he was living in the other house; he didn't have

00:28:21   17     to furnish it.       Easy enough to get a bed.

00:28:24   18                    But we say:       Well, there were guns in the

00:28:27   19     safe.    And we note, Your Honor, as the Government

00:28:32   20     rightly noted, there's no allegation that Mr. Teyf had

00:28:35   21     those guns illegally or improperly, and they were kept

00:28:39   22     in a very good gun safe.          What the evidence -- what the

00:28:46   23     commentary from the transcript indicates is common sense

00:28:51   24     prevailed here.       We'll talk about the fact, and the

00:28:53   25     evidence indicates that Mr. Teyf believed that his wife




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 20 of 94
                                                                                            21


00:28:57    1     had a drinking problem, and they had issues.                Mr. Teyf

00:29:03    2     quite rightly in the circumstances in which there is

00:29:07    3     drinking in the home and there are arguments, decided

00:29:11    4     that the better place to keep his legally owned guns was

00:29:16    5     not in that house but to move it to safer place.                  That

00:29:21    6     doesn't make it a safe house; that makes him a prudent

00:29:27    7     father.

00:29:28    8                    When we look also at the safe -- at this,

00:29:32    9     quote, safe house, we also note that the transcript of

00:29:35   10     November 14, 2018 mentions the transfer to his son

00:29:42   11     because he wanted his children to be able to live in the

00:29:45   12     condo.    And in the transcript of November 27, '18, he

00:29:52   13     explains to confidential human source number one that

00:29:56   14     the apartment is going to be for his children.                  That is

00:29:59   15     not a safe house.

00:30:01   16                    Now, that all goes, Your Honor, to the

00:30:05   17     question of a flight risk and a danger.               So then, Your

00:30:11   18     Honor, if we go to the next issue, what we would like to

00:30:26   19     do is we would like to put forth a custodian, Your

00:30:42   20     Honor, and examine her.          Her name is Roza, R-o-z-a,

           21     Lyubinin, L-y-n-b-i-n-i-n -- excuse me, L-y-u-b-i-n-i-n.

           22     If we can call her, Your Honor.

           23                    THE COURT: Yes.

           24                    THE CLERK:      Please come forward to be sworn.

           25                    MR. McLOUGHLIN:        You're going to need a




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 21 of 94
                                                                                  22


            1     translator.

            2                    THE CLERK:      Please place your left hand on

            3     the Bible and raise your right.

            4                    Please state your name.

00:31:50    5                    THE WITNESS:       Roza Lyubinin.

00:31:50    6                    (Whereupon the witness was sworn by the

00:32:03    7     clerk.)

00:32:03    8                    THE CLERK:      Please take the witness stand

00:32:06    9     and be seated.

00:32:17   10                                       - - -

00:32:17   11                    ROZA LYUBININ, DIRECT EXAMINATION

00:32:22   12     BY MR. McLOUGHLIN:

00:32:22   13         Q.    Ma'am, if I ask you a question you don't

00:32:26   14     understand, please feel free to ask me to repeat it or

00:32:31   15     clarify it.

00:32:35   16               Ma'am, can you give the Court your name and home

00:32:39   17     address for the record.

00:32:44   18         A.    Roza Lyubinin, 2615 Beckwith Road, Apex.

00:32:57   19         Q.    Approximately how long have you lived in the

00:33:00   20     Raleigh/Wake County area?

00:33:01   21         A.    Two years.

00:33:02   22         Q.    Where did you live before that?

00:33:04   23         A.    In Israel.

00:33:07   24         Q.    How many years did you live in Israel?

00:33:11   25         A.    Twenty-seven years.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 22 of 94
                                                                                  23


00:33:12    1         Q.   Where did you live before living in Israel?

00:33:15    2         A.   Russia.

00:33:18    3         Q.   Where in Russia?

00:33:20    4         A.   I was born in Belarus, then we lived up north.

00:33:30    5         Q.   Did you know Mr. Teyf when you were in Russia?

00:33:34    6         A.   No.

00:33:36    7         Q.   When did you first meet Mr. Teyf?

00:33:43    8         A.   In Raleigh in 2016.

00:33:47    9         Q.   And did you meet Tatyana Teyf at the same time?

00:33:54   10         A.   Yes, at the same time.

00:34:01   11         Q.   What was your profession in Israel?

00:34:05   12         A.   I was a psychiatrist.

00:34:15   13         Q.   Can you tell us briefly why you moved from Israel

00:34:19   14     to the Raleigh area.

00:34:35   15         A.   Our daughter lives in Raleigh for 12 years; our

00:34:39   16     only daughter has been living there for 12 years with

00:34:42   17     her children.      And we moved here to Raleigh to be with

00:34:45   18     our family, with our grandkids.

00:34:48   19         Q.   And are your grandchildren or at least one of

00:34:55   20     them about the same age as Mr. Teyf's daughter, C.?

00:35:02   21         A.   Yes, both of our grandkids were and are friends

00:35:13   22     with the daughter of Leonid and Tatyana Teyf, C.

00:35:21   23         Q.   Ma'am, have you, through interactions with Mr.

00:35:24   24     Teyf, had the opportunity to observe him with his

00:35:27   25     children, including his daughter C.?




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 23 of 94
                                                                                    24


00:35:37    1         A.   Yes, naturally, of course I did.

00:35:40    2         Q.   I'm sorry?

00:35:41    3         A.   Yes, naturally, of course I did.

00:35:44    4         Q.   Can you give us a brief description of Mr. Teyf's

00:35:48    5     behavior as a father as you have observed it?

00:35:56    6         A.   I think Leonid Teyf is a great father, very

00:36:09    7     attentive, very caring and loving.

00:36:12    8                    MR. McLOUGHLIN:        We'd note for the record at

00:36:14    9     this time when Mr. Teyf was arrested he was on his way

00:36:17   10     to pick up his daughter C. at school.

00:36:19   11                    THE COURT:      So noted.

00:36:22   12     BY MR. McLOUGHLIN:

00:36:23   13         Q.   Now, in the --

00:36:42   14                    MR. McLOUGHLIN:        We'll just give the

00:36:43   15     translator a moment to translate.             If you speak too

00:36:47   16     long, it gets hard for her.

00:36:48   17         A.   Not only just school.         I've known and talked to

00:36:50   18     him on the phone and observed him and talked to him when

00:36:53   19     he would take his daughter not only to school but to

00:36:55   20     other activities like taekwondo and other extra

00:36:59   21     curricular activities and just spend time with her.

00:37:07   22         Q.   Now, based on your experience is Mr. Teyf known

00:37:09   23     in the community in Raleigh and has he had family

00:37:13   24     gatherings where he's invited various families to his

00:37:17   25     home?




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 24 of 94
                                                                                       25


00:37:41    1         A.   Yes, of course.       And that's how we've been

00:37:45    2     interacting with him too.          We would visit him at his

00:37:48    3     house.    He would visit us at our house, family visits

00:37:52    4     back and forth, interacting in that way.               It was very

00:37:57    5     important for him that his family was involved.

00:37:59    6         Q.   And in entertaining and visits, again, was Mr.

00:38:06    7     Teyf known in the community and did he invite people in

00:38:10    8     the community into his home and interact with members of

00:38:14    9     the community?

00:38:32   10         A.   Yes, of course.       Friends.

00:38:38   11         Q.   Now, ma'am, you have -- is it true that you are

00:38:44   12     willing to serve as the third-party custodian for Mr.

00:38:51   13     Teyf?

00:38:58   14         A.   Yes.

00:39:03   15         Q.   And have you had the opportunity to read the

00:39:05   16     questionnaire that in this district is available to be

00:39:12   17     reviewed by third-party custodians and completed?

00:39:23   18         A.   Yes, last night.

00:39:27   19         Q.   And having reviewed the questionnaire, are you

00:39:32   20     able to say that you are prepared to fulfill the

00:39:35   21     responsibilities of a custodian as set forth in the

00:39:38   22     questionnaire?

00:39:46   23         A.   Yes, of course.

00:39:49   24         Q.   And do you understand that Mr. Teyf would have to

00:39:59   25     live with you, and do you have space for him?




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 25 of 94
                                                                                        26


00:40:06    1         A.   Yes, I made a room ready for him.

00:40:09    2         Q.   And who else lives in the home?

00:40:13    3         A.   My husband.

00:40:16    4         Q.   And is your husband in the courtroom today?

00:40:21    5         A.   Yes.

00:40:22    6         Q.   Has Mr. Teyf ever stayed with you before?

00:40:40    7         A.   We went on vacations together.            He's visited our

00:40:44    8     house many times.        He's familiar with it, but he didn't

00:40:47    9     have a need to stay there.           But we went on vacations

00:40:50   10     together.

00:40:52   11         Q.   And is your husband willing to have Mr. Teyf stay

00:40:55   12     in your home?

00:40:57   13         A.   Yes, of course.

00:41:00   14         Q.   And are there any firearms in your home, guns?

00:41:06   15         A.   No.

00:41:08   16         Q.   Is there a land telephone line there in your

00:41:10   17     home?

00:41:16   18         A.   No.     I don't know.

00:41:18   19         Q.   There is not.       Are you prepared to have a land

00:41:22   20     line installed so that if there is electronic monitoring

00:41:26   21     of Mr. Teyf that land line can be used?

00:41:40   22         A.   Yes.     If I need to, yes.

00:41:42   23         Q.   Okay.     Do you currently work, ma'am?

00:41:48   24         A.   No, we are home.

00:41:51   25         Q.   And do you have a valid driver's license?




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 26 of 94
                                                                                          27


00:41:57    1         A.   Yes.

00:41:58    2         Q.   And do you have a car?

00:42:01    3         A.   Yes.

00:42:04    4         Q.   Other than minor traffic violations, have you

00:42:08    5     been convicted of a crime?

00:42:20    6         A.   I've never had any minor or any big violations.

00:42:28    7         Q.   Now, you are aware of the charges against Mr.

00:42:31    8     Teyf; are you not?

00:42:38    9         A.   Yes.

00:42:44   10         Q.   And approximately what is your date of birth?

00:42:53   11         A.   24, April, 1960.

00:42:58   12                     MR. McLOUGHLIN:       Your Honor, we'll submit

00:42:59   13     the Social Security number.           For privacy reasons we

00:43:02   14     won't give that in open court.

00:43:04   15                     THE COURT:     Certainly.

00:43:05   16     BY MR. McLOUGHLIN:

00:43:06   17         Q.   And, ma'am, what -- where are you a citizen?

00:43:10   18     What country?

00:43:12   19         A.   Israel.

00:43:24   20         Q.   And, ma'am, do you have a green card?                  Are you a

00:43:27   21     permanent resident?

00:43:29   22         A.   Yes.

00:43:35   23         Q.   And since Mr. Teyf was arrested in this matter,

00:43:42   24     has he made any incriminating statement to you?

00:43:54   25         A.   We haven't had any contact.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 27 of 94
                                                                                          28


00:44:01    1                        MR. McLOUGHLIN:     No more questions, Your

00:44:02    2     Honor.      At this point we would proffer.

00:44:04    3                        THE COURT:   Any questions of the witness?

00:44:06    4                        MR. KELLHOFER: Yes, Your Honor.         Thank you.

00:44:07    5                                         - - -

00:44:07    6                        ROZA LYUBININ, CROSS-EXAMINATION

00:44:08    7     BY MR. KELLHOFER:

00:44:08    8           Q.   Good morning, ma'am.

00:44:10    9           A.   Good morning.

00:44:11   10           Q.   You mentioned that you were aware of the charges

00:44:14   11     against Mr. Teyf.         What are those charges?

00:44:26   12           A.   What I know from the media, from the news.

00:44:32   13           Q.   Has the defense counsel or another attorney

00:44:35   14     showed you what the charges against Mr. Teyf were?

00:44:48   15           A.   Last night when we were going over the

00:44:51   16     questionnaire, yes.

00:44:52   17           Q.   Okay.     And what did you understand the charges to

00:45:06   18     be?

00:45:06   19           A.   Material and family.

00:45:09   20           Q.   I'm sorry; I didn't hear that.

00:45:41   21           A.   So we view Mr. Teyf as our friend.           We look at

00:45:46   22     him as our friend --

00:45:49   23           Q.    I understand.

00:45:50   24                        THE COURT:   Let her finish.

00:45:50   25                        MR. KELLHOFER:     I'll let the interpreter go.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 28 of 94
                                                                                      29


00:45:52    1     I apologize.

00:45:52    2         A.   Whatever his minor falls or problems he may run

00:45:56    3     into, we always look at him as a good father and a good

00:45:59    4     friend, and that's how we view him, and that's how we

00:46:01    5     relate to him.

00:46:02    6         Q.   So do you not know the charges?

00:46:05    7                      MR. McLOUGHLIN:      Objection.

00:46:08    8                      THE COURT:    Let her answer the question.

00:46:10    9         A.   I know that he is charged with money laundering,

00:46:13   10     but it has nothing to do with me.             I also know he has

00:46:22   11     family problems with Tatyana, but I don't support that

00:46:27   12     and don't believe that very much.

00:46:29   13         Q.   Okay.     Well, do you believe as a third-party

00:46:34   14     custodian that you should know what he's been charged

00:46:36   15     with?

00:46:38   16                      MR. McLOUGHLIN:      Objection.      Calls for a

00:46:39   17     legal conclusion, Your Honor.            Move to strike.

00:46:42   18                      MR. KELLHOFER: It's cross-examination.

00:46:45   19                      THE COURT:    Overruled.      She can answer the

00:46:47   20     question.

00:46:51   21         A.   I know.

00:46:53   22         Q.   Do you know that he's been charged with wanting

00:46:55   23     to have somebody murdered?

00:47:01   24         A.   Yes, I know.

00:47:02   25         Q.   And you understand as part of that that he




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 29 of 94
                                                                                        30


00:47:05    1     facilitated possession of a firearm?

00:47:18    2         A.   I know.

00:47:19    3         Q.   Okay.     And so you understand that part of your

00:47:21    4     responsibility would be making sure that nothing like

00:47:24    5     that is going on?

00:47:32    6                      MR. McLOUGHLIN:      Again, objection, Your

00:47:34    7     Honor.     Calls for an improper legal conclusion.              Her

00:47:37    8     responsibility is to insure that the conditions of

00:47:39    9     release are complied with.

00:47:41   10                      THE COURT:    Overruled.      She can answer the

00:47:43   11     question.

00:47:47   12                      THE INTERPRETER:      Just a second.

00:48:01   13         A.   I know -- I already forgot the question.               Can you

00:48:05   14     repeat the question, please?

00:48:08   15     BY MR. KELLHOFER:

00:48:08   16         Q.   I just want to make sure you understand what the

00:48:10   17     charges were, and there will be restrictions placed on

00:48:14   18     Mr. Teyf.

00:48:23   19         A.   I understand that.

00:48:25   20         Q.   Okay.     You mentioned that you'd been to Mr.

00:48:28   21     Teyf's house and that he often had friends over; is that

00:48:40   22     correct?

00:48:40   23         A.   Yes.     Yes.

00:48:41   24         Q.   Okay.     And when you say friends, does that

00:48:44   25     include people like Mr. John Cotter?




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 30 of 94
                                                                                  31


00:48:53    1         A.   Yes.

00:48:54    2         Q.   You understand Mr. Cotter has been charged as a

00:48:58    3     co-conspirator in this case?

00:49:08    4         A.   Yes.

00:49:09    5         Q.   Okay.    And so other friends, would that include

00:49:13    6     Alexei Polyakov?

00:49:17    7         A.   Yes.

00:49:18    8         Q.   You understand he's been charged as well in this

00:49:20    9     case?

00:49:22   10         A.   Yes.

00:49:24   11         Q.   And these are the friends that he'd have over at

00:49:27   12     his house?

00:49:31   13         A.   Yes.    And there were others.

00:49:35   14         Q.   Okay.    Well, his wife was obviously there often

00:49:42   15     as well, right?

00:49:44   16         A.   Well, his wife was always there.

00:49:46   17         Q.   Okay.    And she's been charged?

00:49:56   18         A.   Well, it just so happens that our circle of

00:49:59   19     friends, everyone got arrested.

00:50:02   20         Q.   Like the Timofeevs as well?

00:50:07   21         A.   I don't know them.

00:50:08   22         Q.   You don't know them?         Okay.

00:50:10   23              So your husband lives at the home, correct?

00:50:17   24         A.   Yes.

00:50:19   25         Q.   I'm sorry, but what is his name?




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 31 of 94
                                                                                       32


00:50:21    1         A.   Mark.

00:50:26    2         Q.   And has your husband entered into or ever been in

00:50:29    3     any business relationship with Mr. Teyf?

00:50:38    4         A.   Yes.

00:50:39    5         Q.   In what form?

00:50:41    6         A.   Investments.      I don't even know how to say it.

00:50:51    7         Q.   And those are investments with Mr. Teyf, right?

00:50:59    8         A.   And partly with other partners, yes.

00:51:05    9         Q.   And those investments are still outstanding,

00:51:08   10     correct?

00:51:14   11         A.   Yes.

00:51:14   12         Q.   So you have a financial interest in Mr. Teyf's

00:51:19   13     case, correct?

00:51:21   14                      MR. McLOUGHLIN:      Objection, Your Honor.

00:51:22   15                      THE COURT:    Sustained.      She doesn't need to

00:51:25   16     answer the question.

00:51:31   17                      Next question.

00:51:33   18     BY MR. KELLHOFER:

00:51:34   19         Q.   You mentioned that you don't work, ma'am; is that

00:51:45   20     correct?

00:51:45   21         A.   I don't need to work.         I'm not looking for work.

00:51:48   22         Q.   Okay.     So you don't work.       Do you have other

00:51:51   23     obligations that take you outside of the house?

00:52:08   24         A.   To be with my grandkids, yes, take the kids to

00:52:12   25     school, pick them up from school.             Yes.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 32 of 94
                                                                                          33


00:52:14    1         Q.   I'm just trying to get an idea; how often are you

00:52:17    2     actually at home, or do you have community events that

00:52:21    3     you're attending that you're often gone?               I'm just

00:52:24    4     trying to ask:       Are there things that take you out of

00:52:28    5     the home everyday or on a sporadic basis?

00:52:43    6         A.   I don't have any other obligations.              I plan

00:52:47    7     everything on my own.         I don't have any other

00:52:49    8     obligations.

00:52:50    9                    MR. KELLHOFER:        Okay.    I have no further

00:52:55   10     questions.

00:52:56   11                    Thank you, Your Honor.

00:52:56   12                    THE COURT:      Any redirect?

00:52:58   13                    MR. McLOUGHLIN:        No, Your Honor.       Thank you.

00:52:59   14                    THE COURT:      Thank you.      You can step down.

00:53:02   15                    Any further evidence on behalf of the

00:53:04   16     defendant?

00:53:04   17                    MR. McLOUGHLIN:        Yes, Your Honor.          Your

00:53:18   18     Honor, if I may approach again, we have Exhibit D-4.                   In

00:53:23   19     terms of additional custodial issues, the defense has

00:53:30   20     obtained a proposal from a third-party security firm,

00:53:38   21     Capital Special Police, under which they would visit the

00:53:44   22     home at specified times to confirm Mr. Teyf's being

00:53:52   23     there, which would provide an extra layer of security

00:54:00   24     with respect to his conduct.           This, of course, would be

00:54:08   25     in addition to the fact that Mr. Teyf is willing to have




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 33 of 94
                                                                                          34


00:54:14    1     any reporting conditions to the pretrial services/

00:54:18    2     probation that the Court might impose.              He is also

00:54:21    3     willing to wear a GPS monitoring device.               He is willing

00:54:28    4     to surrender use of a cell phone and only use the land

00:54:36    5     line.    He is willing to accept any other conditions that

00:54:41    6     the Court might impose.

04:11:28    7                    (Whereupon Defendant's Exhibit 4 is admitted

04:11:31    8     into evidence.)

00:54:46    9                    MR. McLOUGHLIN:        With that, Your Honor, I'd

00:54:47   10     like to talk a little bit more about the issue of

00:54:52   11     danger, and talk a little bit about the Government's

00:54:56   12     evidence and facts.

00:55:00   13                    The Government makes a great deal of clamor

00:55:09   14     in its brief about the strength of its case.                And it is

00:55:13   15     one of the errors that the Government led Judge Numbers

00:55:19   16     to commit that the Government relied in its submission

00:55:25   17     of evidence in the trial exclusively on the nature of

00:55:30   18     the charges and the summary of Agent Kinney, who had

00:55:34   19     absolutely no firsthand knowledge at all of the nature

00:55:37   20     of the charges, presenting absolutely no evidence that

00:55:45   21     there were no conditions that the Court could impose

00:55:48   22     that would insure that Mrs. Teyf and A.G. and the

00:55:57   23     community would not be subject to danger.               There is a

00:56:00   24     complete absence of evidence by the Government other

00:56:02   25     than the charges themselves and Agent Kinney's summary.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 34 of 94
                                                                                          35


00:56:08    1     So there's a fundamental failure in the constitutionally

00:56:11    2     required evidence to be submitted by the Government, and

00:56:14    3     I think there are very good reasons for that.

00:56:16    4                    The Government in its clamor in its brief

00:56:19    5     says:    Our case is strong; our case is strong.                And your

00:56:21    6     argument that our case is strong is just wrong.                  That

00:56:26    7     misses the point.        The point to be made here is related

00:56:32    8     directly to the question that the Bail Reform Act

00:56:35    9     requires, and that is:         Are there special conditions

00:56:38   10     that the Court can impose that would provide a

00:56:39   11     reasonable assurance, not a guarantee?              And the cases

00:56:45   12     cited by the Government, including Hurtado and others,

00:56:48   13     say that reasonable -- that certainty is not required.

00:56:54   14     Are there conditions that to an objective test can

00:56:59   15     reasonably give the Court some assurance that Mr. Teyf

00:57:02   16     will not be a danger?         And the point that the Government

00:57:07   17     misses is:     This is about Mr. Teyf and his character and

00:57:13   18     his evidence.

00:57:14   19                    And, Your Honor, the Government made the

00:57:24   20     argument that in February of 2018 Mr. Teyf made the

00:57:32   21     statement in a reporting to confidential human source

00:57:39   22     one that he should take every measure necessary to

00:57:46   23     insure that A.G. was killed.           That statement -- and

00:57:54   24     Exhibit D-5 is a copy of that transcript.               And I want to

00:57:59   25     note for the record, Your Honor, we're putting this in;




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 35 of 94
                                                                                        36


00:58:03    1     I assume due to confidentiality the Government is going

00:58:07    2     to want these to be sealed in some way or held, and

00:58:12    3     we're happy to have any stipulation with respect to that

00:58:15    4     so that these transcripts are not going to be public.

04:11:28    5                    (Whereupon Defendant's Exhibit 5 is admitted

04:11:31    6     into evidence.)

00:58:19    7                    THE COURT:      Does the Government wish to be

00:58:20    8     heard on that request or that notice?

00:58:24    9                    MR. KELLHOFER: We do wish them to be sealed,

00:58:27   10     Your Honor.

00:58:27   11                    THE COURT:      You dropped off there.

00:58:29   12                    MR. KELLHOFER: Yes, we do wish them to be

00:58:32   13     sealed, Your Honor.

00:58:32   14                    THE COURT:      You wish what's been handed to

00:58:34   15     me as D-5 to be sealed in its entirety?

00:58:37   16                    MR. KELLHOFER: Yes, Your Honor.

00:58:37   17                    THE COURT:      And the reason for that?

00:58:39   18                    MR. KELLHOFER: Well, first of all, I will

00:58:42   19     note for Your Honor as well it is a draft that was

00:58:45   20     provided.     Secondarily, I've not reviewed this

00:58:52   21     specifically for the request today, but I believe it

00:58:55   22     does go towards both items regarding the FBI's process

00:59:10   23     and this source's information.

00:59:27   24                    THE COURT:      Well, based on that showing, I

00:59:30   25     will take into the record D-5 under seal.               We may need




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 36 of 94
                                                                                       37


00:59:37    1     to return to that.        I can recognize the Government

00:59:39    2     hasn't had a chance to fully reflect on the 21 pages.

00:59:46    3     But if it needs to remain under seal -- I'll put it

00:59:49    4     provisionally under seal for 14 days.              If it needs to

00:59:52    5     remain under seal, before expiration of that time period

00:59:55    6     file your appropriate motion.

00:59:57    7                    MR. KELLHOFER: Thank you, Your Honor.            I

00:59:58    8     appreciate that.       I imagine that with regard to any of

01:00:01    9     the additional, we'd request the same.

01:00:04   10                    THE COURT:      Do have you additional --

01:00:07   11                    MR. McLOUGHLIN:        We do, Your Honor.

01:00:08   12                    THE COURT:      Would you come forward and

01:00:09   13     provide all the transcripts you want to rely on now.

01:00:12   14                    MR. McLOUGHLIN:        Yes, Your Honor.

01:00:15   15                    Here is what is marked as D-6, which is a

01:00:20   16     transcript of a conversation that was held the next day;

01:00:23   17     February, I believe, 8.

04:11:28   18                    (Whereupon Defendant's Exhibit 6 is admitted

04:11:31   19     into evidence.)

01:00:26   20                    THE COURT:      All right.      The Court's ruling

01:00:28   21     extends to D-6.       It will remain under seal for 14 days.

01:00:32   22     If upon further review the Government believes it's

01:00:34   23     necessary that the transcripts remain permanently

01:00:38   24     sealed, make the appropriate motion.              Otherwise, if no

01:00:41   25     motion is made beyond the 14-day period, the Court will




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 37 of 94
                                                                                        38


01:00:44    1     unseal on its own initiative both D-5 and D-6.                  Any

01:00:49    2     questions from either side?

01:00:51    3                    MR. KELLHOFER: No questions, Your Honor.

01:01:03    4                    MR. McLOUGHLIN:        Your Honor, we also have

01:01:17    5     D-6.

01:01:18    6                    THE COURT:      I have D 6.

01:01:21    7                    MR. McLOUGHLIN:        So two points with respect

01:01:25    8     to those transcripts, Your Honor.              The first is when

01:01:27    9     one reads them, the statement attributed to Mr. Teyf

01:01:31   10     does not happen.       The second thing is that if one goes

01:01:37   11     to the end of the second transcript, D-6, and reads

01:01:42   12     through the last several pages, what one sees is a

01:01:45   13     discussion about a gun that is related to planting that

01:01:53   14     gun in some way on A.G. so that he might be deported.

01:02:03   15     Point being if in the second day of these February

01:02:07   16     discussions Mr. Teyf's talking about planting a gun with

01:02:14   17     respect to A.G. so that he might be deported, and in

01:02:19   18     fact makes no mention of having him killed in that

01:02:26   19     regard, the Government is exaggerating.

01:02:30   20                    And if you look at the Government's brief,

01:02:34   21     there is another good example of it.              And that is, if

01:02:39   22     you look at the Government's brief, the Government

01:02:42   23     quotes the discussion between confidential human source

01:02:46   24     number one and Mr. Teyf talking about a violin, which

01:02:52   25     they argue is reference to a gun.             And what is relevant




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 38 of 94
                                                                                             39


01:02:55    1     in that section that they quote, and relevant in a

01:02:59    2     variety of the transcripts, is that it is confidential

01:03:03    3     human source number one who says, "We may have to have a

01:03:08    4     concert here."       It is not Mr. Teyf pounding the table

01:03:14    5     and saying:      I want you to do this; I want you to do

01:03:16    6     this; I want you to do this.           It is the confidential

01:03:19    7     human source who says:         Wait a minute.       We may need to

01:03:22    8     have a concert here, and I may need a violin.                   Why is

01:03:26    9     that relevant and material?           It's because if Your Honor

01:03:28   10     is making a judgment about this man's danger to the

01:03:31   11     community and whether you can impose controls and

01:03:33   12     systems that would allow him to be on pretrial release,

01:03:37   13     it is relevant:       Is he the primary instigator?               Is he

01:03:42   14     obsessive about this?          Is he driving this?          Or are the

01:03:48   15     two government informants, who he doesn't know are

01:03:50   16     informants, helping to drive this because they have

01:03:52   17     another motive?

01:03:53   18                    Now, that is not merely an issue for trial.

01:03:56   19     We'll talk about it at trial, and some other things, of

01:04:00   20     course.     But in terms of the assessment of the

01:04:02   21     dangerousness of Mr. Teyf, it is relevant to his mindset

01:04:07   22     and whether he is a danger now as opposed to then.                   And

01:04:15   23     yes, there are all kinds of colorful quotes that can be

01:04:18   24     pulled out the transcripts, and they reflect anger and

01:04:21   25     hurt and a variety of other things.             That is not the




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 39 of 94
                                                                                         40


01:04:25    1     material question before the Court.             The Court's -- the

01:04:28    2     question now is: What conditions can be imposed?

01:04:49    3                    And I want to submit, Your Honor, Exhibit

01:04:52    4     D-7.    D-7 is a copy of a police report.             And there have

01:05:02    5     been allegations made in the Government's papers and in

01:05:05    6     the transcript about domestic violence.               Now, we -- in

01:05:11    7     the transcript or in the Government's case, in their

01:05:13    8     brief, they make reference to confidential human sources

01:05:17    9     three and four, and make references to domestic

01:05:21   10     violence, three and four, confidential human sources.

01:05:26   11     We have asked the Government to identify those

01:05:29   12     confidential human sources for us, and the Government

01:05:31   13     has refused.      They made that refusal last night.            We

01:05:35   14     would submit to Your Honor where the Government is

01:05:38   15     unwilling to provide not only a copy of any statements

01:05:42   16     so that we might judge the strength of it or the

01:05:45   17     reliability of it, but is unwilling to even identify the

01:05:48   18     source, Your Honor should not consider it.

04:11:28   19                    (Whereupon Defendant's Exhibit 7 is admitted

04:11:31   20     into evidence.)

01:05:51   21                    MR. McLOUGHLIN:        What's relevant to this

01:05:52   22     police report, which the Government had at the hearing

01:05:56   23     but didn't use, is that the record establishes that

01:06:01   24     there was no reported incident of domestic violence

01:06:08   25     between Mr. and Mrs. Teyf ever.            The one instance is




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 40 of 94
                                                                                          41


01:06:14    1     this one.     And when the police arrived, her complaint

01:06:17    2     was:

01:06:19    3                    "My husband and I are getting a divorce.

01:06:21    4     This is my house.         I allow him to stay.         He says mean

01:06:25    5     things to me, and I want to get a restraining order

01:06:27    6     against him.      I just want peace, and I want to be left

01:06:32    7     alone.    Can you help me?        Can you give me a restraining

01:06:36    8     order right now?"

01:06:37    9                    So you have a circumstance in March 18 of

01:06:40   10     2018 in which Mrs. Teyf is agitated enough to call the

01:06:43   11     police and seek a restraining order right then, and the

01:06:48   12     basis on which she's -- she could have said anything,

01:06:51   13     says, "He's mean to me.          He says mean things to me."

01:06:57   14                    Your Honor, there is a next exhibit, Exhibit

01:07:09   15     D-9, which is another police report, which I believe the

01:07:20   16     Government had in its possession.             And this is a police

01:07:28   17     report of an incident involving Tatyana Teyf.

04:11:28   18                    (Whereupon Defendant's Exhibit 9 is admitted

04:11:31   19     into evidence.)

01:07:36   20                    MR. McLOUGHLIN:        Now, I want to go back,

01:07:47   21     Your Honor, for one moment to the offense -- the

01:07:49   22     incident report of March 18.           The response of Mr. Teyf

01:07:55   23     to his wife's statements is, "My wife drinks a lot.                 I

01:08:02   24     don't do anything to her.          We're still married.         I pay

01:08:05   25     for everything.       The house, the cars; they're all mine."




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 41 of 94
                                                                                      42


01:08:08    1     And the report goes on, "Their son told me his mother

01:08:17    2     and father are married and live together in separate

01:08:19    3     rooms.    He said to me his mom drinks a lot, and that

01:08:23    4     causes a problem."

01:08:26    5                    Now, on that issue and related issues, in

01:08:33    6     November of 2017, police were called to what appears to

01:08:38    7     be A.G.'s address, and they observed Tatyana Teyf was

01:08:49    8     kicking the door.        And the officers talked with her,

01:08:57    9     told her to calm down, and said she appeared to be

01:09:06   10     intoxicated; the officer could smell alcohol, and he

01:09:10   11     said she was crying and had a cut on her upper lift.               He

01:09:14   12     asked her how she injured her lip.             Notably she said:

01:09:17   13     A.G.'s door.       And she wouldn't tell him, but she only

01:09:20   14     stated:     There's a bad person, and there's marijuana

01:09:24   15     inside.     "And she kept repeating to me she wanted

01:09:28   16     justice from that bad person."            She then called and

01:09:33   17     had -- called her daughter; her daughter was going to

01:09:37   18     come pick her up.         While that was going on, she walked

01:09:40   19     away from the officer and started kicking the front door

01:09:42   20     again, so he arrested her.

01:09:44   21                    The point being, Your Honor, that if there's

01:09:48   22     an issue here about allegations of domestic violence or

01:09:54   23     other issues, the police reports indicate that the

01:10:01   24     problem is not with Mr. Teyf, and assuredly there can be

01:10:09   25     an order of separation by the Court not to contact or be




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 42 of 94
                                                                                       43


01:10:14    1     near Mrs. Teyf that would address that issue.

01:10:17    2                    In response to this, I have to note, Your

01:10:20    3     Honor, and address the evidence.            We saw the Government

01:10:29    4     pull articles from four news sources as compelling and

01:10:35    5     reliable as Jezebel.com, which was terrific to read

01:10:43    6     because while we were pulling down the evidence that the

01:10:45    7     Government made reference to, we were able to read how

01:10:48    8     the Staten Island wives of the reality show and the mob

01:10:55    9     wives of the reality show were talking about gender

01:10:58   10     issues, I am the mob.         A wonderful source, very

01:11:03   11     reliable, as is the New York Post, which they also cite.

01:11:10   12                    The Government's citation there is a roaring

01:11:14   13     admission of how weak their case is.              Because the fact

01:11:18   14     of the matter is, if the best you can do about Mr. Teyf

01:11:21   15     not being subject to a condition that would protect Mrs.

01:11:25   16     Teyf or A.G. is to cite a teenager who was out on bail

01:11:31   17     who said he was going to commit suicide, and another

01:11:36   18     circumstance in which a husband who again attempted

01:11:41   19     suicide and had been arrested twice before for choking

01:11:46   20     his girlfriend and threatening her, all of whom are

01:11:52   21     under the age of 40, and so it happens that there's

01:11:58   22     domestic abuse while you are on pretrial release, if

01:12:04   23     that's the best you've got for why a 58-year-old man

01:12:10   24     with medical issues who is a sophisticated businessman

01:12:13   25     is not going to understand that he cannot go near A.G.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 43 of 94
                                                                                   44


01:12:16    1     or his wife, then you lose, if the standard is clear and

01:12:19    2     convincing evidence, or if it's preponderance of the

01:12:21    3     evidence, or if it's common sense.

01:12:23    4                    Now, if we also look at the additional

01:12:26    5     evidence here, Your Honor, we have Mr. Teyf's medical

01:12:30    6     records.     And Mr. Teyf's medical records establish, and

01:12:38    7     we have -- they're in Russian, but we have translations

01:12:45    8     attached.     And these records were relied upon in part by

01:12:56    9     the pretrial services folks, who, quite rightly,

01:13:02   10     recommended his release.          Now, these records indicate

01:13:08   11     that Mr. Teyf has a variety of medical issues that,

01:13:14   12     quite frankly, are going to be severely exacerbated by

01:13:17   13     his incarceration, but also limit the issue of danger

01:13:24   14     and risk because the first thing to note here is there

01:13:30   15     is no allegation that Mr. Teyf even engaged in any

01:13:37   16     personal violence of any kind.

04:11:28   17                    (Whereupon Defendant's Exhibit 10 is

04:11:30   18     admitted into evidence.)

01:13:41   19                    THE COURT:      Can I ask you to explain to me

01:13:44   20     more particularly what D-10 is that you've just handed

01:13:49   21     me?

01:13:51   22                    MR. McLOUGHLIN:        D-10 are our letters and

01:13:54   23     medical records from Mr. Teyf's Russian physician

01:13:57   24     translated into English along with some additional test

01:14:00   25     records.     They show --




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 44 of 94
                                                                                        45


01:14:03    1                    THE COURT:      And I would imagine you would

01:14:04    2     like the Court to seal this medical information?

01:14:08    3                    MR. McLOUGHLIN:        We are going to get there,

01:14:09    4     Your Honor.       Yes, please.

01:14:10    5                    THE COURT:      Any opposition?

01:14:11    6                    MR. KELLHOFER: No, Your Honor.

01:14:12    7                    THE COURT:      All right.      Let it be so sealed.

01:14:16    8                    MR. McLOUGHLIN:        Mr. Teyf has diabetes; he

01:14:19    9     has an irregular heartbeat; he has chronic gastritis

01:14:23   10     from a hiatal hernia; he has a variety of other

01:14:28   11     ailments, including injuries from an accident that left

01:14:34   12     him with significant muscular and bone issues that

01:14:39   13     require him to do certain kinds of exercises or he

01:14:42   14     suffers pain and is unable to sleep.

01:14:49   15                    The point of this, Your Honor, again, is

01:14:54   16     with respect both to flight risk and danger to the

01:14:58   17     community.     Mr. Teyf is not a robust 25-year-old or

01:15:04   18     35-year-old who is going to be making some arduous

01:15:08   19     escape or some physical attack on anybody.                And there

01:15:13   20     is, for purposes of the assessment, if you look, for

01:15:17   21     example, in the recidivism rates that guide the U.S.

01:15:20   22     Sentencing Guidelines, there is a dramatic difference in

01:15:24   23     recidivism between people who are over the age of 40 and

01:15:28   24     people who are under the age of 40.             And here that is

01:15:32   25     relevant to Your Honor because what Mr. Teyf understands




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 45 of 94
                                                                                   46


01:15:36    1     and Your Honor can impose is that if Mr. Teyf engages in

01:15:39    2     any misconduct with respect to A.G. or Tatyana Teyf, he

01:15:45    3     is looking at severe criminal prosecution consequences;

01:15:52    4     he is looking at the loss of his relationship with his

01:15:56    5     children, and you have heard he is a good and devoted

01:16:00    6     father; he is looking at the loss of all of the

01:16:03    7     financial security he has built for himself and his

01:16:07    8     children.     Your Honor can also make it remarkably

01:16:13    9     difficult to practically engage in any misconduct by

01:16:16   10     conditions of reporting, house arrest, and a variety of

01:16:22   11     other limitations that are quite easily enforced and

01:16:25   12     monitored.

01:16:26   13                    Now, Your Honor, if we look at the

01:16:33   14     information here, we also see a number of other issues

01:16:45   15     in terms of the Government's evidence.

01:16:59   16                    The issues in the transcripts again

01:17:01   17     demonstrate that Mr. Teyf is not usually the instigator.

01:17:07   18     The transcripts from the February encounter and the

01:17:16   19     March encounters also indicate that Mr. Teyf is pushed

01:17:21   20     by confidential human source one in a variety of ways.

01:17:27   21                    And so the question you have here is: What

01:17:35   22     other relevant evidence does Your Honor have with

01:17:39   23     respect to Mr. Teyf?          The first is he has no criminal

01:17:44   24     record.     He has community contacts.          And it is also

01:17:54   25     relevant that the Government has his Russian and Israeli




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 46 of 94
                                                                                          47


01:18:01    1     passports.     Under Russian statutory procedure and

01:18:04    2     Israeli statutory procedure one cannot get a new

01:18:08    3     passport unless one personally appears at the embassy.

01:18:15    4     Your Honor will not be shocked to know that the Russian

01:18:17    5     embassy is not in Raleigh/Durham, nor is the Israeli

01:18:21    6     embassy.     Point being that if he is on GPS monitoring

01:18:27    7     and under controls, he can't get a new passport.                And a

01:18:34    8     58-year-old man with a variety of health issues, there's

01:18:39    9     one way out, and that's an airplane, and he can't go

01:18:41   10     without a passport.

01:18:42   11                    And the arguments the Government made about

01:18:44   12     his travelling under different citizenships are simply

01:18:47   13     incorrect, and that information given to Judge Numbers

01:18:50   14     was false.

01:18:51   15                    So where that becomes relevant with respect

01:18:54   16     to the danger, Your Honor, is that Mr. Teyf knows that

01:19:00   17     if there is a problem, and he is unable to leave the

01:19:05   18     United States, which he is, then the probability that he

01:19:09   19     is going to have an issue there is very, very

01:19:11   20     significant.

01:19:13   21                    And so when asked the question:             What is the

01:19:16   22     record, and what is the record of anything in which Mr.

01:19:19   23     Teyf ignored a court order or ignored the order of this

01:19:24   24     Court?     And the answer is, of course, there isn't one,

01:19:26   25     and he doesn't have a record.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 47 of 94
                                                                                      48


01:19:28    1                    So then the question becomes: What is it,

01:19:31    2     other than the offense itself, that indicates that he

01:19:34    3     would not be subject to reasonable conditions that would

01:19:40    4     provide reasonable certainty?            And we cited a number of

01:19:44    5     cases.    Here again Judge Numbers erred because Judge

01:19:47    6     Numbers said:      Well, I found two cases, and in both of

01:19:49    7     those cases they were murder-for-hire cases, and the

01:19:52    8     Government succeeded in persuading the Court that the

01:19:55    9     individual should not be released.             And so it just

01:20:01   10     happens that these cases are such that there's danger.

01:20:04   11                    The Senate report on the Bail Reform Act is

01:20:09   12     very, very clear.        And in Salerno Judge Rehnquist is

01:20:14   13     very, very clear.        The number of cases in which there

01:20:18   14     will be no set of circumstances under which someone can

01:20:22   15     be released because of danger to the community is very,

01:20:26   16     very, very small.        And, in fact, if you read Judge

01:20:33   17     Rehnquist's intent in Salerno, and if you fairly read

01:20:36   18     the Senate report on that issue, which says it is,

01:20:40   19     again, a very, very select few, they are identified with

01:20:45   20     respect to crimes of violence, repeat offenders, repeat

01:20:48   21     offenders under drug charges.            And there's no dispute

01:20:51   22     that Mr. Teyf doesn't fit within any of those

01:20:53   23     categories.

01:20:55   24                    And so in Barnett, and in Eischeid, and in

01:20:58   25     other case, people who are charged with murder for hire,




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 48 of 94
                                                                                      49


01:21:01    1     which has a really great name for the newspapers, but is

01:21:05    2     really not much more than conspiracy, people who are

01:21:13    3     charged with conspiracy to do bad things get released

01:21:16    4     every day with no issue.

01:21:20    5                    Now, with respect to Mr. Teyf and the

01:21:26    6     constitutional and statutory tests here, the cases say

01:21:32    7     that he is entitled to that release.              We have three

01:21:35    8     cases in which a release occurs in a conspiracy to

01:21:39    9     commit murder, and worse, and those cases where there is

01:21:44   10     no release generally can be characterized as gang and

01:21:49   11     drug cases, or mafia cases, none of which is the issue

01:21:57   12     here.

01:21:57   13                    So, Your Honor, when you look at the cases

01:21:59   14     that we've cited, and you look at the testimony, one

01:22:07   15     sees a very different picture than Agent Kinney painted

01:22:13   16     in the materials.

01:22:14   17                    And with that, Your Honor, I will sit down

01:22:15   18     and await a reply from Your Honor.

01:22:22   19                    THE INTERPRETER:        May the interpreter have a

01:22:24   20     break?

01:22:25   21                    THE COURT:      How much time do you need?         Ten

01:22:28   22     minutes?      Yes.    We'll just simply be at ease for ten

01:22:33   23     minutes.

01:24:08   24                    (Recess taken.)

01:27:56   25                    THE COURT:      I want to thank you for your




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 49 of 94
                                                                                        50


01:27:58    1     service and indicate typically we would have two

01:28:00    2     interpreters, but Russian interpreters are very

01:28:04    3     difficult to find.        You travelled from Charlotte to be

01:28:07    4     here?

01:28:07    5                    THE INTERPRETER:        Yes, Your Honor.

01:28:10    6                    THE COURT:      We're going to make it a point

01:28:12    7     with respect to further matters in this case to do our

01:28:15    8     best to find two of you.

01:28:17    9                    THE INTERPRETER:        Thank you, Your Honor.

01:28:20   10                    So having heard from the defendant more

01:28:22   11     fully, what says the Government?              Again, the issue is

01:28:26   12     not the defendant's guilt or innocence; the issue today

01:28:30   13     is whether the Court can fashion a set of release

01:28:33   14     conditions that's going to assure that Mr. Teyf shows up

01:28:38   15     and that in the interim he harms no one.                So I invite

01:28:42   16     the Government to be heard.

01:28:45   17                    MR. KELLHOFER: Yes, Your Honor.             And we

01:28:47   18     thank you for that.

01:28:48   19                    We feel very strongly that that is the exact

01:28:51   20     point for this hearing.           And I think it was a telling

01:28:56   21     Freudian slip by counsel to say at the "trial" that we

01:29:00   22     previously had.       It's not a trial.        And so I'm not going

01:29:04   23     to get into a nuance of every single exhibit, Your

01:29:13   24     Honor, and go point by point because this is not trial,

01:29:17   25     and it is a different standard.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 50 of 94
                                                                                          51


01:29:19    1                    With that understanding the Government would

01:29:20    2     turn back, Your Honor.         We have not brought additional

01:29:23    3     witnesses because all of these matters were presented to

01:29:26    4     the magistrate judge.         We do turn to the transcript.            We

01:29:31    5     would note that within there --

01:29:33    6                    THE COURT:      Well, let's talk about the fact

01:29:34    7     that it appears you made a mistake if you did tell the

01:29:38    8     magistrate judge that he had access to five separate

01:29:41    9     passports.

01:29:42   10                    MR. KELLHOFER: No, Your Honor.             Actually I

01:29:44   11     would say that at page 30 of the transcript the AUSA

01:29:48   12     explicitly noted that that column was with regard to

01:29:52   13     citizenship and was not the documents that defense

01:29:57   14     counsel have claimed that we've done.              So no, I would

01:30:00   15     say that in any case --

01:30:02   16                    THE COURT:      You've got to just notch it down

01:30:06   17     a little.

01:30:07   18                    I'd like to go back and talk about Mr. Han

01:30:10   19     and Mr. Vasilyev.

01:30:14   20                    Again, reasonably when you sit next to

01:30:18   21     someone in the well of a courtroom at a hearing, you are

01:30:22   22     representing you are making an appearance.                And we have

01:30:26   23     a rule, as I've explained, that compels the attorney to

01:30:30   24     provide more information about him or her in the form of

01:30:33   25     a written notice of appearance, and which was not done.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 51 of 94
                                                                                       52


01:30:37    1     Certainly if you want to consult with these people, I

01:30:42    2     understand their areas of expertise lie largely outside

01:30:46    3     the scope of this hearing, certainly it is the

01:30:50    4     defendant's right to have other people, other attorneys

01:30:56    5     work for him.

01:30:57    6                    I don't have anything in front of me that

01:31:01    7     gives me cause to decide today that one of these

01:31:06    8     attorneys should no longer have any contact with your

01:31:08    9     client.     Okay.    I'm not making that ruling by pushing

01:31:12   10     them back into the gallery.           An offensive lob at the

01:31:20   11     start of the detention hearing that the Court should

01:31:22   12     focus its attention on that previously unraised issue

01:31:25   13     and enter a protective order based on an anticipated

01:31:29   14     future prospect of some form of motion as I understood

01:31:35   15     it is not well taken with the Court.              If there is an

01:31:38   16     issue to be decided concerning the scope of a protective

01:31:41   17     order, file your motion, and I'll take it up.

01:31:44   18                    MR. KELLHOFER:        Understood, Your Honor.

01:31:45   19                    THE COURT:      But I think the way the hearing

01:31:46   20     started, again, I want to just keep it focused on what's

01:31:50   21     at issue here.

01:31:55   22                    All right.      Your point is taken.         You're

01:31:56   23     saying if I look at that transcript on page 30, I'm

01:32:00   24     going to see something different than what defense

01:32:03   25     counsel represents?




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 52 of 94
                                                                                           53


01:32:04    1                    MR. KELLHOFER:        Yes, Your Honor.

01:32:05    2                    THE COURT:      All right.      Does that affect

01:32:08    3     you?     Does that affect your argument?

01:32:10    4                    MR. McLOUGHLIN:        No, Your Honor.       I disagree

01:32:13    5     with the statement that we said something different or

01:32:15    6     that it's going to say something different than what we

01:32:18    7     said.    I quoted directly from their brief in which they

01:32:21    8     say he had access to five citizenships.               I never used

01:32:25    9     the word "passport."         I said "citizenship," and that

01:32:28   10     statement is false.        The Government's statement in its

01:32:32   11     brief and the statements in the transcript about

01:32:34   12     citizenship are false.

01:32:36   13                    THE COURT:      All right.      Well, what your

01:32:37   14     exhibit does show to me -- and I'm going to tell you

01:32:40   15     all, I'm focused on risk of flight.

01:32:47   16                    And what you have shown me, evidenced

01:32:51   17     however he could do it, demonstrated mobility.                  He can

01:32:55   18     cross borders.       He can go places.        And also access to

01:33:01   19     significant sums of money that relate back to the nature

01:33:06   20     and circumstances of the instant offense and fly

01:33:10   21     directly in the face of what has been reported to the

01:33:14   22     probation office as his annual salary to, for example,

01:33:20   23     buy a condominium on Glenwood Avenue.              So I'm focused on

01:33:29   24     the fact that somebody with access to this amount of

01:33:33   25     money, as is alleged, and as appears significant, can




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 53 of 94
                                                                                               54


01:33:41    1     find a way to get out of this country or secrete

01:33:47    2     himself.

01:33:47    3                    And it's in the record that he has a

01:33:50    4     demonstrated lack of respect for authority insofar as in

01:33:54    5     both this country allegedly and in Russia.                He has

01:34:01    6     attempted to bribe persons in the Government.                   So that

01:34:07    7     is something that is factoring into my concern that it's

01:34:10    8     going to be very difficult for the Court to fashion a

01:34:13    9     set of release conditions that's going to assure that

01:34:16   10     Mr. Teyf show up.

01:34:19   11                    Also in light of the significant sentence

01:34:21   12     that he faces.       The weight of the evidence under the

01:34:26   13     case law is one of the least considered factors.                   But

01:34:30   14     the nature and circumstances of this offense and the

01:34:33   15     evidence as has been presented, again, give the Court

01:34:37   16     this cause to be very concerned about that.

01:34:42   17                    I'm not comforted greatly by a private firm

01:34:49   18     that can be contracted to knock on somebody's door.                      I

01:34:54   19     don't think that that enhances my ability to fashion a

01:35:01   20     set of conditions that's going to assure he will show

01:35:05   21     up.

01:35:05   22                    And I'm not persuaded by his medical

01:35:08   23     condition.     In fact, people in far, far worse physical

01:35:14   24     health than your client have defied this Court's order

01:35:19   25     and fled.     So he certainly has some issues associated




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 54 of 94
                                                                                        55


01:35:25    1     with age and other matters, but it certainly didn't slow

01:35:30    2     him down with respect to the allegations in this case,

01:35:35    3     I'm sure the Government would say, and it's not going to

01:35:40    4     slow somebody down who's determined to avoid the

01:35:45    5     prosecution of this case.

01:35:47    6                    So let's have you be seated, counsel for the

01:35:50    7     defendant.     And having kind of focused Mr. Kellhofer,

01:35:55    8     I'd like to hear you a little bit more, and then I'll

01:36:00    9     turn back to the defendant.           He will want to address

01:36:05   10     what I have said here, and he has a right so to do.

01:36:07   11                    MR. KELLHOFER: Understood, Your Honor.           And

01:36:08   12     I would note with regard to the points Your Honor has

01:36:12   13     made, access to funds and the individual's conduct, the

01:36:19   14     exhibits provided by the defense, I believe D-7 and

01:36:24   15     D-3 -- D-3 is the Judgment for Absolute Divorce, Your

01:36:30   16     Honor.

01:36:30   17                    THE COURT:      I've reviewed that already.

01:36:32   18                    MR. KELLHOFER: And at page 5 it talks that

01:36:35   19     the husband and wife are the owners of real property

01:36:39   20     located at 6510 New Market, that it will be -- husband

01:36:45   21     shall execute a general warranty deed conveying any and

01:36:48   22     all interest to the wife within one month.

01:36:51   23                    Now, I'll note, Your Honor, that this is

01:36:54   24     February, 2017.       The D-7, I believe, police report is

01:37:03   25     now back to reality.         This is what will be said at any




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 55 of 94
                                                                                        56


01:37:06    1     point.     And this was a financial interest action done to

01:37:09    2     hide funds, from the Government's point of view,

01:37:12    3     ultimately.      And that's a matter for trial.            But the

01:37:15    4     point here is in the police report the statement taken

01:37:19    5     from Mr. Teyf, "My wife drinks a lot."              That's the point

01:37:23    6     made.     And then he goes on to say, "I don't do anything

01:37:27    7     to her.     We are still married.         I pay for everything.

01:37:30    8     The house, the cars; they're all mine."               That is so --

01:37:38    9     the reality of a domestic situation is summed up there,

01:37:44   10     and an individual who will claim "It's mine" a year

01:37:49   11     later.     That speaks to his assets, what he really in

01:37:55   12     reality has, and it speaks to the issue that the

01:38:00   13     Government is charged with with regard to the murder

01:38:05   14     charges.

01:38:05   15                    But specifically with regard to flight risk,

01:38:10   16     Your Honor, the point made, we can go back and forth

01:38:16   17     whether "safe house" is the right term for an apartment

01:38:18   18     with a safe in it or not.          The point, Your Honor; he has

01:38:22   19     funds; he can access other locations; he does that.

01:38:27   20     That's the point.        That's what it comes down to.          In his

01:38:30   21     name; not in his name.         At the end of the day, what the

01:38:33   22     Government believes most pertinent is simply that this

01:38:36   23     is his capability.

01:38:40   24                    Travel.     If there was misspoken as to

01:38:46   25     whether or not it included Belarus and Serbia, the




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 56 of 94
                                                                                            57


01:38:50    1     point, Your Honor, multiple avenues of travel.                  That's

01:38:54    2     the point.     And at trial might be the nitpicking, and I

01:38:57    3     understand that.       But our point would be an immense

01:39:01    4     ability to travel, a desire to do everything.

01:39:03    5                    And at the end of the day Mr. Teyf's threat

01:39:06    6     is not Mr. Teyf's feeble hand, as the defense would have

01:39:10    7     you believe.      It's that phone call.         That's where this

01:39:13    8     individual is a true danger.           He has other people commit

01:39:20    9     criminal actions, and access to other people to do so,

01:39:23   10     as alleged and described in the testimony of the agent.

01:39:27   11                    The agent got up there and provided

01:39:29   12     testimony under oath as to the facts, Your Honor.                  It's

01:39:35   13     our position that looking at each one of these only

01:39:39   14     further buttresses what Special Agent Kinney testified

01:39:43   15     to:   that the individual, Mr. Teyf, is here in the

01:39:48   16     country; he's here by means of a work visa that is not

01:39:53   17     accurate; he, while here, has utilized funds that were

01:40:01   18     illegally obtained overseas; that he and his wife have a

01:40:08   19     problem; that his wife has apparently slept with

01:40:12   20     somebody else; and that he wanted that person killed.

01:40:15   21                    Your Honor, he wanted that person killed by

01:40:18   22     getting him deported.         It's apparent in the statements

01:40:23   23     provided.     We're not going to go through every

01:40:25   24     recording, and we're certainly not going to play Russian

01:40:28   25     recordings at this point.          But that's what the agent




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 57 of 94
                                                                                           58


01:40:31    1     had.     That's what the agent reviewed, and that's what he

01:40:35    2     testified to.

01:40:37    3                    The CHS's involvement.          Absolutely had a

01:40:40    4     number of conversations, as is always the case.                 And as

01:40:44    5     is often the case, the defense will say:               Well, the CHS

01:40:49    6     prodded him, or whatnot.          We can take that up happily at

01:40:52    7     trial.     What I can say is there was always a concern

01:40:57    8     here in this case from the investigation that Mr. Teyf

01:41:02    9     would act without the CHS's involvement and, with

01:41:11   10     effort, get this individual overseas by multiple

01:41:15   11     avenues.

01:41:18   12                    He remains a flight risk.           He is facing a

01:41:22   13     very -- multiple very serious charges.              And he has the

01:41:29   14     means and all of the incentive to do so.               And he was

01:41:34   15     already one foot out of this country, Your Honor.                 On

01:41:38   16     December 15 he was intending to leave.              According to the

01:41:43   17     testimony of Special Agent Kinney and as supported

01:41:46   18     throughout the transcripts, he made it known, especially

01:41:51   19     when there was a discussion of whether or not the murder

01:41:54   20     should only be A.G., should it be A.G. and his wife as

01:41:57   21     well?     And his comment was:        Well, then I'll definitely

01:42:01   22     have to leave if that is the case.             The whole point is,

01:42:05   23     obviously, if anyone's sniffing around.               And, as was

01:42:09   24     testified to by Special Agent Kinney, if they came

01:42:11   25     sniffing around, blame it on the wife, because




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 58 of 94
                                                                                            59


01:42:13    1     ultimately he plans to take care of her.               And he's been

01:42:20    2     transferring funds to his son's name so that he wouldn't

01:42:24    3     have to return.       He was already halfway out the door,

01:42:29    4     Your Honor.

01:42:30    5                    THE COURT:      Okay.     Thank you.     Did you wish

01:42:32    6     to be heard?

01:42:34    7                    MR. McLOUGHLIN:         I do, Your Honor.        A couple

01:42:36    8     of points.     The statute, as you know, says that hearsay

01:42:43    9     is admissible in connection with a detention hearing.

01:42:46   10     However, what the cases also say is that the Court

01:42:48   11     should evaluate the quality of evidence.               And the best

01:42:55   12     way to evaluate the quality of evidence is to take that

01:42:58   13     evidence and put it up against the template of the

01:43:00   14     Federal Rules of Evidence, and how reliable it is, and

01:43:04   15     how substantial it is.         And in this case, of course, the

01:43:06   16     only evidence from the Government is an agent who has

01:43:11   17     never been involved in anything in connection with this

01:43:14   18     case, who they propped up like a straw man to keep any

01:43:21   19     real challenge to the substantial allegations he put

01:43:25   20     forward.     And what's noteworthy about all of that is

01:43:31   21     first when the Government talks about other people that

01:43:35   22     Mr. Teyf allegedly hired to do bad things, they're -- at

01:43:42   23     the time they were allegedly hired to do that, they're

01:43:45   24     all Government informants in the making.               So the point

01:43:49   25     here is:     Chicken or egg, Your Honor, on this one.               And




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 59 of 94
                                                                                         60


01:43:54    1     that goes to the danger issue that the Government

01:43:58    2     continues to play up.

01:43:59    3                    But I want to make two comments on the issue

01:44:01    4     of funds illegally obtained overseas and Your Honor's

01:44:05    5     comment about bribery.         The point being, if one reviews

01:44:10    6     the transcripts -- and we can submit them after the

01:44:14    7     hearing -- of May 9 and May 23, 2018, in which there is

01:44:21    8     a meeting with the DHS agent involved, at no point is

01:44:27    9     Mr. Teyf told that this is a DHS agent.               In fact, he had

01:44:33   10     been told he was a lawyer.           And when the DHS agent makes

01:44:37   11     comments, and you look at the translation that Mr.

01:44:41   12     Cotter gives, he at no time tells Mr. Teyf that he is a

01:44:45   13     special agent of the DHS.          There is a really very

01:44:48   14     significant issue here with respect to the bribery of a

01:44:52   15     DHS agent because Mr. Teyf thought he had a lawyer.                And

01:44:56   16     if you study those two transcripts, he's not identified.

01:44:59   17                    With respect to the allegations of

01:45:01   18     misconduct in Russia, there are two points pertinent to

01:45:04   19     the Government's arguments, and they go to Your Honor's

01:45:07   20     concern about disrespect for the law.              The first is

01:45:11   21     there is absolutely no evidence that is presented that

01:45:15   22     Mr. Teyf violated a law in Russia.             In fact, when Judge

01:45:21   23     Numbers asked the Government to identify the Russian

01:45:24   24     statute that he had violated, the Government said:                We

01:45:28   25     can't.    They don't know.        Because he didn't violate one.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 60 of 94
                                                                                           61


01:45:34    1     But more importantly, the allegation of the kickbacks is

01:45:38    2     supported by a single individual.             So far as we can tell

01:45:43    3     from discovery, no documentary evidence at all.                 That

01:45:47    4     individual had a longtime cooperation with the

01:45:50    5     government, and had an interest to misrepresent.                 And

01:45:53    6     that individual never worked for the company, Voentorg,

01:46:00    7     that the Government says is the participant in this

01:46:02    8     scheme.     And the Government has presented absolutely no

01:46:09    9     evidence in connection with the seizure orders or

01:46:12   10     otherwise that connects a single dollar from this

01:46:16   11     alleged activity in Russia to a dollar in the United

01:46:20   12     States.     The best they can do is say:           Well, money came

01:46:23   13     into the United States from places that we don't like,

01:46:26   14     and so it must be that same money.

01:46:31   15                    But the real issue comes back to, Your

01:46:33   16     Honor, the issue of whether there are conditions that

01:46:35   17     give -- create a reasonable assurance, not a guarantee.

01:46:39   18     A statutory test, the Salerno test, the test in the

01:46:45   19     Fourth Circuit, is not guarantee.             Reasonable objective

01:46:48   20     assurance that Mr. Teyf will appear when required.                 And

01:46:53   21     the undisputed facts are he only has two passports,

01:46:58   22     Russia and Israel.        They've been taken away.          He can't

01:47:03   23     get another one.       So he can't travel without a passport.

01:47:10   24     He is willing to have GPS monitoring, which means the

01:47:13   25     Government will know within minutes or hours if he




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 61 of 94
                                                                                         62


01:47:17    1     starts to leave the jurisdiction.             He has a custodian

01:47:25    2     who has every reason to report any violation.

01:47:29    3                    While Your Honor says this is a private

01:47:32    4     company, it is a reputable security company that is

01:47:36    5     prepared to just, again, identify where he is.

01:47:40    6                    And so the question Your Honor then comes to

01:47:48    7     is if Your Honor's view about his wealth or the fact

01:47:56    8     that he been charged or shows a lack of respect for the

01:47:59    9     law is sufficient to establish that a prisoner is a

01:48:02   10     flight risk, then everyone with a big enough bank

01:48:05   11     account and a passport that's been seized by the

01:48:09   12     government should, in fact, be held pending trial.               And

01:48:16   13     that is clearly not what the case law permits.

01:48:19   14                    THE COURT:      Well, your client is a citizen

01:48:26   15     of another country.        He has demonstrated ability to

01:48:36   16     maneuver efficiently, effectively, and often between

01:48:42   17     borders.     The lack of a passport is not, though

01:48:48   18     certainly is a consideration, is not a determinative

01:48:52   19     factor.     It is possible to secrete yourself without

01:48:59   20     resort to a passport.         The fact of the electronic

01:49:05   21     monitoring in this case does not compel the conclusion

01:49:12   22     that together, with all of the other tools you've

01:49:16   23     suggested to me, that I can fashion a set of release

01:49:19   24     conditions that will assure that this particular

01:49:22   25     defendant will show up at all future court dates.               So --




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 62 of 94
                                                                                          63


01:49:32    1                    MR. McLOUGHLIN:        A couple of observations if

01:49:34    2     I may, Your Honor.

01:49:34    3                    THE COURT:      It's really unnecessary.         I've

01:49:36    4     made my decision.        And I'm respectful of your advocacy.

01:49:41    5     It is for another day that the Court will preside over a

01:49:46    6     trial.

01:49:48    7                    If there are issues concerning access to

01:49:50    8     what he needs access to in the prison while he's

01:49:54    9     awaiting trial, you can bring it to my attention.                There

01:49:57   10     may be some things the Court can do to facilitate the

01:50:03   11     more -- the quality of the representation taking into

01:50:11   12     consideration there is this language issue.                What it is

01:50:15   13     exactly, I don't know at this point in time.                But if,

01:50:19   14     for example, having a device that he can use to

01:50:23   15     translate terms -- how are you all working through that?

01:50:29   16                    MR. McLOUGHLIN:        Well, that has been very

01:50:30   17     difficult, Your Honor.         Originally Mr. Teyf was in Wake

01:50:36   18     County.     And there are translation sources available in

01:50:40   19     Wake County.      The jail is large enough that they have

01:50:43   20     facilities and sophistication.            And so that made life a

01:50:46   21     lot easier.      Both in Edgecombe County and Pitt County we

01:50:50   22     don't have those translation services readily available

01:50:54   23     because they're a much smaller jail; they don't really

01:50:57   24     have capabilities to handle this kind of circumstance.

01:51:03   25     Their rules, particularly in Pitt County, make it very




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 63 of 94
                                                                                          64


01:51:07    1     difficult.

01:51:08    2                    THE COURT:      Where has he been held lately?

01:51:10    3                    MR. McLOUGHLIN:         Right now he's in Pitt.

01:51:12    4                    THE COURT:      How long has he been there?

01:51:14    5                    Marshal, do we have a contract that allows

01:51:17    6     him to be at Wake County pending trial?

01:51:22    7                    THE MARSHAL:       We do, Your Honor.            They will

01:51:24    8     not transport anywhere outside of Raleigh.

01:51:26    9                    THE COURT:      But we could put him back there?

01:51:29   10                    THE MARSHAL:       It's a possibility.           Yes,

01:51:31   11     ma'am.

01:51:31   12                    THE COURT:      So is that something you would

01:51:32   13     like the Court to pursue?

01:51:34   14                    MR. McLOUGHLIN:         Very much so, Your Honor.

01:51:35   15                    THE COURT:      Okay.     Well, I'm going to, in

01:51:37   16     light of the circumstances of this case, ask the

01:51:40   17     Marshals to attempt to relocate him to Wake County where

01:51:46   18     he has access to more of these facilities.                If there's

01:51:50   19     something else, you can let me know.

01:51:53   20                    MR. McLOUGHLIN:         Thank you, Your Honor.

01:51:54   21                    THE COURT:      I'll revisit that if need be.

01:52:09   22                    So we've got a schedule in place that

01:52:11   23     requires that pretrial motions be filed by April 10.

01:52:15   24     And that's on your request for --

01:52:23   25                    (Cellular telephone rings in court.)




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 64 of 94
                                                                                       65


01:52:23    1                    Ms. Kocher, why don't you go outside with

01:52:25    2     your pocketbook.

01:52:30    3                    Does that meet your needs, both sides?

01:52:33    4                    MR. McLOUGHLIN:        We believe, Your Honor,

01:52:34    5     Tarboro is another option.           We can communicate with the

01:52:38    6     Marshal's Service about that.            That's close enough.

01:52:41    7     We'll try to figure out the translation resource,

01:52:45    8     medical issues, and the access.

01:52:47    9                    THE COURT:      I've sent a computer into --

01:52:51   10     what's the one up north?          We've got the computer going

01:52:55   11     up there.

01:52:59   12                    THE MARSHAL:       Albemarle.

01:53:00   13                    MR. McLOUGHLIN:        I spent a lot of time in

01:53:03   14     Albemarle.     There's not a lot there.           We tried the

01:53:05   15     computer in Edgecombe County.            There's a computer there;

01:53:08   16     it really hasn't worked very well.             The band width is

01:53:12   17     simply too narrow.        We've had some issues.

01:53:15   18                    THE COURT:      You've got access to the

01:53:17   19     internet in the Edgecombe County Jail?

01:53:20   20                    MR. McLOUGHLIN:        They have a counsel link,

01:53:22   21     video conferencing.

01:53:23   22                    THE COURT:      I see.     You're talking not about

01:53:26   23     your client's ability to translate for himself the

01:53:32   24     documents that you might wish him to review.                You're

01:53:35   25     talking about the ability to do a teleconference?




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 65 of 94
                                                                                          66


01:53:38    1                    MR. McLOUGHLIN:        All of the above.         It's the

01:53:41    2     whole package, Your Honor.

01:53:43    3                    THE COURT:      Just talk to the Marshal's

01:53:44    4     Service.     If I need to get involved, you can make the

01:53:47    5     appropriate motion.

01:53:47    6                    MR. McLOUGHLIN:        Thank you, Your Honor.

01:53:48    7                    THE COURT:      So how long is this case going

01:53:53    8     to take to try?

01:53:58    9                    MR. KELLHOFER: I'd say two to three weeks,

01:54:01   10     Your Honor.

01:54:01   11                    THE COURT:      That long?

01:54:02   12                    MR. KELLHOFER: And part of that, Your Honor,

01:54:04   13     is this is a language case, as is apparent.                So I

01:54:09   14     imagine the number of witnesses and audio will be in a

01:54:13   15     foreign language and require that --

01:54:14   16                    THE COURT:      We're going to have to work hard

01:54:16   17     to find the number of translators.

01:54:18   18                    MR. KELLHOFER: Understood, Your Honor.

01:54:19   19                    Your Honor, real quick, for what it's worth.

01:54:21   20     I believe there may be, insofar as the Marshals look to

01:54:28   21     move people around, I believe one of the other witnesses

01:54:31   22     is -- or one of the other co-defendants is presently at

01:54:34   23     Wake County as well.         So I think that may have been sort

01:54:38   24     of an issue.      I'm certain they'll figure it out.              I'm

01:54:42   25     just making you aware.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 66 of 94
                                                                                       67


01:54:43    1                    THE COURT:      You have been in a case with me

01:54:45    2     where we had multiple defendants at the Wake County

01:54:48    3     jail, each with a computer for a short period of time.

01:54:51    4                    MR. KELLHOFER: Yes, Your Honor.

01:54:52    5                    THE COURT:      So I think we can work things

01:54:54    6     like that out.

01:54:54    7                    MR. KELLHOFER: Absolutely.

01:54:57    8                    THE COURT:      All right.      So I'm just telling

01:54:59    9     you that I have a trial the whole month of July.                It's a

01:55:06   10     five-week trial.       So let's look ahead.         Have you all

01:55:16   11     talked about a time to try this case?

01:55:19   12                    MR. KELLHOFER: We have not talked about

01:55:20   13     trial time, Your Honor.

01:55:22   14                    THE COURT:      All right.      Obviously the law

01:55:27   15     militates toward all defendants being tried in the same

01:55:30   16     trial absent certain circumstances that can be brought

01:55:34   17     to my attention in a motion.           Where are we?       Is

01:55:40   18     everybody going to be arraigned by April based on your

01:55:44   19     understanding?

01:55:48   20                    MR. KELLHOFER: I believe so, Your Honor.             We

01:55:50   21     have one outstanding for arraignment, and I believe that

01:55:53   22     will be resolved certainly by then.             We had a complaint,

01:56:01   23     Your Honor, and had requested a 30-day continuance for

01:56:05   24     the indictment at that time on Mr. John Cotter.

01:56:10   25                    THE COURT:      He'll be separately indicted if




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 67 of 94
                                                                                          68


01:56:12    1     he's indicted?        I'm talking about the co-defendants in

01:56:17    2     this indictment.

01:56:18    3                    MR. KELLHOFER: Yes, Your Honor.             He -- that

01:56:21    4     remains to be seen, Your Honor.

01:56:23    5                    THE COURT:      Any scheduling issues in

01:56:45    6     September?

01:56:45    7                    MR. KELLHOFER: No issue with September.

01:56:47    8                    MR. McLOUGHLIN:        Not for the defense.

01:56:51    9                    THE COURT:      Do you want to set September 3,

01:56:53   10     the day after Labor Day?

01:56:55   11                    MR. McLOUGHLIN:        It makes it really hard to

01:56:57   12     set up and get ready.         Maybe the 4th or the 5th.

01:57:00   13                    THE COURT:      That's a good point.         I'll tell

01:57:03   14     you what; why don't we start the 9th.

01:57:06   15                    But is your client willing to waive his

01:57:08   16     Speedy Trial rights?

01:57:10   17                    MR. McLOUGHLIN:        I have to talk with him,

01:57:11   18     Your Honor.      I can't answer that right now.

01:57:14   19                    THE COURT:      Do you want to talk to him right

01:57:16   20     now?    You've got a translator right there.

01:57:18   21                    MR. McLOUGHLIN:        I know, Your Honor, I do.

01:57:20   22                    THE COURT:      Why don't you have a seat and

01:57:22   23     talk to him.

01:57:22   24                    MR. McLOUGHLIN:        I will do that, Your Honor.

01:57:42   25                    (Discussion had off the record between the




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 68 of 94
                                                                                      69


01:57:46    1     Defendant and defense counsel.)

01:58:27    2                    THE COURT:      I've put people in jail for

01:58:29    3     bringing cell phones into the Court.

01:58:32    4                    MS. KOCHER:       Your Honor, I apologize.       And I

01:58:36    5     am aware of that.

01:58:37    6                    At the appropriate time the acting U.S.

01:58:41    7     Marshal would like to be heard on the issue of placement

01:58:44    8     of the defendant.        It appears that there are issues with

01:58:47    9     Wake County.      So if the Court might -- I don't mean

01:58:52   10     to -- I'll wait so he's not trying to listen and speak.

01:59:25   11                    THE COURT:      Actually, I haven't put anyone

01:59:27   12     in jail; I've just imprisoned the phone.

01:59:34   13                    MS. KOCHER:       I believe that was a child of

01:59:36   14     mine, Your Honor, and that might be a good thing.

02:00:08   15                    (Discussion continues off the record between

02:00:10   16     the Defendant and defense counsel.)

02:00:10   17                    MR. McLOUGHLIN:        Your Honor, as cooperative

02:00:12   18     as I would like to be, that is not a question I can

02:00:14   19     answer at this point.

02:00:15   20                    THE COURT:      Well, the benefits would

02:00:17   21     obviously accrue to the defendant as well to have a

02:00:20   22     trial date certain and allow plans to go forward and

02:00:27   23     schedules to be secured.          Understanding, and that's

02:00:32   24     certainly a question that you can't answer today, I'll

02:00:34   25     anticipate that he's not willing to waive his Speedy




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 69 of 94
                                                                                     70


02:00:37    1     Trial rights, and they'll be defined as the case

02:00:41    2     proceeds.     I think arraignment is not until May.

02:00:45    3                    The clerk reminds me that arraignment in

02:00:47    4     this case is scheduled for May 14.

02:00:51    5                    Pursuant to my scheduling order, if you look

02:00:53    6     carefully at that order, and I'm sure you will, you'll

02:00:56    7     see that there's a trigger in there, in that order, for

02:01:00    8     signaling to the Court whether or not the defendant

02:01:03    9     waives his or her Speedy Trial rights.              If you don't

02:01:06   10     file your proposed jury instructions, for example, by

02:01:12   11     the arraignment term, it's assumed that -- you'll see in

02:01:20   12     the order it's understood that the defendant is not

02:01:23   13     waiving his speedy trial rights.            And then when I'm

02:01:26   14     noticed that there's a not guilty plea, I routinely

02:01:30   15     engage the parties in a telephone scheduling conference.

02:01:33   16     And at that scheduling conference, which typically takes

02:01:36   17     place just a couple of days after the arraignment, I

02:01:39   18     will set a trial date certain.            That's --

02:01:42   19                    MR. McLOUGHLIN:        What I would propose, Your

02:01:44   20     Honor, to the Court, and I will discuss this with the

02:01:48   21     Government, is that we could have a scheduling

02:01:50   22     conference including dealing with the issue of an

02:01:52   23     arraignment, possible waiver of arraignment in the next

02:01:55   24     week or two and address these issues.

02:02:01   25                    I will be quite frank with the Court that




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 70 of 94
                                                                                           71


02:02:03    1     the issue I have right now is that Mr. Teyf believes he

02:02:09    2     will not survive in jail.          He is willing to, as he said,

02:02:15    3     sit in that home in handcuffs to deal with this.                   He

02:02:22    4     wants his good name back.

02:02:24    5                    THE COURT:      I can appreciate that.            Why does

02:02:26    6     he think he's not going to survive?

02:02:29    7                    MR. McLOUGHLIN:        I think, Your Honor, there

02:02:31    8     are a couple of things.          One, for his health.           Number

02:02:36    9     two, the stress of being in prison.             Your Honor should

02:02:39   10     not underestimate the stress of being a 58-year-old man

02:02:43   11     who for the last two weeks has been in solitary

02:02:45   12     confinement under the Pitt County rules because he's a

02:02:48   13     transfer, or more, a 58-year-old man who does not speak

02:02:53   14     English and only speaks Russian being in a county jail

02:02:56   15     or pod with a large number of 20-somethings with whom he

02:03:00   16     cannot communicate and of whom he is afraid.                Together

02:03:05   17     with the food that is served, which is, shall we say,

02:03:09   18     not -- which is dangerous for someone who is a diabetic.

02:03:15   19     And the inability to communicate with virtually anyone

02:03:19   20     where the restrictions, for example, in Pitt County are

02:03:22   21     that you can have visits on Sundays.              He had his son

02:03:27   22     there.    By the time they got the -- have a visitor on

02:03:31   23     Sunday.     By the time they got all the logistics done,

02:03:34   24     they literally gave them a minute and a half with each

02:03:37   25     person, or two minutes.          So the stress for Mr. Teyf with




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 71 of 94
                                                                                           72


02:03:42    1     respect to this issue is one that, at this point, that

02:03:48    2     is what I have to deal with as his counsel, and what

02:03:53    3     we're managing.

02:03:54    4                    And we would ask the Court in light of his

02:03:57    5     statement with respect to that, and without waiver of

02:04:03    6     his rights -- we may submit an affidavit; I don't want

02:04:11    7     to waive his Fifth Amendment rights, we're probably

02:04:16    8     going to ask the Court to reconsider on the flight

02:04:19    9     issue.

02:04:19   10                    THE COURT:      I think --

02:04:21   11                    MR. McLOUGHLIN:        But we'll have a scheduling

02:04:23   12     discussion --

02:04:23   13                    THE COURT:      I think you should take that to

02:04:25   14     the Fourth Circuit.        I think that would probably be the

02:04:28   15     best use of your time and talents.

02:04:31   16                    Let's --

02:04:32   17                    MR. McLOUGHLIN:        We'll talk to the

02:04:33   18     Government this week and then get back -- and talk to

02:04:37   19     our client and get back to the Court promptly.

02:04:41   20                    THE COURT:      I can help you on that.          Just a

02:04:44   21     minute.

02:05:16   22                    I'm changing your motions deadline.              I'm

02:05:21   23     amending of my own initiative the Court's order entered

02:05:26   24     January 9, 2019.       I'm ordering now that pretrial motions

02:05:32   25     be filed no later than March 11, and any response no




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 72 of 94
                                                                                            73


02:05:51    1     later than March 18.

02:05:57    2                    MR. McLOUGHLIN:        Your Honor, forgive my

02:05:59    3     failure of recollection.          What was the prior motions

02:06:02    4     deadline?

02:06:03    5                    THE COURT:      April 10.

02:06:05    6                    MR. McLOUGHLIN:        The issue I have, Your

02:06:06    7     Honor, with March 11 is that I am travelling out of the

02:06:11    8     country on business most of next week, the week of

02:06:15    9     February 22, and the week of -- and the following week.

02:06:20   10                    THE COURT:      You have very able counsel

02:06:22   11     around you, don't you?

02:06:23   12                    MR. McLOUGHLIN:        I do, Your Honor.         But I'm

02:06:28   13     the lead counsel.

02:06:29   14                    THE COURT:      Right.     And I continued this

02:06:30   15     hearing due to your schedule once, didn't I?

02:06:32   16                    MR. McLOUGHLIN:        You did, Your Honor.         And I

02:06:34   17     very much appreciate the courtesy.             Thank you.

02:06:37   18                    THE COURT:      All right.      So March 11 is the

02:06:41   19     deadline for filing any motion.            March 18 is the

02:06:48   20     deadline for filing any response.             And, counsel, before

02:06:55   21     I put that fully in stone, I'm telling you that I'm

02:07:00   22     going to set this case for arraignment in front of me on

02:07:12   23     March 25.     And if the plea is not guilty, we will start

02:07:22   24     this case on April 8.         And we will have trial Monday

02:07:30   25     through Thursday of that week, Monday through Thursday




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 73 of 94
                                                                                           74


02:07:34    1     of the following week, and if necessary Monday through

02:07:38    2     Thursday, based on the estimate of the length of trial

02:07:42    3     time, which we can revisit.

02:07:45    4                    Do you have any compelling conflict the

02:07:48    5     weeks of April 8, 15, and 22?

02:07:51    6                    I do this also in light of your comments

02:07:54    7     about your client's concerns about the effect that the

02:07:58    8     jail is having on him and seek to accommodate him by

02:08:03    9     expediting the trial of this case.

02:08:11   10                    MR. McLOUGHLIN:         No, Your Honor, I do not

02:08:12   11     have conflicts.

02:08:13   12                    THE COURT:      Good.     All right.     So I'll enter

02:08:19   13     a short written order after this hearing just

02:08:22   14     memorializing this and setting a deadline also of March

02:08:39   15     27 for the filing of any instructions and voir dire.

02:08:45   16                    Now, Government, you don't have any

02:08:48   17     compelling scheduling conflict those three weeks either?

02:08:51   18                    MR. KELLHOFER: No, Your Honor.             We'll make

02:08:52   19     it happen.

02:08:52   20                    THE COURT:      I'm going to do some moving

02:08:54   21     around because I do have some court conflicts, but this

02:08:57   22     case, being the fact that it's a criminal case, will

02:08:59   23     take priority over the Court's civil matters.

02:09:02   24                    Is there anything else from the defendant?

02:09:04   25                    MR. McLOUGHLIN:         Yes, Your Honor.         I just




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 74 of 94
                                                                                        75


02:09:06    1     want to note for Your Honor's reference that the

02:09:13    2     concern -- one of the concerns here is the ability to

02:09:15    3     get documents from abroad.           And so while I appreciate

02:09:19    4     Your Honor's concern about the Speedy Trial Act and the

02:09:22    5     fact that I am not in a position at this point to waive

02:09:28    6     Mr. Teyf's rights --

02:09:29    7                    THE COURT:      That is certainly his right.

02:09:31    8     And I believe my setting reasonably anticipates the

02:09:35    9     Speedy Trial time.        If it doesn't, I'll reflect on that,

02:09:38   10     and convene you by conference call at some point.

02:09:43   11                    MR. McLOUGHLIN:        And if we have some foreign

02:09:46   12     issue with the respect to the availability of evidence,

02:09:50   13     we'll be back before Your Honor.

02:09:52   14                    THE COURT:      Certainly.      And if the other

02:09:53   15     side consents to the relief that you're requesting, you

02:09:57   16     can imagine that if I find it reasonable, I too would so

02:10:00   17     agree.    But it's certainly in everyone's best interest

02:10:03   18     to get this case to the jury as soon as possible.               And

02:10:07   19     I'm confident that you're working to accomplish that

02:10:11   20     goal and will do whatever you can do on that end as

02:10:15   21     well.

02:10:16   22                    Is there anything else if we took it up

02:10:18   23     right now might help you in your planning?

02:10:22   24                    MS. KOCHER:       Only in regard to the Marshal,

02:10:24   25     Your Honor.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 75 of 94
                                                                                           76


02:10:24    1                    THE COURT:      Marshal Petit, did you wish to

02:10:27    2     be heard?

02:10:29    3                    MARSHAL PETTIT:        Yes, Your Honor.          As far as

02:10:30    4     the Wake County issue goes, we do have a contract with

02:10:33    5     Wake County, but we keep minimal prisoners there.                   As

02:10:37    6     much as we can, we try to limit that simply because the

02:10:40    7     medical situation there is not good for us and the

02:10:43    8     transportation issues that arise out of that situation

02:10:47    9     with Wake County.

02:10:48   10                    THE COURT:      What's the medical issue

02:10:49   11     problem?

02:10:52   12                    MARSHAL PETTIT:        A lack of staff on the part

02:10:54   13     of the county and on the part of the Marshal's Service,

02:10:56   14     Your Honor.      So if someone falls ill, it is very

02:11:00   15     difficult for us to staff the hospital detail, and the

02:11:02   16     county doesn't have enough personnel to man that for us.

02:11:05   17     And the Marshal's Service obviously doesn't have enough

02:11:08   18     to put in 24 hours.

02:11:09   19                    THE COURT:      What county works around your

02:11:11   20     issues?      Because that would be an issue in every county

02:11:16   21     if you don't have enough Marshal staff.

02:11:21   22                    MARSHAL PETTIT:        We have several contracts

02:11:24   23     with different county jails where they provide that

02:11:27   24     hospital service.        Wake County has not been able to do

02:11:30   25     that for us.      My concern is putting him into Wake County




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 76 of 94
                                                                                         77


02:11:34    1     could cause a problem for us, for everyone.

02:11:37    2                    THE COURT:      Well, I'm not a doctor, but I

02:11:38    3     certainly don't see those concerns etched as much as

02:11:44    4     you've heard defense counsel say today.               So you all, I'm

02:11:50    5     sure, have people who can look at these records in this

02:11:52    6     case.     It's under seal, but I would make it available to

02:11:57    7     you if you wanted your representative to review defense

02:12:02    8     Exhibit 10.      But as I looked through it, I didn't see

02:12:06    9     anything that couldn't be addressed in the normal

02:12:09   10     course.     So I'll involve you talking to defense counsel,

02:12:16   11     and if you are able to accommodate for the reasons that

02:12:20   12     he has asked, that would be appreciated by the Court.                  I

02:12:25   13     don't anticipate seeing a need for any transfer of him

02:12:31   14     to New Bern until arraignment, unless something unusual

02:12:37   15     comes up.     So if that assists you in knowing my

02:12:41   16     thoughts, I think that's -- now, something could happen.

02:12:46   17     You have motions that you can file.             But --

02:12:51   18                    MR. McLOUGHLIN:        We're happy to work with

02:12:52   19     the Marshal's Service and the Government, Your Honor.

02:12:54   20     And we'll try to figure it out.

02:12:56   21                    THE COURT:      Well, ultimately it is up to the

02:12:59   22     Marshal's Service.        All I can do is recommend.            And I've

02:13:02   23     been heard on that, and I just appreciate anything the

02:13:05   24     service can do.       Thank you.

02:13:08   25                    MARSHAL PETTIT:        I appreciate it.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 77 of 94
                                                                                    78


02:13:10    1                    THE COURT:      Unless there's anything further,

02:13:12    2     I have another matter to take up.             Is there anything

02:13:16    3     further in this case?

02:13:17    4                    MR. KELLHOFER: Not from the Government, Your

02:13:20    5     Honor.

02:13:20    6                    THE COURT:      Thank you very much, counsel.

02:13:33    7                    Oh, counsel, your D-9 needs to be sealed at

02:13:38    8     least in part because of who is named, based on the

02:13:44    9     initials that I understand to be attributed to the

02:13:48   10     alleged victim.       I believe your D-9 reveals that

02:13:53   11     person's name; is that correct?

02:13:56   12                    MR. McLOUGHLIN:        It probably does, Your

02:13:58   13     Honor.

02:13:58   14                    THE COURT:      I am sealing D-9 and giving you

02:14:01   15     14 days to submit to the clerk a redacted copy --

02:14:08   16                    MR. McLOUGHLIN:        Certainly, Your Honor.

02:14:09   17                    THE COURT:      -- having passed it by the

02:14:11   18     Government.      And send it with a letter indicating the

02:14:14   19     Government's approval.         And then we'll make that

02:14:18   20     available in the public record.            There's no need for you

02:14:21   21     to move to seal D-10 because of the medical record

02:14:25   22     issue.

02:14:27   23                    And then the Government, you know I'm giving

02:14:29   24     you 14 days to show me good cause.

02:14:32   25                    MR. KELLHOFER: Yes, Your Honor.




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 78 of 94
                                                                                       79


02:14:32    1                    THE COURT:      Anybody have any questions about

02:14:34    2     that piece?

02:14:35    3                    MR. KELLHOFER: No, ma'am.

02:14:35    4                    THE COURT:      That will also be mentioned in

02:14:37    5     that short order that I'm going to enter.

02:14:41    6                    Thank you very much.

02:14:47    7                    (Concluded at 12:16 p.m.)

            8                                      - - -

            9

           10                            C E R T I F I C A T E

           11

           12         I certify that the foregoing is a correct transcript

           13     from the record of proceedings in the above-entitled

           14     matter.

           15

           16     /s/ Tracy L. McGurk_______                         ___1/23/2019___

           17     Tracy L. McGurk, RMR, CRR                               Date

           18

           19

           20

           21

           22

           23

           24

           25




                Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 79 of 94
                                                                               80


 1                                   I N D E X

 2

 3   Examinations                                                            Page

 4

 5    ROZA LYUBININ, DIRECT EXAMINATION                                       22

 6    BY MR. McLOUGHLIN:

 7    ROZA LYUBININ, CROSS-EXAMINATION                                        28

 8    BY MR. KELLHOFER:

 9

10                               E X H I B I T S

11   No.       Description                                                   Page

12

13            Whereupon Defendant's Exhibit 1 is admitted into                15

14            evidence

15            Whereupon Defendant's Exhibit 2 is admitted into                18

16            evidence

17            Whereupon Defendant's Exhibit 3 is admitted into                19

18            evidence

19            Whereupon Defendant's Exhibit 4 is admitted into                34

20            evidence

21            Whereupon Defendant's Exhibit 5 is admitted into                36

22            evidence

23            Whereupon Defendant's Exhibit 6 is admitted into                37

24            evidence

25            Whereupon Defendant's Exhibit 7 is admitted into                40




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 80 of 94
                                                                        81


 1      evidence

 2      Whereupon Defendant's Exhibit 9 is admitted into               41

 3      evidence

 4      Whereupon Defendant's Exhibit 10 is admitted                   44

 5      into evidence

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




     Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 81 of 94
                                                                                                                                 82


                  $                28 [1] - 80:7                    856-4500 [1] - 1:15              address [7] - 7:9, 22:17,
                                   28202-4003 [1] - 1:18                                            42:7, 43:1, 43:3, 55:9, 70:24
                                   28560 [1] - 1:20                               9                  addressed [1] - 77:9
 $110,000 [1] - 10:9                                                                                 administer [1] - 2:6
 $27,000 [1] - 10:13
                                                 3                  9 [4] - 41:18, 60:7, 72:24,
                                                                                                     admissible [1] - 59:9
                                                                                                     admission [1] - 43:13
                   '                                               81:2
                                                                                                     admitted [19] - 4:24, 15:6,
                                   3 [3] - 19:21, 68:9, 80:17       90 [1] - 18:23
                                                                                                    18:2, 19:21, 34:7, 36:5,
                                   30 [2] - 51:11, 52:23            919 [1] - 1:15
                                                                                                    37:18, 40:19, 41:18, 44:18,
 '18 [1] - 21:12                   30-day [1] - 67:23               981 [1] - 16:6                  80:13, 80:15, 80:17, 80:19,
                                   310 [1] - 1:14                   9th [1] - 68:14                 80:21, 80:23, 80:25, 81:2,
                   /               31823387 [1] - 16:3                                              81:4
                                   331-1000 [1] - 1:18                            A                  advice [3] - 5:8, 11:18, 12:4
 /s [1] - 79:16                    34 [1] - 80:19                                                    advocacy [1] - 63:4
                                   35-year-old [1] - 45:18                                           affect [2] - 53:2, 53:3
                                                                    A.G [9] - 34:22, 35:23,
                                   36 [1] - 80:21
                  1                37 [1] - 80:23
                                                                   38:14, 38:17, 43:16, 43:25,       affidavit [1] - 72:6
                                                                   46:2, 58:20                       afraid [1] - 71:16
                                   38 [1] - 15:12                                                    age [5] - 23:20, 43:21,
                                                                    A.G.'s [2] - 42:7, 42:13
 1 [3] - 15:2, 15:6, 80:13         39 [1] - 15:12                                                   45:23, 45:24, 55:1
                                                                    a.m [1] - 2:1
 1/23/2019 [1] - 79:16             392-6626 [1] - 1:21                                               Agent [14] - 6:16, 6:19,
                                                                    ability [7] - 18:7, 54:19,
 10 [5] - 44:17, 64:23, 73:5,                                                                       6:20, 6:22, 6:23, 7:3, 8:21,
                                                                   57:4, 62:15, 65:23, 65:25,
77:8, 81:4                                       4                                                  8:24, 34:18, 34:25, 49:15,
                                                                   75:2
 100 [1] - 1:17                                                                                     57:14, 58:17, 58:24
                                                                    able [6] - 21:11, 25:20,
 10:01 [1] - 2:1                                                                                     agent [11] - 6:17, 57:10,
                                   4 [2] - 34:7, 80:19             43:7, 73:10, 76:24, 77:11
 11 [3] - 72:25, 73:7, 73:18                                                                        57:11, 57:25, 58:1, 59:16,
                                   40 [4] - 43:21, 45:23, 45:24,    above-entitled [1] - 79:13
 12 [3] - 15:2, 23:15, 23:16                                                                        60:8, 60:9, 60:10, 60:13,
                                  80:25                             abroad [1] - 75:3
 12:16 [1] - 79:7                                                                                   60:15
                                   41 [1] - 81:2                    absence [1] - 34:24
 135 [1] - 16:5                                                                                      agitated [1] - 41:10
                                   413 [1] - 1:20                   absent [1] - 67:16
 14 [6] - 21:10, 37:4, 37:21,                                                                        ago [1] - 9:20
                                   419 [1] - 1:21                   Absolute [1] - 55:15
70:4, 78:15, 78:24                                                                                   agree [1] - 75:17
                                   44 [1] - 81:4                    absolutely [6] - 34:19,
 14-day [1] - 37:25                                                                                  ahead [1] - 67:10
                                   44.1 [1] - 11:11                34:20, 58:3, 60:21, 61:8,
 15 [3] - 58:16, 74:5, 80:13                                                                         ailments [1] - 45:11
                                   4700 [1] - 1:17                 67:7
 16 [1] - 15:10                                                                                      airplane [1] - 47:9
                                   4th [1] - 68:12                  abuse [1] - 43:22
 18 [5] - 41:9, 41:22, 73:1,                                                                         Albemarle [2] - 65:12,
                                                                    accept [1] - 34:5
73:19, 80:15                                                                                        65:14
                                                 5                  access [12] - 51:8, 53:8,
 19 [1] - 80:17                                                                                      alcohol [1] - 42:10
                                                                   53:18, 53:24, 55:13, 56:19,
 1960 [1] - 27:11                                                                                    Alexei [1] - 31:6
                                                                   57:9, 63:7, 63:8, 64:18, 65:8,
                                   5 [3] - 36:5, 55:18, 80:21      65:18                             alien [1] - 16:2
                  2                58-year-old [4] - 43:23,         accident [1] - 45:11             allegation [5] - 10:17,
                                  47:8, 71:10, 71:13                accommodate [2] - 74:8,         16:19, 20:20, 44:15, 61:1
 2 [2] - 18:2, 80:15               5:18-CR-452-FL-1 [1] - 1:4      77:11                             allegations [7] - 10:5, 17:8,
                                   5th [1] - 68:12                  accomplish [1] - 75:19          40:5, 42:22, 55:2, 59:19,
 20-somethings [1] - 71:15
                                                                    according [1] - 58:16           60:17
 2016 [1] - 23:8
                                                 6                  account [1] - 62:11              alleged [7] - 10:4, 10:5,
 2017 [4] - 19:12, 42:6,
                                                                    accrue [1] - 69:21              15:23, 53:25, 57:10, 61:11,
55:24
                                                                    accurate [1] - 57:17            78:10
 2018 [4] - 21:10, 35:20,          6 [3] - 37:18, 38:6, 80:23
                                                                    acquired [1] - 19:12             allegedly [3] - 54:5, 59:22,
41:10, 60:7                        6510 [1] - 55:20
                                                                    Act [3] - 35:8, 48:11, 75:4     59:23
 2019 [2] - 1:5, 72:24
                                                                    act [1] - 58:9                   Allen [3] - 1:16, 2:18, 6:8
 2023 [1] - 16:4
 21 [1] - 37:2
                                                 7                  acting [1] - 69:6                allow [3] - 39:12, 41:4,
                                                                                                    69:22
 210021799 [1] - 16:2                                               action [2] - 13:8, 56:1
                                                                                                     allows [1] - 64:5
 22 [4] - 1:5, 73:9, 74:5, 80:5    7 [2] - 40:19, 80:25             actions [1] - 57:9
                                                                                                     alone [1] - 41:7
 23 [1] - 60:7                     704 [1] - 1:18                   activities [2] - 24:20, 24:21
                                                                                                     amending [1] - 72:23
 24 [2] - 27:11, 76:18             71 [1] - 14:7                    activity [1] - 61:11
                                                                                                     Amendment [1] - 72:7
 25 [1] - 73:23                                                     add [1] - 17:10
                                                                                                     AMERICA [1] - 1:4
 25-year-old [1] - 45:17                         8                  addition [2] - 20:15, 33:25
                                                                                                     amount [1] - 53:24
 2615 [1] - 22:18                                                   additional [7] - 4:10, 33:19,
                                                                                                     anger [1] - 39:24
 27 [2] - 21:12, 74:15                                             37:9, 37:10, 44:4, 44:24,
                                   8 [3] - 37:17, 73:24, 74:5                                        announced [1] - 10:2
 27601 [1] - 1:14                                                  51:2
                                   800 [1] - 1:14                                                    annual [1] - 53:22




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 82 of 94
                                                                                                                                 83


 answer [8] - 29:8, 29:19,       27:23, 31:19, 42:20, 43:19         Barnett [1] - 48:24             73:8
30:10, 32:16, 47:24, 68:18,       arrived [1] - 41:1                based [7] - 8:15, 24:22,         businessman [1] - 43:24
69:19, 69:24                      articles [1] - 43:4              36:24, 52:13, 67:18, 74:2,        buttresses [1] - 57:14
 anticipate [2] - 69:25, 77:13    assessment [2] - 39:20,          78:8                              buy [1] - 53:23
 anticipated [1] - 52:13         45:20                              basis [3] - 16:1, 33:5, 41:12    buys [1] - 19:19
 anticipates [1] - 75:8           assets [1] - 56:11                Beckwith [1] - 22:18             BY [8] - 22:12, 24:12,
 apart [1] - 7:10                 assist [1] - 5:7                  becomes [2] - 47:15, 48:1       27:16, 28:7, 30:15, 32:18,
 apartment [2] - 21:14,           assisting [1] - 8:5               bed [4] - 20:4, 20:5, 20:6,     80:6, 80:8
56:17                             assists [1] - 77:15              20:17
 Apex [1] - 22:18                 associated [1] - 54:25            BEFORE [1] - 1:10                             C
 apologize [3] - 13:25, 29:1,     assume [1] - 36:1                 beginning [1] - 4:12
69:4                              assumed [1] - 70:11               behalf [3] - 2:15, 10:18,
                                                                                                     calm [1] - 42:9
 apparent [2] - 57:22, 66:13      assumption [1] - 19:4            33:15
                                                                                                     cannot [3] - 43:25, 47:2,
 appear [1] - 61:20               assurance [4] - 35:11,            behavior [1] - 24:5
                                                                                                    71:16
 appearance [16] - 4:9, 5:2,     35:15, 61:17, 61:20                Belarus [11] - 15:14, 16:10,
                                                                                                     capabilities [1] - 63:24
5:22, 6:9, 6:10, 11:19, 11:23,    assure [4] - 50:14, 54:9,        17:10, 17:12, 17:14, 17:15,
                                                                                                     capability [1] - 56:23
12:5, 12:9, 12:11, 12:16,        54:20, 62:24                      17:16, 17:18, 17:21, 23:4,
12:21, 12:22, 12:25, 51:22,                                        56:25                             Capital [1] - 33:21
                                  assuredly [1] - 42:24
51:25                                                               believes [3] - 37:22, 56:22,     car [1] - 27:2
                                  attached [1] - 44:8
 Appearance [2] - 11:11,                                           71:1                              card [8] - 16:2, 16:3, 16:25,
                                  attack [1] - 45:19
11:13                                                               Bell [10] - 6:16, 6:17, 6:19,   17:1, 17:4, 17:6, 17:7, 27:20
                                  attempt [1] - 64:17
 APPEARANCES [1] - 1:11                                            6:21, 6:22, 6:23, 7:3, 8:21,      care [2] - 19:4, 59:1
                                  attempted [2] - 43:18, 54:6
 appeared [1] - 42:9                                               8:24, 9:8                         carefully [1] - 70:6
                                  attending [1] - 33:3
 appearing [1] - 12:25                                              benefits [1] - 69:20             caring [1] - 24:7
                                  attention [3] - 52:12, 63:9,
 application [2] - 10:6,                                            Bern [4] - 1:5, 1:14, 1:20,      CAROLINA [1] - 1:1
                                 67:17
10:10                                                              77:14                             Carolina [1] - 1:5
                                  attentive [1] - 24:7
 appreciate [6] - 37:8, 71:5,                                       best [8] - 4:12, 43:14,          cars [2] - 41:25, 56:8
                                  attorney [8] - 6:20, 8:7, 8:9,
73:17, 75:3, 77:23, 77:25                                          43:23, 50:8, 59:11, 61:12,        Case [1] - 11:11
                                 9:1, 9:9, 10:3, 28:13, 51:23
 appreciated [1] - 77:12                                           72:15, 75:17                      case [42] - 5:2, 6:5, 8:8,
                                  Attorney [1] - 11:14
 approach [3] - 9:8, 14:24,                                         better [1] - 21:4               11:12, 31:3, 31:9, 32:13,
                                  attorney-client [1] - 8:9
33:18                                                               between [9] - 7:23, 8:23,       34:14, 35:5, 35:6, 40:7,
                                  attorneys [3] - 6:7, 52:4,
 approached [2] - 6:17, 8:21                                       16:22, 38:23, 40:25, 45:23,      43:13, 48:25, 50:7, 51:15,
                                 52:8
 appropriate [6] - 3:18,                                           62:16, 68:25, 69:15              54:13, 55:2, 55:5, 58:4, 58:5,
                                  Attorneys' [1] - 1:12
12:14, 37:6, 37:24, 66:5,                                           beyond [1] - 37:25              58:8, 58:22, 59:15, 59:18,
                                  attributed [2] - 38:9, 78:9
69:6                                                                Bible [1] - 22:3                62:13, 62:21, 64:16, 66:7,
                                  audio [1] - 66:14
                                                                    big [3] - 18:6, 27:6, 62:10     66:13, 67:1, 67:11, 70:1,
 approval [1] - 78:19             AUSA [1] - 51:11
                                                                                                    70:4, 73:22, 73:24, 74:9,
 approve [2] - 9:5, 9:6           authority [1] - 54:4              birth [1] - 27:10
                                                                                                    74:22, 75:18, 77:6, 78:3
 approved [1] - 9:4               availability [1] - 75:12          bit [3] - 34:10, 34:11, 55:8
                                                                                                     cases [14] - 35:11, 48:5,
 April [6] - 27:11, 64:23,        available [10] - 10:22, 11:1,     blame [1] - 58:25
                                                                                                    48:6, 48:7, 48:10, 48:13,
67:18, 73:5, 73:24, 74:5         12:14, 13:25, 14:2, 25:16,         bone [1] - 45:12
                                                                                                    49:6, 49:8, 49:9, 49:11,
 arduous [1] - 45:18             63:18, 63:22, 77:6, 78:20          borders [2] - 53:18, 62:17
                                                                                                    49:13, 59:10
 area [2] - 22:20, 23:14          Avenue [2] - 1:14, 53:23          born [3] - 17:15, 17:16,
                                                                                                     categories [1] - 48:23
 areas [1] - 52:2                 avenues [2] - 57:1, 58:11        23:4
                                                                                                     causes [2] - 7:17, 42:4
 argue [4] - 9:10, 12:9,          avoid [1] - 55:4                  bought [4] - 18:17, 18:19,
                                                                                                     cell [2] - 34:4, 69:3
14:19, 38:25                      await [1] - 49:18                18:22
                                                                                                     cellular [1] - 64:25
 argued [6] - 15:16, 16:20,       awaiting [1] - 63:9               break [1] - 49:20
                                                                                                     certain [6] - 10:5, 45:13,
17:17, 18:9, 18:18, 18:25         aware [5] - 4:12, 27:7,           bribe [1] - 54:6
                                                                                                    66:24, 67:16, 69:22, 70:18
 argues [2] - 15:10, 19:6        28:10, 66:25, 69:5                 bribery [2] - 60:5, 60:14
                                                                                                     certainly [14] - 27:15, 52:1,
 argument [6] - 3:4, 17:23,                                         brief [12] - 15:10, 17:9,
                                                                                                    52:3, 54:25, 55:1, 57:24,
19:13, 35:6, 35:20, 53:3                                           17:17, 18:17, 24:4, 34:14,
                                                B                                                   62:18, 67:22, 69:24, 75:7,
 arguments [3] - 21:3,                                             35:4, 38:20, 38:22, 40:8,
                                                                                                    75:14, 75:17, 77:3, 78:16
47:11, 60:19                                                       53:7, 53:11
                                  bad [4] - 42:14, 42:16, 49:3,                                      certainty [2] - 35:13, 48:4
 arise [1] - 76:8                                                   briefly [1] - 23:13
                                 59:22                                                               certify [1] - 79:12
 arraigned [1] - 67:18                                              bring [2] - 11:16, 63:9
                                  bail [1] - 43:16                                                   challenge [1] - 59:19
 arraignment [9] - 67:21,                                           bringing [1] - 69:3
                                  Bail [2] - 35:8, 48:11                                             chance [1] - 37:2
70:2, 70:3, 70:11, 70:17,                                           brought [2] - 51:2, 67:16
                                  band [1] - 65:16                                                   changing [1] - 72:22
70:23, 73:22, 77:14                                                 built [1] - 46:7
                                  bank [1] - 62:10                                                   character [1] - 35:17
 arrangement [1] - 20:8                                             burden [3] - 3:6, 3:13,
                                  bar [2] - 5:6, 12:15                                               characterization [1] - 4:17
 arrest [1] - 46:10                                                18:11
                                  Barbara [1] - 1:13                                                 characterized [2] - 6:5,
 arrested [6] - 6:7, 24:9,                                          business [3] - 2:5, 32:3,




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 83 of 94
                                                                                                                               84


49:10                              co-defendants [2] - 66:22,       conduct [3] - 19:20, 33:24,    32:10, 32:13, 32:20, 78:11,
 charged [10] - 29:9, 29:14,      68:1                             55:13                           79:12
29:22, 31:2, 31:8, 31:17,          cold [1] - 9:24                  conference [4] - 70:15,         Cotter [4] - 30:25, 31:2,
48:25, 49:3, 56:13, 62:8           colorful [1] - 39:23            70:16, 70:22, 75:10             60:12, 67:24
 charges [14] - 6:6, 27:7,         column [3] - 15:20, 15:25,       conferencing [1] - 65:21        Counsel [1] - 11:11
28:10, 28:11, 28:14, 28:17,       51:12                             confident [1] - 75:19           counsel [30] - 3:10, 7:1,
29:6, 30:17, 34:18, 34:20,         comforted [1] - 54:17            confidential [10] - 8:2,       7:4, 7:5, 8:18, 8:25, 11:12,
34:25, 48:21, 56:14, 58:13         Commenced [1] - 2:1             21:13, 35:21, 38:23, 39:2,      11:14, 11:18, 11:22, 12:3,
 Charlotte [6] - 1:18, 5:12,       comment [3] - 9:18, 58:21,      39:6, 40:8, 40:10, 40:12,       12:12, 28:13, 50:21, 51:14,
5:14, 5:25, 6:15, 50:3            60:5                             46:20                           52:25, 55:6, 65:20, 69:1,
 chicken [1] - 59:25               commentary [1] - 20:23           confidentiality [1] - 36:1     69:16, 72:2, 73:10, 73:13,
 child [1] - 69:13                 comments [3] - 60:3,             confinement [1] - 71:12        73:20, 77:4, 77:10, 78:6,
 children [7] - 20:10, 21:11,     60:11, 74:6                       confirm [1] - 33:22            78:7
21:14, 23:17, 23:25, 46:5,         commit [4] - 34:16, 43:17,       conflict [2] - 74:4, 74:17      countries [2] - 15:13, 15:18
46:8                              49:9, 57:8                        conflicts [2] - 74:11, 74:21    country [7] - 27:18, 54:1,
 choking [1] - 43:19               common [2] - 20:23, 44:3         connection [5] - 8:19, 9:3,    54:5, 57:16, 58:15, 62:15,
 chronic [1] - 45:9                communicate [4] - 12:10,        59:9, 59:17, 61:9               73:8
 CHS [1] - 58:5                   65:5, 71:16, 71:19                connects [1] - 61:10            counts [1] - 8:4
 CHS's [2] - 58:3, 58:9            communications [2] - 8:23,       consents [1] - 75:15            County [20] - 22:20, 63:18,
 circle [1] - 31:18               8:25                              consequences [1] - 46:3        63:19, 63:21, 63:25, 64:6,
 Circuit [2] - 61:19, 72:14        community [10] - 24:23,          consider [1] - 40:18           64:17, 65:15, 65:19, 66:23,
 circumstance [4] - 19:15,        25:7, 25:8, 25:9, 33:2, 34:23,    consideration [2] - 62:18,     67:2, 69:9, 71:12, 71:20,
41:9, 43:18, 63:24                39:11, 45:17, 46:24, 48:15       63:12                           76:4, 76:5, 76:9, 76:24,
 circumstances [6] - 21:2,         company [4] - 10:20, 61:6,       considered [2] - 6:19,         76:25
48:14, 53:20, 54:14, 64:16,       62:4                             54:13                            county [6] - 71:14, 76:13,
67:16                              compel [1] - 62:21               conspiracy [3] - 49:2, 49:3,   76:16, 76:19, 76:20, 76:23
 citation [1] - 43:12              compelling [3] - 43:4, 74:4,    49:8                             couple [5] - 8:13, 59:7,
 cite [3] - 17:11, 43:11,         74:17                             conspirator [1] - 31:3         63:1, 70:17, 71:8
43:16                              compels [1] - 51:23              Constitution [1] - 9:10         course [11] - 24:1, 24:3,
 cited [3] - 35:12, 48:4,          complaint [2] - 41:1, 67:22      constitutional [1] - 49:6      25:1, 25:10, 25:23, 26:13,
49:14                              complete [1] - 34:24             constitutionally [1] - 35:1    33:24, 39:20, 47:24, 59:15,
 citizen [4] - 17:2, 17:16,        completed [1] - 25:17            consult [1] - 52:1             77:10
27:17, 62:14                       completely [2] - 7:5, 7:10       contact [5] - 7:22, 8:10,       COURT [123] - 1:1, 2:2, 2:5,
 citizenship [14] - 15:14,         complied [1] - 30:9             27:25, 42:25, 52:8              2:11, 2:15, 2:23, 3:9, 3:21,
15:18, 15:23, 16:13, 16:20,        computer [5] - 65:9, 65:10,                                     4:4, 4:18, 4:22, 4:24, 5:1,
                                                                    contacted [1] - 6:25
16:23, 16:24, 17:8, 17:13,        65:15, 67:3                                                      5:4, 5:10, 5:13, 5:16, 5:18,
                                                                    contacts [1] - 46:24
17:19, 51:13, 53:9, 53:12                                                                          5:21, 5:24, 7:11, 7:19, 8:12,
                                   concern [12] - 3:21, 5:25,       continuance [1] - 67:23
 citizenships [2] - 47:12,                                                                         11:10, 11:25, 12:20, 13:3,
                                  7:2, 7:15, 7:17, 8:8, 54:7,       continue [4] - 4:6, 7:18,
53:8                                                                                               13:16, 13:21, 14:2, 14:4,
                                  58:7, 60:20, 75:2, 75:4,         8:7, 20:8
 civil [1] - 74:23                                                                                 14:8, 14:12, 14:17, 14:21,
                                  76:25                             continued [1] - 73:14
 claim [7] - 10:13, 10:24,                                                                         14:25, 15:4, 19:23, 21:23,
                                   concerned [1] - 54:16            continues [2] - 60:2, 69:15
16:12, 16:21, 17:8, 17:12,                                                                         24:11, 27:15, 28:3, 28:24,
                                   concerning [2] - 52:16,          continuing [1] - 8:10
56:10                                                                                              29:8, 29:19, 30:10, 32:15,
                                  63:7                              contract [2] - 64:5, 76:4
 claimed [1] - 51:14                                                                               33:12, 33:14, 36:7, 36:11,
                                   concerns [7] - 3:18, 3:23,       contracted [1] - 54:18
 claiming [1] - 16:24                                                                              36:14, 36:17, 36:24, 37:10,
                                  4:10, 8:1, 74:7, 75:2, 77:3       contracts [1] - 76:22          37:12, 37:20, 38:6, 44:19,
 clamor [2] - 34:13, 35:4          concert [2] - 39:4, 39:8         controls [2] - 39:11, 47:7     45:1, 45:5, 45:7, 49:21,
 clarify [1] - 22:15               Concluded [1] - 79:7             convene [1] - 75:10            49:25, 50:6, 51:6, 51:16,
 clear [3] - 44:1, 48:12,          conclusion [3] - 29:17,          conversation [1] - 37:16       52:19, 53:2, 53:13, 55:17,
48:13                             30:7, 62:21                       conversations [1] - 58:4       59:5, 62:14, 63:3, 64:2, 64:4,
 clearly [1] - 62:13               condition [2] - 43:15, 54:23     conveyed [1] - 10:7            64:9, 64:12, 64:15, 64:21,
 clerk [6] - 2:6, 2:10, 11:13,     conditions [15] - 13:6, 30:8,    conveying [1] - 55:21          65:9, 65:18, 65:22, 66:3,
22:7, 70:3, 78:15                 34:1, 34:5, 34:21, 35:9,          convicted [1] - 27:5           66:7, 66:11, 66:16, 67:1,
 CLERK [4] - 2:7, 21:24,          35:14, 40:2, 46:10, 48:3,         convincing [1] - 44:2          67:5, 67:8, 67:14, 67:25,
22:2, 22:8                        50:14, 54:9, 54:20, 61:16,        cooperation [1] - 61:4         68:5, 68:9, 68:13, 68:19,
 client [6] - 8:9, 52:9, 54:24,   62:24                             cooperative [1] - 69:17        68:22, 69:2, 69:11, 69:20,
62:14, 68:15, 72:19                condo [8] - 18:1, 18:17,         copies [1] - 15:5              71:5, 72:10, 72:13, 72:20,
 client's [2] - 65:23, 74:7       19:7, 19:19, 20:5, 20:6,          copy [5] - 11:15, 35:24,       73:5, 73:10, 73:14, 73:18,
 close [2] - 14:16, 65:6          20:12, 21:12                     40:4, 40:15, 78:15              74:12, 74:20, 75:7, 75:14,
 co [3] - 31:3, 66:22, 68:1        condominium [4] - 18:21,         correct [7] - 30:22, 31:23,    76:1, 76:10, 76:19, 77:2,
 co-conspirator [1] - 31:3        18:22, 19:24, 53:23




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 84 of 94
                                                                                                                                  85


77:21, 78:1, 78:6, 78:14,          44:13, 45:16, 47:16, 48:10,       demonstrated [4] - 15:19,       16:23
78:17, 79:1, 79:4                  48:15, 57:8, 60:1                53:17, 54:4, 62:15                documentary [1] - 61:3
  Court [36] - 1:19, 9:24,          dangerous [1] - 71:18            deported [3] - 38:14, 38:17,     documents [8] - 16:1, 16:7,
12:10, 13:5, 14:14, 17:17,          dangerousness [1] - 39:21       57:22                            16:11, 17:11, 17:19, 51:13,
22:16, 34:2, 34:6, 34:21,           Date [1] - 79:17                 described [1] - 57:10           65:24, 75:3
35:10, 35:15, 37:25, 40:1,          date [4] - 10:11, 27:10,         Description [1] - 80:11          DOJ [2] - 8:25, 9:9
42:25, 45:2, 47:24, 48:8,          69:22, 70:18                      description [1] - 24:4           dollar [2] - 61:10, 61:11
50:13, 52:11, 52:15, 54:8,          dates [1] - 62:25                desire [1] - 57:4                domestic [6] - 40:6, 40:9,
54:15, 59:10, 63:5, 63:10,          daughter [10] - 20:11,           detail [2] - 8:1, 76:15         40:24, 42:22, 43:22, 56:9
64:13, 69:3, 69:9, 70:8,           23:15, 23:16, 23:20, 23:22,       detention [3] - 11:7, 52:11,     done [4] - 51:14, 51:25,
70:20, 70:25, 72:4, 72:8,          23:25, 24:10, 24:19, 42:17       59:9                             56:1, 71:23
72:19, 77:12                        days [5] - 37:4, 37:21,          determinative [1] - 62:18        door [5] - 42:8, 42:13,
  court [8] - 10:3, 10:7,          70:17, 78:15, 78:24               determined [1] - 55:4           42:19, 54:18, 59:3
11:16, 27:14, 47:23, 62:25,         DE [1] - 14:6                    device [2] - 34:3, 63:14         down [10] - 16:18, 33:14,
64:25, 74:21                        de [4] - 3:4, 13:9, 13:20,       devoted [1] - 46:5              42:9, 43:6, 49:17, 51:16,
  Court's [6] - 11:7, 37:20,       13:22                             DHS [5] - 60:8, 60:9, 60:10,    55:2, 55:4, 56:20
40:1, 54:24, 72:23, 74:23           deadline [5] - 72:22, 73:4,     60:13, 60:15                      draft [1] - 36:19
  courtesy [1] - 73:17             73:19, 73:20, 74:14               diabetes [1] - 45:8              Draga [1] - 2:8
  courtroom [2] - 26:4, 51:21       deal [5] - 12:12, 18:6,          diabetic [1] - 71:18             dramatic [1] - 45:22
  create [4] - 18:8, 19:2, 20:2,   34:13, 71:3, 72:2                 difference [2] - 16:22,          drinking [2] - 21:1, 21:3
61:17                               dealing [1] - 70:22             45:22                             drinks [3] - 41:23, 42:3,
  crime [1] - 27:5                  December [1] - 58:16             different [8] - 15:13, 47:12,   56:5
  crimes [1] - 48:20                decide [2] - 13:16, 52:7        49:15, 50:25, 52:24, 53:5,        drive [1] - 39:16
  Criminal [1] - 11:11              decided [2] - 21:3, 52:16       53:6, 76:23                       driver's [1] - 26:25
  criminal [6] - 11:12, 12:3,       decision [3] - 11:7, 13:19,      difficult [6] - 46:9, 50:3,      driving [1] - 39:14
46:3, 46:23, 57:9, 74:22           63:4                             54:8, 63:17, 64:1, 76:15          dropped [1] - 36:11
  cross [3] - 3:7, 29:18, 53:18     decree [1] - 19:11               digits [1] - 16:5                drug [2] - 48:21, 49:11
  CROSS [2] - 28:6, 80:7            deed [3] - 17:25, 18:24,         dint [1] - 16:21                 due [2] - 36:1, 73:15
  CROSS-EXAMINATION [2]            55:21                             dire [1] - 74:15                 during [1] - 6:5
- 28:6, 80:7                        Defendant [4] - 1:8, 1:16,       DIRECT [2] - 22:11, 80:5
  cross-examination [1] -          69:1, 69:16                       direction [1] - 15:22                          E
29:18                               defendant [22] - 2:15, 3:13,     directly [3] - 35:8, 53:7,
  cross-examine [1] - 3:7          6:4, 6:12, 6:19, 6:20, 8:11,     53:21
  CRR [2] - 1:19, 79:17            9:1, 9:9, 11:12, 14:10, 33:16,                                     ease [1] - 49:22
                                                                     disagree [1] - 53:4
  crying [1] - 42:11               50:10, 55:7, 55:9, 62:25,                                          easier [1] - 63:21
                                                                     disclose [2] - 8:23, 18:16
  curricular [1] - 24:21           69:8, 69:21, 70:8, 70:12,                                          easily [1] - 46:11
                                                                     disclosing [1] - 18:21
  custodial [1] - 33:19            74:24                                                              EASTERN [1] - 1:1
                                                                     discovery [2] - 10:14, 61:3
  custodian [6] - 14:15,            defendant's [3] - 3:12,                                           easy [1] - 20:17
                                                                     discuss [1] - 70:20
21:19, 25:12, 25:21, 29:14,        50:12, 52:4                                                        Edgecombe [3] - 63:21,
                                                                     discussed [1] - 15:11
62:1                                Defendant's [18] - 15:6,                                         65:15, 65:19
                                                                     discussion [6] - 11:8,
  custodians [1] - 25:17           18:2, 19:21, 34:7, 36:5,                                           effect [1] - 74:7
                                                                    38:13, 38:23, 58:19, 68:25,
  cut [1] - 42:11                  37:18, 40:19, 41:18, 44:17,                                        effectively [1] - 62:16
                                                                    72:12
                                   80:13, 80:15, 80:17, 80:19,                                        efficiently [1] - 62:16
                                                                     Discussion [1] - 69:15
               D                   80:21, 80:23, 80:25, 81:2,                                         effort [1] - 58:10
                                                                     discussions [1] - 38:16
                                   81:4                                                               egg [1] - 59:25
                                                                     dispute [1] - 48:21
                                    defendants [4] - 66:22,                                           eight [1] - 20:10
 D-1 [2] - 15:19, 15:20                                              disrespect [1] - 60:20
                                   67:2, 67:15, 68:1                                                  Eischeid [1] - 48:24
 D-10 [3] - 44:20, 44:22,                                            district [1] - 25:16
                                    Defense [1] - 15:2                                                either [4] - 5:4, 10:18, 38:2,
78:21                                                                DISTRICT [3] - 1:1, 1:1,
                                    defense [19] - 3:15, 3:20,                                       74:17
 D-3 [3] - 19:10, 55:15                                             1:10
                                   6:13, 6:14, 7:1, 7:3, 28:13,                                       electronic [2] - 26:20,
 D-4 [1] - 33:18                                                     DIVISION [1] - 1:2
                                   33:19, 51:13, 52:24, 55:14,                                       62:20
 D-5 [4] - 35:24, 36:15,                                             Divorce [1] - 55:15
                                   57:6, 58:5, 68:8, 69:1, 69:16,                                     email [1] - 7:8
36:25, 38:1                                                          divorce [6] - 19:9, 19:10,
                                   77:4, 77:7, 77:10                                                  embassy [3] - 47:3, 47:5,
 D-6 [5] - 37:15, 37:21, 38:1,                                      19:11, 19:16, 19:18, 41:3
                                    defense's [1] - 14:23                                            47:6
38:5, 38:11                                                          docket [1] - 14:4
                                    defied [1] - 54:24                                                employed [1] - 15:24
 D-7 [4] - 40:4, 55:14, 55:24                                        Docket [1] - 1:4
                                    defined [1] - 70:1                                                employer [1] - 10:9
 D-9 [4] - 41:15, 78:7, 78:10,                                       doctor [1] - 77:2
                                    definitely [1] - 58:21                                            employing [1] - 10:20
78:14                                                                document [10] - 15:9,
                                    demonstrably [1] - 15:18                                          encounter [1] - 46:18
 danger [13] - 21:17, 34:11,                                        15:21, 15:25, 16:8, 16:9,
                                    demonstrate [2] - 20:7,                                           encounters [1] - 46:19
34:23, 35:16, 39:10, 39:22,                                         16:10, 16:11, 16:14, 16:21,
                                   46:17                                                              end [4] - 38:11, 56:21, 57:5,




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 85 of 94
                                                                                                                                     86


75:20                              example [6] - 38:21, 45:21,       families [1] - 24:24               forgot [1] - 30:13
 ending [1] - 16:6                53:22, 63:14, 70:10, 71:20         family [6] - 23:18, 24:23,         form [3] - 32:5, 51:24,
 enforced [1] - 46:11              exclusively [1] - 34:17          25:3, 25:5, 28:19, 29:11           52:14
 engage [2] - 46:9, 70:15          excuse [1] - 21:21                far [7] - 10:7, 15:25, 54:23,      formerly [1] - 15:1
 engaged [1] - 44:15               execute [1] - 55:21              61:2, 76:3                          forth [4] - 21:19, 25:4,
 engages [1] - 46:1                exercises [1] - 45:13             fashion [5] - 13:5, 50:13,        25:21, 56:16
 English [2] - 44:24, 71:14        exhibit [6] - 14:23, 16:1,       54:8, 54:19, 62:23                  forward [5] - 14:21, 21:24,
 enhances [1] - 54:19             16:11, 41:14, 50:23, 53:14         father [6] - 21:7, 24:5, 24:6,    37:12, 59:20, 69:22
 enter [6] - 6:10, 16:20,          Exhibit [28] - 15:2, 15:6,       29:3, 42:2, 46:6                    four [6] - 5:24, 8:16, 9:17,
16:24, 52:13, 74:12, 79:5         15:19, 15:20, 18:2, 19:10,         FBI's [1] - 36:22                 40:9, 40:10, 43:4
 entered [5] - 4:8, 6:9, 32:2,    19:21, 33:18, 34:7, 35:24,         February [7] - 19:12, 35:20,       Fourth [2] - 61:19, 72:14
72:23                             36:5, 37:18, 40:3, 40:19,         37:17, 38:15, 46:18, 55:24,         frank [1] - 70:25
 entering [2] - 17:2, 17:5        41:14, 41:18, 44:17, 77:8,        73:9                                frankly [1] - 44:12
 entertaining [1] - 25:6          80:13, 80:15, 80:17, 80:19,        Federal [1] - 59:14                fraud [5] - 10:4, 10:6,
 entirety [1] - 36:15             80:21, 80:23, 80:25, 81:2,         feeble [1] - 57:6                 10:13, 10:17, 10:25
 entitled [3] - 3:3, 49:7,        81:4                               few [2] - 3:22, 48:19              fraudulently [1] - 8:6
79:13                              exhibits [3] - 14:14, 14:20,      Fifth [1] - 72:7                   free [1] - 22:14
 entry [1] - 17:4                 55:14                              figure [3] - 65:7, 66:24,          Freudian [1] - 50:21
 erred [1] - 48:5                  expediting [1] - 74:9            77:20                               friend [5] - 4:16, 6:3, 28:21,
 errors [1] - 34:15                experience [1] - 24:22            file [11] - 10:16, 11:3, 11:13,   28:22, 29:4
 escape [1] - 45:19                expertise [1] - 52:2             11:18, 12:4, 12:25, 16:15,          friends [7] - 23:21, 25:10,
 especially [1] - 58:18            expiration [1] - 37:5            37:6, 52:17, 70:10, 77:17          30:21, 30:24, 31:5, 31:11,
 establish [3] - 13:15, 44:6,      expire [1] - 16:4                 filed [6] - 5:1, 5:21, 8:3,       31:19
62:9                               expired [1] - 16:5               19:11, 64:23, 72:25                 front [5] - 13:4, 42:19, 52:6,
 establishes [1] - 40:23           explain [4] - 3:25, 7:15,         filing [3] - 73:19, 73:20,        73:22
 estate [1] - 18:8                7:25, 44:19                       74:15                               fulfill [1] - 25:20
 estimate [1] - 74:2               explained [1] - 51:23             financial [3] - 32:12, 46:7,       fully [4] - 4:12, 37:2, 50:11,
 etched [1] - 77:3                 explains [1] - 21:13             56:1                               73:21
 evaluate [2] - 59:11, 59:12       explicitly [1] - 51:12            finish [1] - 28:24                 fundamental [1] - 35:1
 event [1] - 7:2                   extends [1] - 37:21               firearm [1] - 30:1                 funds [6] - 55:13, 56:2,
 events [1] - 33:2                 extra [2] - 24:20, 33:23          firearms [1] - 26:14              56:19, 57:17, 59:2, 60:4
 everyday [1] - 33:5                                                 firm [3] - 6:8, 33:20, 54:17       furnish [2] - 20:12, 20:17
 evidence [53] - 3:5, 3:14,                      F                   first [17] - 2:5, 3:7, 8:14,       furnished [1] - 20:15
10:17, 13:15, 13:17, 14:9,                                          9:22, 13:13, 14:23, 16:22,          furnishing [1] - 19:23
15:7, 18:3, 18:12, 18:13,                                           20:1, 20:3, 23:7, 36:18, 38:8,      future [3] - 9:7, 52:14,
                                   face [2] - 17:1, 53:21           44:14, 46:23, 59:21, 60:20
19:22, 20:7, 20:22, 20:25,                                                                             62:25
                                   faces [1] - 54:12                 firsthand [1] - 34:19
33:15, 34:8, 34:12, 34:17,
                                   facilitate [2] - 2:16, 63:10
34:20, 34:24, 35:2, 35:18,
                                   facilitated [1] - 30:1
                                                                     fit [1] - 48:22                                  G
36:6, 37:19, 40:20, 41:19,                                           five [6] - 15:12, 15:13,
                                   facilities [2] - 63:20, 64:18    15:18, 51:8, 53:8, 67:10
43:3, 43:6, 44:2, 44:3, 44:5,
                                   facing [1] - 58:12                five-week [1] - 67:10              gallery [2] - 12:24, 52:10
44:18, 46:15, 46:22, 54:12,
                                   fact [20] - 7:7, 16:10, 16:25,    FLANAGAN [1] - 1:10                gang [1] - 49:10
54:15, 59:11, 59:12, 59:13,
59:16, 60:21, 61:3, 61:9,         18:6, 19:2, 20:24, 33:25,          fled [1] - 54:25                   gastritis [1] - 45:9
75:12, 80:14, 80:16, 80:18,       38:18, 43:13, 48:16, 51:6,         flight [10] - 15:16, 17:18,        gatherings [1] - 24:24
80:20, 80:22, 80:24, 81:1,        53:24, 54:23, 60:9, 60:22,        19:20, 21:17, 45:16, 53:15,         gender [1] - 43:9
81:3, 81:5                        62:7, 62:12, 62:20, 74:22,        56:15, 58:12, 62:10, 72:8           general [1] - 55:21
                                  75:5                                                                  generally [1] - 49:10
 Evidence [1] - 59:14                                                fly [1] - 53:20
                                   factor [1] - 62:19                                                   generate [1] - 19:3
 evidenced [1] - 53:16                                               focus [2] - 13:3, 52:12
                                   factoring [1] - 54:7                                                 generates [1] - 19:3
 evidentiary [2] - 3:15, 13:14                                       focused [4] - 52:20, 53:15,
                                   factors [1] - 54:13              53:23, 55:7                         gentlemen [3] - 11:17,
 exacerbated [1] - 44:12
                                   facts [3] - 34:12, 57:12,         folks [1] - 44:9                  12:2, 12:22
 exacerbates [1] - 4:10
                                  61:21                                                                 girlfriend [1] - 43:20
 exact [1] - 50:19                                                   following [3] - 15:9, 73:9,
                                   factual [1] - 12:13              74:1                                given [1] - 47:13
 exactly [4] - 3:1, 11:5, 19:8,
                                   failure [3] - 18:14, 35:1,        food [1] - 71:17                   Glenwood [1] - 53:23
63:13
                                  73:3                                                                  goal [1] - 75:20
 exaggerating [1] - 38:19                                            foot [1] - 58:15
                                   fairly [1] - 48:17                                                   government [4] - 10:22,
 examination [1] - 29:18                                             foregoing [1] - 79:12
                                   falls [3] - 4:9, 29:2, 76:14                                        39:15, 61:5, 62:12
 EXAMINATION [4] - 22:11,                                            foreign [4] - 17:3, 17:5,
                                   false [6] - 15:19, 16:21,        66:15, 75:11                        Government [75] - 2:12,
28:6, 80:5, 80:7
                                  47:14, 53:10, 53:12                                                  3:5, 3:7, 3:10, 4:11, 6:13,
 Examinations [1] - 80:3                                             forgetting [1] - 9:2
                                   familiar [1] - 26:8                                                 7:5, 8:14, 8:17, 9:5, 9:12,
 examine [2] - 3:7, 21:20                                            forgive [1] - 73:2




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 86 of 94
                                                                                                                                87


9:23, 10:5, 10:10, 15:9,          hard [3] - 24:16, 66:16,         47:4, 47:16, 49:13, 49:17,       61:1
16:12, 16:19, 16:22, 17:17,      68:11                             49:18, 50:5, 50:9, 50:17,         impose [6] - 34:2, 34:6,
17:23, 18:5, 18:9, 18:15,         harm [1] - 13:7                  50:24, 51:2, 51:10, 52:18,       34:21, 35:10, 39:11, 46:1
18:25, 19:6, 19:8, 20:19,         harms [1] - 50:15                53:1, 53:4, 55:11, 55:12,         imposed [1] - 40:2
34:13, 34:15, 34:16, 34:24,       health [3] - 47:8, 54:24,        55:16, 55:23, 56:16, 56:18,       imprisoned [1] - 69:12
35:2, 35:4, 35:12, 35:16,        71:8                              57:1, 57:12, 57:21, 58:15,        improper [2] - 19:20, 30:7
35:19, 36:1, 36:7, 37:1,          hear [4] - 12:21, 20:14,         59:4, 59:7, 59:25, 61:16,         improperly [1] - 20:21
37:22, 38:19, 38:22, 40:11,      28:20, 55:8                       62:3, 62:6, 63:2, 63:17, 64:7,    inability [1] - 71:19
40:12, 40:14, 40:22, 41:16,       heard [9] - 36:8, 46:5,          64:14, 64:20, 65:4, 66:2,         incarceration [1] - 44:13
43:3, 43:7, 46:25, 47:11,        50:10, 50:16, 59:6, 69:7,         66:6, 66:10, 66:12, 66:18,        incentive [1] - 58:14
48:8, 50:11, 50:16, 51:1,        76:2, 77:4, 77:23                 66:19, 67:4, 67:13, 67:20,        incident [3] - 40:24, 41:17,
54:6, 55:3, 56:13, 56:22,         Hearing [1] - 1:6                67:23, 68:3, 68:4, 68:18,        41:22
59:16, 59:21, 59:24, 60:1,        hearing [20] - 3:4, 3:15,        68:21, 68:24, 69:4, 69:14,        include [2] - 30:25, 31:5
60:23, 60:24, 61:7, 61:8,        6:16, 11:4, 13:10, 13:14,         69:17, 70:20, 71:7, 71:9,         included [1] - 56:25
61:25, 70:21, 72:18, 74:16,      13:22, 15:3, 17:9, 18:18,         73:2, 73:7, 73:12, 73:16,         includes [1] - 15:20
77:19, 78:4, 78:18, 78:23        40:22, 50:20, 51:21, 52:3,        74:10, 74:18, 74:25, 75:13,       including [5] - 10:15,
 Government's [14] - 10:24,      52:11, 52:19, 59:9, 60:7,         75:25, 76:3, 76:14, 77:19,       23:25, 35:12, 45:11, 70:22
15:1, 19:13, 34:11, 38:20,       73:15, 74:13                      78:5, 78:13, 78:16, 78:25
                                                                                                     incorrect [2] - 17:9, 47:13
38:22, 40:5, 40:7, 43:12,         HEARING [1] - 1:9                 Honor's [6] - 3:8, 60:4,
                                                                                                     incriminating [1] - 27:24
46:15, 53:10, 56:2, 60:19,        hearsay [1] - 59:8               60:19, 62:7, 75:1, 75:4
                                                                                                     independent [4] - 7:8, 7:9
78:19                             heartbeat [1] - 45:9              HONORABLE [1] - 1:10
                                                                                                     indicate [7] - 6:11, 6:13,
 GPS [3] - 34:3, 47:6, 61:24      held [4] - 36:2, 37:16,           hospital [2] - 76:15, 76:24
                                                                                                    10:11, 42:23, 44:10, 46:19,
 grandchildren [1] - 23:19       62:12, 64:2                        hours [2] - 61:25, 76:18        50:1
 grandkids [3] - 23:18,           help [3] - 41:7, 72:20, 75:23     house [22] - 17:24, 18:1,        indicated [1] - 6:21
23:21, 32:24                      helping [1] - 39:16              19:2, 19:7, 19:17, 20:2,
                                                                                                     indicates [4] - 9:5, 20:23,
 great [6] - 7:17, 8:8, 12:12,    hernia [1] - 45:10               20:16, 21:5, 21:6, 21:9,
                                                                                                    20:25, 48:2
24:6, 34:13, 49:1                 hiatal [1] - 45:10               21:15, 25:3, 26:8, 30:21,
                                                                                                     indicating [1] - 78:18
 greatly [1] - 54:17              hide [5] - 18:7, 18:20,          31:12, 32:23, 41:4, 41:25,
                                                                                                     indicted [2] - 67:25, 68:1
 green [7] - 16:3, 16:25,        19:14, 20:3, 56:2                 46:10, 56:8, 56:17
                                                                                                     indictment [2] - 67:24, 68:2
17:3, 17:6, 17:7, 27:20           highjack [1] - 9:23               houses [2] - 18:8, 18:10
                                                                                                     individual [9] - 8:5, 48:9,
 guarantee [3] - 35:11,           himself [5] - 6:20, 8:23,         HSI [1] - 6:16
                                                                                                    56:10, 57:8, 57:15, 58:10,
61:17, 61:19                     46:7, 54:2, 65:23                  human [10] - 8:2, 21:13,
                                                                                                    61:2, 61:4, 61:6
 guess [3] - 4:10, 4:12,          hire [2] - 48:7, 48:25           35:21, 38:23, 39:3, 39:7,
                                                                                                     individual's [1] - 55:13
13:18                             hired [2] - 59:22, 59:23         40:8, 40:10, 40:12, 46:20
                                                                                                     individuals [1] - 6:5
 guidance [1] - 9:10              home [15] - 20:9, 21:3,           hurt [1] - 39:25
                                                                                                     inference [1] - 19:20
 guide [1] - 45:21               22:16, 24:25, 25:8, 26:2,          Hurtado [1] - 35:12
                                                                                                     influence [1] - 11:6
 Guidelines [1] - 45:22          26:12, 26:14, 26:17, 26:24,        husband [9] - 26:3, 26:4,
                                                                                                     informants [3] - 39:15,
 guilt [1] - 50:12               31:23, 33:2, 33:5, 33:22,         26:11, 31:23, 32:2, 41:3,
                                                                                                    39:16, 59:24
 guilty [2] - 70:14, 73:23       71:3                              43:18, 55:19, 55:20
                                                                                                     information [5] - 36:23,
 gun [5] - 20:22, 38:13,          Honor [161] - 2:3, 2:14,                                          45:2, 46:14, 47:13, 51:24
38:14, 38:16, 38:25              2:17, 3:2, 3:11, 3:22, 3:25,                     I                  initials [1] - 78:9
 guns [4] - 20:18, 20:21,        4:2, 4:7, 4:9, 4:13, 4:15, 5:6,                                     initiative [2] - 38:1, 72:23
21:4, 26:14                      5:23, 6:2, 7:12, 7:16, 7:23,       idea [1] - 33:1                  injured [1] - 42:12
                                 8:1, 8:13, 11:1, 11:20, 12:6,                                       injuries [1] - 45:11
                                                                    identified [2] - 48:19, 60:16
              H                  12:14, 13:2, 13:12, 13:19,
                                                                    identify [4] - 40:11, 40:17,     innocence [1] - 50:12
                                 13:23, 14:1, 14:3, 14:6,                                            inside [1] - 42:15
                                                                   60:23, 62:5
                                 14:11, 14:13, 14:16, 14:22,                                         insofar [2] - 54:4, 66:20
 half [1] - 71:24                                                   ignored [2] - 47:23
                                 14:23, 15:8, 15:17, 15:25,
 halfway [1] - 59:3                                                 ill [1] - 76:14                  installed [1] - 26:20
                                 16:7, 18:4, 18:25, 20:2,
 HAN [1] - 13:2                                                     illegally [3] - 20:21, 57:18,    instance [2] - 13:24, 40:25
                                 20:19, 21:16, 21:18, 21:20,
 Han [5] - 2:19, 5:4, 5:5,                                         60:4                              instant [1] - 53:20
                                 21:22, 27:12, 28:2, 28:4,
12:18, 51:18                                                        imagine [4] - 37:8, 45:1,        instead [1] - 19:15
                                 29:17, 30:7, 32:14, 33:11,
 hand [2] - 22:2, 57:6                                             66:14, 75:16                      instigator [2] - 39:13, 46:17
                                 33:13, 33:17, 33:18, 34:9,
 handcuffs [1] - 71:3                                               immense [1] - 57:3               instructions [2] - 70:10,
                                 35:19, 35:25, 36:10, 36:13,
 handed [3] - 15:4, 36:14,                                          immigration [12] - 5:8, 5:9,    74:15
                                 36:16, 36:19, 37:7, 37:11,
44:20                                                              6:16, 8:4, 8:18, 8:20, 9:17,      insufficient [1] - 13:14
                                 37:14, 38:3, 38:4, 38:8, 39:9,
 handle [1] - 63:24                                                10:16, 11:21, 12:12, 15:21,       insure [4] - 13:6, 30:8,
                                 40:3, 40:14, 40:18, 41:14,
 happily [1] - 58:6                                                16:15                            34:22, 35:23
                                 41:21, 42:21, 43:3, 44:5,
 happy [5] - 11:23, 12:16,                                          important [2] - 16:17, 25:5      intend [1] - 3:14
                                 45:4, 45:6, 45:15, 45:25,
12:18, 36:3, 77:18               46:1, 46:8, 46:13, 46:22,          importantly [2] - 18:15,         intending [1] - 58:16




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 87 of 94
                                                                                                                                   88


 intends [1] - 3:5               54:25, 63:7, 65:8, 65:17,          killed [4] - 35:23, 38:18,        letter [3] - 9:21, 10:2, 78:18
 intent [2] - 19:2, 48:17        68:5, 69:8, 70:24, 76:8,          57:20, 57:21                       letterhead [1] - 7:10
 interact [1] - 25:8             76:20                              kind [3] - 44:16, 55:7, 63:24     letters [1] - 44:22
 interacting [2] - 25:2, 25:4     items [1] - 36:22                 kinds [2] - 39:23, 45:13          license [1] - 26:25
 interactions [1] - 23:23         itself [1] - 48:2                 Kinney [5] - 34:18, 49:15,        lie [1] - 52:2
 interest [5] - 32:12, 55:22,                                      57:14, 58:17, 58:24                life [1] - 63:20
56:1, 61:5, 75:17                               J                   Kinney's [1] - 34:25              lift [1] - 42:11
 interesting [2] - 19:25, 20:1                                      knock [1] - 54:18                 light [4] - 54:11, 64:16,
 interim [1] - 50:15                                                knowing [1] - 77:15              72:4, 74:6
                                  jail [8] - 63:19, 63:23, 67:3,
 internet [1] - 65:19                                               knowledge [2] - 12:13,            limit [2] - 44:13, 76:6
                                 69:2, 69:12, 71:2, 71:14,
 interpreted [1] - 12:8                                            34:19                              limitations [1] - 46:11
                                 74:8
 interpreter [4] - 2:6, 2:9,                                        known [7] - 4:16, 6:3, 8:17,      line [4] - 26:16, 26:20,
                                  Jail [1] - 65:19
28:25, 49:19                                                       24:17, 24:22, 25:7, 58:18         26:21, 34:5
                                  jails [1] - 76:23
 INTERPRETER [5] - 2:8,                                             knows [5] - 16:22, 18:6,          link [1] - 65:20
                                  James [1] - 1:16
30:12, 49:19, 50:5, 50:9                                           18:20, 19:5, 47:16                 lip [1] - 42:12
                                  January [3] - 1:5, 16:4,
 interpreters [2] - 50:2                                            Kocher [3] - 1:13, 2:13,          list [3] - 9:11, 9:12, 17:13
                                 72:24
 interrupt [1] - 4:3                                               65:1                               listen [1] - 69:10
                                  Jason [1] - 1:13
 intimidating [1] - 7:3                                             KOCHER [3] - 69:4, 69:13,         lists [1] - 15:22
                                  Jezebel.com [1] - 43:5
 intoxicated [1] - 42:10                                           75:24                              literally [1] - 71:24
                                  Jim [1] - 2:18
 introduced [1] - 3:19                                                                                live [7] - 19:17, 21:11,
                                  John [3] - 2:19, 30:25,
 introductions [2] - 2:16,
                                 67:24
                                                                                  L                  22:22, 22:24, 23:1, 25:25,
4:18                                                                                                 42:2
                                  joined [1] - 12:2
 investigating [3] - 6:23,                                                                            lived [2] - 22:19, 23:4
                                  Jr [1] - 1:16                     L-y-u-b-i-n-i-n [1] - 21:21
8:15, 9:16                                                                                            lives [3] - 23:15, 26:2,
                                  judge [3] - 40:16, 51:4, 51:8     Labor [1] - 68:10
 investigation [7] - 4:14,                                                                           31:23
                                  JUDGE [1] - 1:10                  lack [4] - 54:4, 62:8, 62:17,
4:16, 6:3, 7:13, 7:14, 8:4,                                                                           living [4] - 20:12, 20:16,
                                  Judge [9] - 18:16, 18:21,        76:12
58:8                                                                                                 23:1, 23:16
                                 34:15, 47:13, 48:5, 48:12,         land [4] - 26:16, 26:19,
 investments [3] - 32:6,                                                                              LLC [2] - 18:19, 19:1
                                 48:16, 60:22                      26:21, 34:4
32:7, 32:9                                                                                            LLCs [1] - 18:7
                                  judgment [1] - 39:10              language [3] - 63:12, 66:13,
 invite [2] - 25:7, 50:15                                                                             lob [1] - 52:10
                                  Judgment [1] - 55:15             66:15
 invited [1] - 24:24                                                                                  local [2] - 12:7
                                  July [1] - 67:9                   large [3] - 20:9, 63:19,
 involve [1] - 77:10                                                                                  located [1] - 55:20
                                  jurisdiction [1] - 62:1          71:15
 involved [4] - 25:5, 59:17,                                                                          location [1] - 6:17
                                  jury [2] - 70:10, 75:18           largely [1] - 52:2
60:8, 66:4                                                                                            locations [1] - 56:19
                                  justice [1] - 42:16               last [7] - 15:12, 16:5, 25:18,
 involvement [2] - 58:3,                                                                              logistics [1] - 71:23
                                                                   28:15, 38:12, 40:13, 71:11
58:9                                                                                                  longtime [1] - 61:4
 involving [1] - 41:17                          K                   lately [1] - 64:2
                                                                                                      look [19] - 10:4, 15:20,
                                                                    laundering [1] - 29:9
 ironically [1] - 18:9                                                                               16:17, 21:8, 28:21, 29:3,
                                                                    law [8] - 5:8, 10:19, 54:13,
 irregular [1] - 45:9             keep [4] - 21:4, 52:20,                                            38:20, 38:22, 44:4, 45:20,
                                                                   60:20, 60:22, 62:9, 62:13,
 ISAAKOVICH [1] - 1:7            59:18, 76:5                                                         46:13, 49:13, 49:14, 52:23,
                                                                   67:14
 Island [1] - 43:8                Kellhofer [3] - 1:13, 2:11,                                        60:11, 66:20, 67:10, 70:5,
                                                                    laws [1] - 9:11
 Israel [8] - 15:14, 22:23,      55:7                                                                77:5
                                                                    lawyer [5] - 4:22, 5:9, 6:1,
22:24, 23:1, 23:11, 23:13,        KELLHOFER [47] - 2:3,                                               looked [1] - 77:8
                                                                   60:10, 60:15
27:19, 61:22                     2:14, 3:11, 3:22, 4:7, 6:2,                                          looking [5] - 32:21, 46:3,
                                                                    lawyers [1] - 5:24
 Israeli [5] - 16:3, 16:6,       7:12, 7:21, 13:12, 13:18,                                           46:4, 46:6, 57:13
                                                                    layer [1] - 33:23
46:25, 47:2, 47:5                13:23, 14:3, 14:6, 28:4, 28:7,                                       looks [2] - 18:13, 19:9
                                                                    lead [1] - 73:13
 issue [38] - 9:13, 11:7,        28:25, 29:18, 30:15, 32:18,                                          lose [1] - 44:1
                                                                    least [5] - 9:19, 10:25,
21:18, 34:10, 39:18, 42:5,       33:9, 36:9, 36:12, 36:16,                                            loss [2] - 46:4, 46:6
                                                                   23:19, 54:13, 78:8
42:22, 43:1, 44:13, 47:19,       36:18, 37:7, 38:3, 45:6,                                             LOUISE [1] - 1:10
                                                                    leave [5] - 9:6, 47:17,
48:18, 49:4, 49:11, 50:11,       50:17, 51:10, 52:18, 53:1,                                           loving [1] - 24:7
                                                                   58:16, 58:22, 62:1
50:12, 52:12, 52:16, 52:21,      55:11, 55:18, 66:9, 66:12,                                           LYNBININ [1] - 21:21
                                                                    led [1] - 34:15
56:12, 60:1, 60:3, 60:14,        66:18, 67:4, 67:7, 67:12,                                            Lyubinin [3] - 21:21, 22:5,
                                                                    left [5] - 2:20, 2:21, 22:2,
61:15, 61:16, 63:12, 66:24,      67:20, 68:3, 68:7, 74:18,                                           22:18
                                                                   41:6, 45:11
68:7, 69:7, 70:22, 71:1, 72:1,   78:4, 78:25, 79:3, 80:8                                              LYUBININ [4] - 22:11, 28:6,
72:9, 73:6, 75:12, 76:4,                                            legal [2] - 29:17, 30:7
                                  kept [3] - 18:23, 20:21,                                           80:5, 80:7
76:10, 76:20, 78:22                                                 legally [1] - 21:4
                                 42:15
 issues [23] - 3:25, 9:17,                                          length [1] - 74:2
                                  kickbacks [1] - 61:1                                                              M
9:24, 21:1, 33:19, 42:5,                                            Leonid [2] - 23:22, 24:6
                                  kicking [2] - 42:8, 42:19
42:23, 43:10, 43:24, 44:11,                                         LEONID [1] - 1:7
                                  kids [1] - 32:24
45:12, 46:14, 46:16, 47:8,                                          less [1] - 10:12                  ma'am [11] - 22:13, 22:16,




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 88 of 94
                                                                                                                              89


23:23, 25:11, 26:23, 27:17,       70:19, 71:7, 72:11, 72:17,       month [3] - 19:19, 55:22,       murdered [1] - 29:23
27:20, 28:8, 32:19, 64:11,        73:2, 73:6, 73:12, 73:16,       67:9                             muscular [1] - 45:12
79:3                              74:10, 74:25, 75:11, 77:18,      Moore [3] - 1:16, 2:18, 6:8     must [1] - 61:14
 mafia [1] - 49:11                78:12, 78:16, 80:6               moreover [2] - 10:19, 17:10
 magistrate [2] - 51:4, 51:8       mean [4] - 41:4, 41:13, 69:9    morning [8] - 2:2, 2:3, 2:4,                 N
 man [7] - 19:15, 43:23,           means [4] - 19:8, 57:16,       2:18, 5:7, 11:6, 28:8, 28:9
47:8, 59:18, 71:10, 71:13,        58:14, 61:24                     most [2] - 56:22, 73:8
76:16                              measure [1] - 35:22                                             name [17] - 2:7, 4:19,
                                                                   mother [1] - 42:1
 man's [1] - 39:10                 mechanical [1] - 1:23                                          18:18, 18:22, 19:1, 19:3,
                                                                   Motion [1] - 1:6
 managing [1] - 72:3               media [1] - 28:12                                              19:18, 21:20, 22:4, 22:16,
                                                                   motion [19] - 2:24, 3:12,
                                                                                                  31:25, 49:1, 56:21, 59:2,
 maneuver [1] - 62:16              medical [11] - 43:24, 44:5,    3:17, 9:22, 9:23, 9:25, 11:2,
                                                                                                  71:4, 78:11
 manner [1] - 7:17                44:6, 44:11, 44:23, 45:2,       11:9, 11:23, 13:13, 15:10,
                                  54:22, 65:8, 76:7, 76:10,                                        named [1] - 78:8
 Manvel [4] - 2:21, 3:19,                                         37:6, 37:24, 37:25, 52:14,
                                  78:21                                                            narrow [1] - 65:17
4:15, 4:21                                                        52:17, 66:5, 67:17, 73:19
                                   meet [3] - 23:7, 23:9, 65:3                                     Nathan [2] - 2:20, 5:20
 March [11] - 19:11, 41:9,                                         MOTION [1] - 1:9
41:22, 46:19, 72:25, 73:1,         meeting [1] - 60:8                                              nathan [1] - 1:17
                                                                   motions [5] - 64:23, 72:22,
73:7, 73:18, 73:19, 73:23,         member [4] - 5:5, 6:12,        72:24, 73:3, 77:17               national [2] - 17:3, 17:6
74:14                             6:14, 7:3                        motive [1] - 39:17              naturally [2] - 24:1, 24:3
 marijuana [1] - 42:14             members [1] - 25:8              move [5] - 17:22, 21:5,         nature [4] - 34:17, 34:19,
 mark [1] - 32:1                   memorializing [1] - 74:14      29:17, 66:21, 78:21             53:19, 54:14
 marked [1] - 37:15                mention [1] - 38:18             moved [2] - 23:13, 23:17        NC [3] - 1:14, 1:18, 1:20
 Market [2] - 18:19, 55:20         mentioned [4] - 28:10,          moving [1] - 74:20              near [2] - 43:1, 43:25
 married [3] - 41:24, 42:2,       30:20, 32:19, 79:4               MR [130] - 2:3, 2:4, 2:14,      necessary [4] - 11:24,
56:7                               mentions [3] - 16:9, 21:10     2:17, 3:1, 3:11, 3:22, 4:2,     35:22, 37:23, 74:1
 marshal [2] - 64:5, 76:1          merely [1] - 39:18             4:7, 4:21, 4:23, 4:25, 5:3,      need [19] - 4:11, 12:23,
 Marshal [3] - 69:7, 75:24,        middle [1] - 19:16             5:5, 5:12, 5:15, 5:17, 5:20,    12:25, 13:15, 20:4, 20:11,
76:21                                                             5:23, 6:2, 7:12, 7:21, 8:13,    21:25, 26:9, 26:22, 32:15,
                                   Middle [1] - 1:20
                                                                  11:20, 12:6, 13:2, 13:12,       32:21, 36:25, 39:7, 39:8,
 MARSHAL [7] - 64:7, 64:10,        might [11] - 18:10, 34:2,
                                                                  13:18, 13:23, 14:3, 14:6,       49:21, 64:21, 66:4, 77:13,
65:12, 76:3, 76:12, 76:22,        34:6, 38:14, 38:17, 40:16,
                                                                  14:11, 14:13, 14:18, 14:22,     78:20
77:25                             57:2, 65:24, 69:9, 69:14,
                                                                  15:1, 15:8, 18:4, 19:25,         needs [6] - 19:17, 37:3,
 Marshal's [6] - 65:6, 66:3,      75:23
                                                                  21:25, 22:12, 24:8, 24:12,      37:4, 63:8, 65:3, 78:7
76:13, 76:17, 77:19, 77:22         militates [1] - 67:15
                                                                  24:14, 27:12, 27:16, 28:1,       nefarious [1] - 20:13
 Marshals [2] - 64:17, 66:20       mindset [1] - 39:21
                                                                  28:4, 28:7, 28:25, 29:7,         never [4] - 27:6, 53:8,
 material [3] - 28:19, 39:9,       mine [4] - 41:25, 56:8,
                                                                  29:16, 29:18, 30:6, 30:15,      59:17, 61:6
40:1                              56:10, 69:14
                                                                  32:14, 32:18, 33:9, 33:13,       New [10] - 1:5, 1:14, 1:20,
 materiality [1] - 14:20           minimal [1] - 76:5
                                                                  33:17, 34:9, 36:9, 36:12,       4:25, 5:6, 5:11, 18:19, 43:11,
 materials [1] - 49:16             minimum [1] - 8:8
                                                                  36:16, 36:18, 37:7, 37:11,      55:20, 77:14
 matter [7] - 6:15, 13:21,         minor [3] - 27:4, 27:6, 29:2
                                                                  37:14, 38:3, 38:4, 38:7,         new [3] - 14:9, 47:2, 47:7
27:23, 43:14, 56:3, 78:2,          minute [3] - 39:7, 71:24,
                                                                  40:21, 41:20, 44:22, 45:3,       news [2] - 28:12, 43:4
79:14                             72:21
                                                                  45:6, 45:8, 50:17, 51:10,        newspapers [1] - 49:1
 matters [9] - 3:16, 6:12,         minutes [4] - 49:22, 49:23,
7:13, 8:20, 13:10, 50:7, 51:3,                                    52:18, 53:1, 53:4, 55:11,        next [9] - 11:17, 20:14,
                                  61:25, 71:25
55:1, 74:23                                                       55:18, 59:7, 63:1, 63:16,       21:18, 32:17, 37:16, 41:14,
                                   misconduct [3] - 46:2,
                                                                  64:3, 64:14, 64:20, 65:4,       51:20, 70:23, 73:8
 McGurk [3] - 1:19, 79:16,        46:9, 60:18
79:17                                                             65:13, 65:20, 66:1, 66:6,        night [3] - 25:18, 28:15,
                                   misrepresent [1] - 61:5
                                                                  66:9, 66:12, 66:18, 67:4,       40:13
 McLoughlin [76] - 1:16, 2:4,      misses [2] - 35:7, 35:17
2:17, 2:18, 3:1, 4:2, 5:5, 7:1,                                   67:7, 67:12, 67:20, 68:3,        nine [1] - 20:11
                                   misspoken [1] - 56:24
8:13, 11:20, 12:6, 14:11,                                         68:7, 68:8, 68:11, 68:17,        nitpicking [1] - 57:2
                                   mistake [2] - 16:16, 51:7
14:13, 14:18, 14:22, 15:1,                                        68:21, 68:24, 69:17, 70:19,      none [1] - 49:11
                                   mob [2] - 43:8, 43:10
15:8, 18:4, 19:25, 21:25,                                         71:7, 72:11, 72:17, 73:2,        normal [1] - 77:9
                                   mobility [1] - 53:17
22:12, 24:8, 24:12, 24:14,                                        73:6, 73:12, 73:16, 74:10,       NORTH [1] - 1:1
                                   mom [1] - 42:3
27:12, 27:16, 28:1, 29:7,                                         74:18, 74:25, 75:11, 77:18,      north [2] - 23:4, 65:10
                                   moment [4] - 3:20, 4:3,
29:16, 30:6, 32:14, 33:13,                                        78:4, 78:12, 78:16, 78:25,       North [2] - 1:5, 1:17
                                  24:15, 41:21
33:17, 34:9, 37:11, 37:14,                                        79:3, 80:6, 80:8                 notably [1] - 42:12
                                   Monday [3] - 73:24, 73:25,
38:4, 38:7, 40:21, 41:20,                                          MS [3] - 69:4, 69:13, 75:24     notch [1] - 51:16
                                  74:1
44:22, 45:3, 45:8, 53:4, 59:7,                                     multiple [5] - 6:5, 57:1,       note [12] - 16:8, 20:19,
                                   money [5] - 29:9, 53:19,
63:1, 63:16, 64:3, 64:14,                                         58:10, 58:13, 67:2              21:9, 24:8, 35:25, 36:19,
                                  53:25, 61:12, 61:14
64:20, 65:4, 65:13, 65:20,                                         murder [5] - 48:7, 48:25,      43:2, 44:14, 51:5, 55:12,
                                   monitored [1] - 46:12
66:1, 66:6, 68:8, 68:11,                                          49:9, 56:13, 58:19              55:23, 75:1
                                   monitoring [5] - 26:20,
68:17, 68:21, 68:24, 69:17,                                        murder-for-hire [1] - 48:7      noted [3] - 20:20, 24:11,
                                  34:3, 47:6, 61:24, 62:21




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 89 of 94
                                                                                                                                  90


51:12                              officer [2] - 42:10, 42:19       package [1] - 66:2                phone [6] - 7:9, 9:20,
 notereading [1] - 1:24            officers [1] - 42:8              Page [2] - 80:3, 80:11           24:18, 34:4, 57:7, 69:12
 noteworthy [1] - 59:20            offshore [2] - 10:20, 10:21      page [6] - 15:10, 15:12,          phones [1] - 69:3
 nothing [8] - 10:14, 10:18,       often [6] - 30:21, 31:14,       16:18, 51:11, 52:23, 55:18         physical [2] - 45:19, 54:23
16:10, 16:15, 17:20, 20:13,       33:1, 33:3, 58:5, 62:16           pages [2] - 37:2, 38:12           physician [1] - 44:23
29:10, 30:4                        old [1] - 20:11                  paid [2] - 10:20, 10:21           pick [3] - 24:10, 32:25,
 Notice [1] - 11:13                once [1] - 73:15                 pain [1] - 45:14                 42:18
 notice [10] - 4:8, 5:1, 5:21,     one [38] - 12:5, 16:18, 19:9,    painted [1] - 49:15               picture [1] - 49:15
6:9, 9:21, 11:19, 12:4, 12:25,    21:13, 23:19, 34:15, 35:22,       papers [3] - 12:9, 14:8, 40:5     piece [1] - 79:2
36:8, 51:25                       38:9, 38:10, 38:12, 38:24,        paperwork [2] - 8:3, 8:6          Pitt [5] - 63:21, 63:25, 64:3,
 noticed [3] - 12:20, 12:22,      39:3, 40:25, 41:1, 41:21,         part [9] - 12:11, 14:9, 29:25,   71:12, 71:20
70:14                             46:20, 47:2, 47:3, 47:9,         30:3, 44:8, 66:12, 76:12,          place [9] - 4:13, 19:14,
 November [3] - 21:10,            47:24, 49:14, 50:15, 52:7,       76:13, 78:8                       19:17, 20:4, 21:4, 21:5, 22:2,
21:12, 42:6                       54:13, 55:22, 57:13, 58:15,       participant [1] - 61:7           64:22, 70:17
 novo [4] - 3:4, 13:10, 13:20,    59:25, 60:5, 60:25, 61:23,        participate [1] - 20:9            placed [1] - 30:17
13:22                             65:10, 66:21, 66:22, 67:21,       particular [1] - 62:24            placement [1] - 69:7
 now-expired [1] - 16:5           71:8, 72:1, 75:2                  particularly [3] - 8:9, 44:20,    places [2] - 53:18, 61:13
 now-nine-year-old [1] -           one-third [1] - 16:18           63:25                              Plaintiff [1] - 1:5
20:11                              ongoing [1] - 4:14               parties [1] - 70:15               Plaintiffs [1] - 1:12
 nuance [1] - 50:23                onshore [1] - 10:21              partly [1] - 32:8                 plan [2] - 14:12, 33:6
 number [18] - 4:15, 6:7, 7:9,     open [3] - 10:2, 10:7, 27:14     partners [1] - 32:8               planning [1] - 75:23
7:18, 15:21, 16:3, 21:13,          operate [1] - 18:7               party [4] - 25:12, 25:17,         plans [2] - 59:1, 69:22
27:13, 38:24, 39:3, 46:14,         operates [1] - 17:24            29:13, 33:20                       planting [2] - 38:13, 38:16
48:4, 48:13, 58:4, 66:14,          opportunity [3] - 11:4,          passed [1] - 78:17                play [2] - 57:24, 60:2
66:17, 71:8, 71:15                23:24, 25:15                      passport [18] - 16:3, 16:5,       plea [2] - 70:14, 73:23
 Numbers [7] - 18:16, 18:21,       opposed [1] - 39:22             16:6, 16:14, 17:7, 17:13,          PLLC [1] - 1:16
34:15, 47:13, 48:5, 48:6,          opposite [1] - 19:4             17:14, 17:15, 17:20, 47:3,         pocketbook [1] - 65:2
60:23                              opposition [1] - 45:5           47:7, 47:10, 53:9, 61:23,          pod [1] - 71:15
                                   option [1] - 65:5               62:11, 62:17, 62:20                point [44] - 4:9, 6:10, 7:11,
              O                    order [20] - 2:5, 3:24, 7:22,    passports [3] - 47:1, 51:9,      9:5, 10:10, 10:24, 14:19,
                                  10:1, 41:5, 41:8, 41:11,         61:21                             15:24, 18:24, 20:1, 28:2,
                                  42:25, 47:23, 52:13, 52:17,       pay [2] - 41:24, 56:7            35:7, 35:16, 38:15, 42:21,
 oath [2] - 2:6, 57:12
                                  54:24, 70:5, 70:6, 70:7,          peace [1] - 41:6                 45:15, 47:6, 50:6, 50:20,
 object [1] - 11:8
                                  70:12, 72:23, 74:13, 79:5         pending [2] - 62:12, 64:6        50:24, 52:22, 56:1, 56:2,
 objection [5] - 11:3, 29:7,
                                   ordering [1] - 72:24             people [16] - 12:21, 25:7,       56:4, 56:5, 56:16, 56:18,
29:16, 30:6, 32:14
                                   orders [1] - 61:9               30:25, 45:23, 45:24, 48:25,       56:20, 57:1, 57:2, 57:3,
 objective [2] - 35:14, 61:19
                                   originally [1] - 63:17          49:2, 52:1, 52:4, 54:23, 57:8,    57:25, 58:22, 59:24, 60:5,
 obligation [1] - 12:10
                                   otherwise [4] - 6:10, 12:9,     57:9, 59:21, 66:21, 69:2,         60:8, 63:13, 68:13, 69:19,
 obligations [3] - 32:23,
                                  37:24, 61:10                     77:5                              72:1, 75:5, 75:10
33:6, 33:8
                                   outrageous [1] - 10:3            per [1] - 13:13                   points [5] - 8:14, 38:7,
 observations [1] - 63:1
                                   outset [1] - 3:17                percent [2] - 18:23, 18:24       55:12, 59:8, 60:18
 observe [1] - 23:24
                                   outside [4] - 32:23, 52:2,       period [3] - 37:5, 37:25,         police [10] - 40:4, 40:22,
 observed [3] - 24:5, 24:18,
                                  64:8, 65:1                       67:3                              41:1, 41:11, 41:15, 41:16,
42:7
                                   outstanding [2] - 32:9,          permanent [1] - 27:21            42:6, 42:23, 55:24, 56:4
 obsessive [1] - 39:14
                                  67:21                             permanently [1] - 37:23           Police [1] - 33:21
 obtained [3] - 33:20, 57:18,
                                   overruled [2] - 29:19, 30:10     permits [2] - 12:1, 62:13         Polyakov [1] - 31:6
60:4
                                   overseas [3] - 57:18, 58:10,     person [6] - 4:19, 42:14,         position [4] - 3:3, 11:1,
 obviously [5] - 31:14,
                                  60:4                             42:16, 57:20, 57:21, 71:25        57:13, 75:5
58:23, 67:14, 69:21, 76:17
                                   own [8] - 18:18, 18:22,          person's [1] - 78:11              possession [2] - 30:1,
 occurred [1] - 6:6
                                  19:3, 19:5, 19:18, 33:7, 38:1,    personal [1] - 44:16             41:16
 occurs [1] - 49:8
                                  72:23                             personally [1] - 47:3             possibility [1] - 64:10
 OF [3] - 1:1, 1:4, 1:9
                                   owned [1] - 21:4                 personnel [1] - 76:16             possible [3] - 62:19, 70:23,
 offenders [2] - 48:20, 48:21
                                   owners [1] - 55:19               persons [1] - 54:6               75:18
 offense [4] - 41:21, 48:2,
                                   ownership [3] - 18:20,           persuaded [1] - 54:22             Post [1] - 43:11
53:20, 54:14
                                  18:23, 18:24                      persuading [1] - 48:8             pounding [1] - 39:4
 offensive [1] - 52:10
                                                                    pertinent [2] - 56:22, 60:18      practically [1] - 46:9
 offer [1] - 14:15
 Office [1] - 1:12
                                                P                   Petit [1] - 76:1                  practice [5] - 4:24, 5:10,
                                                                    PETTIT [4] - 76:3, 76:12,        5:12, 5:13, 5:16
 office [4] - 2:20, 2:21, 5:15,
                                                                   76:22, 77:25                       prepared [4] - 3:9, 25:20,
53:22                              p.m [1] - 79:7
                                                                                                     26:19, 62:5




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 90 of 94
                                                                                                                                   91


 preponderance [1] - 44:2          provide [7] - 33:23, 35:10,       reads [3] - 17:1, 38:9, 38:11    32:3, 46:4
 present [6] - 2:12, 2:23,        37:13, 40:15, 48:4, 51:24,         ready [2] - 26:1, 68:12           release [11] - 13:6, 30:9,
3:14, 6:6, 6:8, 14:14             76:23                              real [5] - 18:7, 55:19, 59:19,   39:12, 43:22, 44:10, 49:7,
 presented [4] - 51:3, 54:15,      provided [7] - 10:15, 10:16,     61:15, 66:19                      49:8, 49:10, 50:13, 54:9,
60:21, 61:8                       13:25, 36:20, 55:14, 57:11,        reality [5] - 43:8, 43:9,        62:23
 presenting [1] - 34:20           57:23                             55:25, 56:9, 56:12                 released [3] - 48:9, 48:15,
 presently [1] - 66:22             provisionally [1] - 37:4          really [8] - 49:1, 49:2,         49:3
 preside [1] - 63:5                prudent [1] - 21:6               56:11, 60:13, 63:3, 63:23,         relevancy [2] - 14:19, 15:8
 pretrial [6] - 34:1, 39:12,       psychiatrist [1] - 23:12         65:16, 68:11                       relevant [10] - 38:25, 39:1,
43:22, 44:9, 64:23, 72:24          public [2] - 36:4, 78:20          reason [4] - 12:16, 20:5,        39:9, 39:13, 39:21, 40:21,
 prevailed [1] - 20:24             pull [1] - 43:4                  36:17, 62:2                       45:25, 46:22, 46:25, 47:15
 previously [2] - 50:22,           pulled [1] - 39:24                reasonable [7] - 35:11,           reliability [1] - 40:17
52:12                              pulling [1] - 43:6               35:13, 48:3, 48:4, 61:17,          reliable [3] - 43:5, 43:11,
 primary [1] - 39:13               purpose [1] - 19:7               61:19, 75:16                      59:14
 priority [1] - 74:23              purposes [1] - 45:20              reasonably [3] - 35:15,           relied [2] - 34:16, 44:8
 prison [2] - 63:8, 71:9           pursuant [2] - 12:23, 70:5       51:20, 75:8                        relief [2] - 7:20, 75:15
 prisoner [1] - 62:9               pursue [1] - 64:13                reasons [4] - 7:18, 27:13,        relies [1] - 16:12
 prisoners [1] - 76:5              pushed [1] - 46:19               35:3, 77:11                        relocate [1] - 64:17
 privacy [1] - 27:13               pushing [1] - 52:9                receive [1] - 10:8                rely [6] - 11:17, 12:3, 13:24,
 private [2] - 54:17, 62:3         put [11] - 14:20, 19:3,           received [1] - 16:15             16:23, 17:20, 37:13
 privilege [1] - 9:11             21:19, 37:3, 59:13, 59:19,         Recess [1] - 49:24                relying [2] - 11:16, 13:10
 privileged [1] - 8:10            64:9, 69:2, 69:11, 73:21,          recidivism [2] - 45:21,           remain [4] - 37:3, 37:5,
 probability [1] - 47:18          76:18                             45:23                             37:21, 37:23
 probation [2] - 34:2, 53:22       putting [3] - 19:1, 35:25,        recognize [1] - 37:1              remains [2] - 58:12, 68:4
 problem [7] - 21:1, 42:4,        76:25                              recollection [1] - 73:3           remarkably [1] - 46:8
42:24, 47:17, 57:19, 76:11,                                          recommend [1] - 77:22             remind [1] - 14:4
77:1                                            Q                    recommended [1] - 44:10           reminds [1] - 70:3
 problems [2] - 29:2, 29:11                                          reconsider [1] - 72:8             repeat [4] - 22:14, 30:14,
 procedure [2] - 47:1, 47:2                                          record [18] - 2:11, 13:10,       48:20
                                   qualification [1] - 17:4         17:23, 22:17, 24:8, 35:25,         repeating [1] - 42:15
 procedures [1] - 9:9
                                   quality [3] - 59:11, 59:12,      36:25, 40:23, 46:24, 47:22,        reply [1] - 49:18
 proceed [3] - 2:25, 3:4,
                                  63:11                             47:25, 54:3, 68:25, 69:15,
14:12                                                                                                  report [11] - 40:4, 40:22,
                                   questioned [2] - 6:18, 7:1       78:20, 78:21, 79:13               41:15, 41:17, 41:22, 42:1,
 proceeding [3] - 9:3, 12:3,
                                   questionnaire [4] - 25:16,        recorded [1] - 1:23              48:11, 48:18, 55:24, 56:4,
13:8
                                  25:19, 25:22, 28:16                recording [1] - 57:24            62:2
 Proceedings [1] - 1:23
                                   questions [6] - 28:1, 28:3,       recordings [1] - 57:25            reported [2] - 40:24, 53:21
 proceedings [1] - 79:13
                                  33:10, 38:2, 38:3, 79:1            records [11] - 10:11, 10:22,      Reporter [1] - 1:19
 proceeds [1] - 70:2
                                   quick [1] - 66:19                19:9, 19:11, 44:6, 44:8,           reporting [3] - 34:1, 35:21,
 process [1] - 36:22
                                   quite [5] - 21:2, 44:9, 44:12,   44:10, 44:23, 44:25, 77:5         46:10
 prodded [1] - 58:6
                                  46:11, 70:25                       redacted [1] - 78:15              reports [1] - 42:23
 produced [1] - 1:24
                                   quote [3] - 17:25, 21:9, 39:1     redirect [1] - 33:12              representation [1] - 63:11
 profession [1] - 23:11
                                   quoted [1] - 53:7                 reference [4] - 38:25, 40:8,      representative [1] - 77:7
 proffer [3] - 3:16, 3:25, 28:2
                                   quotes [2] - 38:23, 39:23        43:7, 75:1                         represented [1] - 8:19
 proffering [1] - 19:10
 proffers [1] - 14:19                                                references [2] - 16:18, 40:9      representing [6] - 2:12,
 promptly [1] - 72:19
                                                R                    reflect [4] - 12:1, 37:2,        2:19, 6:11, 9:2, 11:12, 51:22
 proof [3] - 3:6, 18:11, 18:14                                      39:24, 75:9                        represents [2] - 2:22, 52:25
 proper [1] - 11:9                 raise [4] - 3:18, 9:24, 11:2,     Reform [2] - 35:8, 48:11          reputable [1] - 62:4
 property [3] - 18:19, 19:12,     22:3                               refusal [1] - 40:13               request [4] - 36:8, 36:21,
55:19                              raised [2] - 3:17, 8:2            refused [1] - 40:13              37:9, 64:24
 proposal [1] - 33:20              raising [1] - 20:10               regard [11] - 3:19, 4:1, 7:6,     requested [2] - 3:24, 67:23
 propose [1] - 70:19               Raleigh [9] - 1:14, 20:9,        7:7, 37:8, 38:19, 51:12,           requesting [1] - 75:15
 proposed [2] - 14:15, 70:10      20:13, 23:8, 23:14, 23:15,        55:12, 56:13, 56:15, 75:24         require [2] - 45:13, 66:15
 propped [1] - 59:18              23:17, 24:23, 64:8                 regarding [1] - 36:22             required [4] - 9:25, 35:2,
 prosecution [2] - 46:3, 55:5      Raleigh/Durham [1] - 47:5         registration [1] - 16:2          35:13, 61:20
 prospect [1] - 52:14              Raleigh/Wake [1] - 22:20          Rehnquist [1] - 48:12             requires [3] - 12:8, 35:9,
 protect [1] - 43:15               rates [1] - 45:21                 Rehnquist's [1] - 48:17          64:23
 protective [5] - 3:24, 7:21,      read [6] - 14:8, 25:15, 43:5,     relate [2] - 29:5, 53:19          residency [1] - 16:23
10:1, 52:13, 52:16                43:7, 48:16, 48:17                 related [3] - 35:7, 38:13,        resident [1] - 27:21
 protocol [1] - 8:25               readily [1] - 63:22              42:5                               resolved [1] - 67:22
                                                                     relationship [4] - 6:24, 7:6,




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 91 of 94
                                                                                                                                 92


 resort [1] - 62:20              23:2, 23:3, 23:5, 54:5, 60:18,    select [1] - 48:19                sit [4] - 12:15, 49:17, 51:20,
 resource [1] - 65:7             60:22, 61:11, 61:22               Senate [2] - 48:11, 48:18        71:3
 respect [25] - 4:2, 8:25,        Russian [15] - 16:4, 17:13,      send [1] - 78:18                  situation [3] - 56:9, 76:7,
11:21, 12:7, 12:18, 15:17,       17:14, 17:15, 17:16, 17:20,       sense [2] - 20:23, 44:3          76:8
33:24, 36:3, 38:7, 38:17,        44:7, 44:23, 46:25, 47:1,         sent [2] - 10:2, 65:9             six [1] - 9:19
45:16, 46:2, 46:23, 47:15,       47:4, 50:2, 57:24, 60:23,         sentence [1] - 54:11              sleep [2] - 20:5, 45:14
48:20, 49:5, 50:7, 54:4, 55:2,   71:14                             Sentencing [1] - 45:22            slept [1] - 57:19
60:14, 60:17, 62:8, 72:1,                                          separate [3] - 7:10, 42:2,        slip [1] - 50:21
72:5, 75:12                                    S                  51:8                               slow [2] - 55:1, 55:4
 respectful [1] - 63:4                                             separately [1] - 67:25            small [1] - 48:16
 respond [2] - 3:8, 11:4                                           separation [1] - 42:25            smaller [1] - 63:23
                                  safe [15] - 17:24, 17:25,
 response [4] - 41:22, 43:2,                                       September [3] - 68:6, 68:7,       smell [1] - 42:10
                                 18:8, 18:10, 19:2, 19:7, 20:2,
72:25, 73:20                                                      68:9                               sniffing [2] - 58:23, 58:25
                                 20:19, 20:22, 21:6, 21:8,
 responsibilities [1] - 25:21                                      Serbia [5] - 15:15, 16:9,         Social [1] - 27:13
                                 21:9, 21:15, 56:17, 56:18
 responsibility [2] - 30:4,                                       16:13, 16:16, 56:25                sole [1] - 19:7
                                  safer [1] - 21:5
30:8                                                               Serbian [2] - 16:14               solitary [1] - 71:11
                                  salary [4] - 10:8, 10:12,
 restraining [3] - 41:5, 41:7,                                     serious [1] - 58:13               someone [5] - 12:8, 48:14,
                                 10:20, 53:22
41:11                                                              serve [2] - 11:14, 25:12         51:21, 71:18, 76:14
                                  Salerno [3] - 48:12, 48:17,
 restrictions [2] - 30:17,                                         served [1] - 71:17                son [4] - 18:23, 21:10, 42:1,
                                 61:18
71:20                                                              Service [6] - 65:6, 66:4,        71:21
                                  saw [2] - 6:16, 43:3
 result [1] - 15:16                                               76:13, 76:17, 77:19, 77:22         son's [1] - 59:2
                                  schedule [2] - 64:22, 73:15
 return [2] - 37:1, 59:3                                           service [3] - 50:1, 76:24,        soon [1] - 75:18
                                  scheduled [1] - 70:4
 reveals [1] - 78:10                                              77:24                              sophisticated [1] - 43:24
                                  schedules [1] - 69:23
 review [3] - 37:22, 65:24,                                        services [3] - 34:1, 44:9,        sophistication [1] - 63:20
                                  scheduling [7] - 68:5, 70:5,
77:7                                                              63:22                              sorry [3] - 24:2, 28:20,
                                 70:15, 70:16, 70:21, 72:11,
 reviewed [5] - 25:17, 25:19,                                      set [12] - 13:6, 13:21, 25:21,   31:25
                                 74:17
36:20, 55:17, 58:1                                                48:14, 50:13, 54:9, 54:20,         sort [1] - 66:23
                                  scheme [1] - 61:8
 reviews [1] - 60:5                                               62:23, 68:9, 68:12, 70:18,         source [8] - 21:13, 35:21,
                                  school [5] - 24:10, 24:17,
 revisit [2] - 64:21, 74:3                                        73:22                             38:23, 39:3, 39:7, 40:18,
                                 24:19, 32:25
 rightly [3] - 20:20, 21:2,                                        setting [2] - 74:14, 75:8        43:10, 46:20
                                  scope [2] - 52:3, 52:16
44:9                                                               seven [1] - 22:25                 source's [1] - 36:23
                                  seal [8] - 36:25, 37:3, 37:4,
 rights [7] - 68:16, 70:1,                                         several [2] - 38:12, 76:22        sources [6] - 8:2, 40:8,
                                 37:5, 37:21, 45:2, 77:6,
70:9, 70:13, 72:6, 72:7, 75:6                                      severe [1] - 46:3                40:10, 40:12, 43:4, 63:18
                                 78:21
 rings [1] - 64:25                                                 severely [1] - 44:12              space [1] - 25:25
                                  sealed [7] - 36:2, 36:9,
 rise [1] - 19:19                                                  shall [3] - 11:13, 55:21,         sparsely [1] - 20:15
                                 36:13, 36:15, 37:24, 45:7,
 risk [10] - 15:16, 17:18,                                        71:17                              speaking [1] - 6:22
                                 78:7
19:20, 21:17, 44:14, 45:16,                                        shocked [1] - 47:4                speaks [3] - 56:11, 56:12,
                                  sealing [1] - 78:14
53:15, 56:15, 58:12, 62:10                                         short [3] - 67:3, 74:13, 79:5    71:14
                                  seat [3] - 11:17, 12:23,
 RMR [2] - 1:19, 79:17                                             shortly [2] - 6:25, 19:18         special [3] - 6:20, 35:9,
                                 68:22
 Road [1] - 22:18                                                  show [13] - 17:3, 17:4, 17:6,    60:13
                                  seated [3] - 12:2, 22:9, 55:6
 roaring [1] - 43:12                                              17:7, 19:1, 43:8, 43:9, 44:25,     Special [7] - 6:22, 6:23, 7:2,
                                  second [6] - 16:3, 17:22,
 robust [1] - 45:17                                               53:14, 54:10, 54:20, 62:25,       33:21, 57:14, 58:17, 58:24
                                 30:12, 38:10, 38:11, 38:15
 role [1] - 16:8                                                  78:24                              specific [1] - 9:3
                                  secondarily [1] - 36:20
 room [1] - 26:1                                                   showed [1] - 28:14                specifically [4] - 9:13,
                                  secrete [2] - 54:1, 62:19
 rooms [1] - 42:3                                                  showing [1] - 36:24              20:10, 36:21, 56:15
                                  section [1] - 39:1
 routinely [1] - 70:14                                             shown [1] - 53:16                 specified [1] - 33:22
                                  secured [1] - 69:23
 Roza [1] - 21:20                                                  shows [3] - 13:7, 50:14,          Speedy [5] - 68:16, 69:25,
                                  Security [1] - 27:13
 ROZA [5] - 21:20, 22:11,                                         62:8                              70:9, 75:4, 75:9
                                  security [4] - 33:20, 33:23,
28:6, 80:5, 80:7                                                   side [4] - 12:15, 20:13,          speedy [1] - 70:13
                                 46:7, 62:4
 roza [1] - 22:18                                                 38:2, 75:15                        spend [1] - 24:21
                                  see [7] - 46:14, 52:24,
 roze [1] - 22:5                                                   sides [1] - 65:3                  spent [1] - 65:13
                                 65:22, 70:7, 70:11, 77:3,
 Rule [1] - 11:11                                                  signaling [1] - 70:8              sporadic [1] - 33:5
                                 77:8
 rule [6] - 11:25, 12:1, 12:7,                                     significant [6] - 45:12,          St [1] - 1:20
                                  seeing [1] - 77:13
12:23, 51:23                                                      47:20, 53:19, 53:25, 54:11,        staff [3] - 76:12, 76:15,
                                  seek [3] - 10:1, 41:11, 74:8
 Rules [1] - 59:14                                                60:14                             76:21
                                  seeking [2] - 7:19, 7:21
 rules [2] - 63:25, 71:12                                          simply [6] - 13:13, 47:12,        stand [1] - 22:8
                                  sees [2] - 38:12, 49:15
 ruling [2] - 37:20, 52:9                                         49:22, 56:22, 65:17, 76:6          standard [2] - 44:1, 50:25
                                  segued [1] - 18:20
 run [1] - 29:2                                                    single [3] - 50:23, 61:2,         start [4] - 4:13, 52:11,
                                  seized [1] - 62:11
 Russia [10] - 15:15, 17:10,                                      61:10                             68:14, 73:23
                                  seizure [1] - 61:9




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 92 of 94
                                                                                                                                   93


 started [2] - 42:19, 52:20        supposedly [1] - 8:10            45:25, 46:1, 46:2, 46:17,          Thursday [3] - 73:25, 74:2
 starts [1] - 62:1                 surrender [1] - 34:4             46:19, 46:23, 47:16, 47:23,        Timofeevs [1] - 31:20
 state [2] - 2:7, 22:4             survive [2] - 71:2, 71:6         48:22, 49:5, 50:14, 54:10,         title [1] - 19:17
 statement [10] - 15:17,           sustained [1] - 32:15            56:5, 57:15, 58:8, 59:22,          today [12] - 3:23, 7:11,
27:24, 35:21, 35:23, 38:9,         sworn [3] - 2:9, 21:24, 22:6     60:9, 60:12, 60:15, 60:22,        9:12, 12:21, 13:4, 26:4,
53:5, 53:10, 56:4, 72:5            systems [1] - 39:12              61:20, 63:17, 71:1, 71:25         36:21, 50:12, 52:7, 69:24,
 statements [5] - 8:16,                                              Teyf's [15] - 4:16, 10:6,        77:4
40:15, 41:23, 53:11, 57:22                       T                  16:2, 23:20, 24:4, 30:21,          together [6] - 2:13, 26:7,
 Staten [1] - 43:8                                                  32:12, 33:22, 38:16, 44:5,        26:10, 42:2, 62:22, 71:16
 STATES [3] - 1:1, 1:4, 1:10                                        44:6, 44:23, 57:5, 57:6, 75:6      Tony [1] - 6:16
 states [1] - 10:19                table [2] - 3:20, 39:4            THE [136] - 1:10, 2:2, 2:5,       took [1] - 75:22
 States [10] - 1:12, 11:14,        taekwondo [1] - 24:20            2:7, 2:8, 2:11, 2:15, 2:23,        tools [1] - 62:22
15:15, 16:21, 16:25, 17:2,         talents [1] - 72:15              3:9, 3:21, 4:4, 4:18, 4:22,        toward [1] - 67:15
17:5, 47:18, 61:12, 61:13          talks [2] - 55:18, 59:21         4:24, 5:1, 5:4, 5:10, 5:13,        towards [2] - 3:23, 36:22
 statute [2] - 59:8, 60:24         Tarboro [1] - 65:5               5:16, 5:18, 5:21, 5:24, 7:11,      Tracy [3] - 1:19, 79:16,
 statutory [4] - 47:1, 47:2,       target [5] - 7:14, 9:14, 9:21,   7:19, 8:12, 11:10, 11:25,         79:17
49:6, 61:18                       10:2, 10:3                        12:20, 13:3, 13:16, 13:21,         traffic [1] - 27:4
 stay [4] - 20:8, 26:9, 26:11,     Tatyana [7] - 2:8, 23:9,         14:2, 14:4, 14:8, 14:12,           transcript [17] - 1:24,
41:4                              23:22, 29:11, 41:17, 42:7,        14:17, 14:21, 14:25, 15:4,        13:24, 15:11, 18:5, 20:23,
 stayed [1] - 26:6                46:2                              19:23, 21:23, 21:24, 22:2,        21:9, 21:12, 35:24, 37:16,
 stenography [1] - 1:23            team [3] - 6:13, 6:14, 12:11     22:5, 22:8, 24:11, 27:15,         38:11, 40:6, 40:7, 51:4,
 step [1] - 33:14                  teenager [1] - 43:16             28:3, 28:24, 29:8, 29:19,         51:11, 52:23, 53:11, 79:12
                                   teleconference [1] - 65:25       30:10, 30:12, 32:15, 33:12,        TRANSCRIPT [1] - 1:9
 still [3] - 32:9, 41:24, 56:7
                                   telephone [3] - 26:16,           33:14, 36:7, 36:11, 36:14,         transcripts [11] - 36:4,
 stipulation [1] - 36:3
                                  64:25, 70:15                      36:17, 36:24, 37:10, 37:12,       37:13, 37:23, 38:8, 39:2,
 stone [1] - 73:21
                                   template [1] - 59:13             37:20, 38:6, 44:19, 45:1,         39:24, 46:16, 46:18, 58:18,
 straw [1] - 59:18
                                   ten [3] - 18:23, 49:21, 49:22    45:5, 45:7, 49:19, 49:21,         60:6, 60:16
 Street [1] - 1:17
                                   tenuous [1] - 10:25              49:25, 50:5, 50:6, 50:9, 51:6,
 strength [2] - 34:14, 40:16                                                                           transfer [3] - 21:10, 71:13,
                                   term [2] - 56:17, 70:11          51:16, 52:19, 53:2, 53:13,
 stress [3] - 71:9, 71:10,                                                                            77:13
                                   terms [5] - 8:4, 33:19,          55:17, 59:5, 62:14, 63:3,
71:25                                                                                                  transferred [1] - 18:23
                                  39:20, 46:15, 63:15               64:2, 64:4, 64:7, 64:9, 64:10,
 strike [1] - 29:17                                                                                    transferring [1] - 59:2
                                   terrific [1] - 43:5              64:12, 64:15, 64:21, 65:9,
 strong [3] - 35:5, 35:6                                                                               translate [3] - 24:15, 63:15,
                                   test [5] - 35:14, 44:24,         65:12, 65:18, 65:22, 66:3,
 strongly [1] - 50:19                                                                                 65:23
                                  61:18                             66:7, 66:11, 66:16, 67:1,
 study [1] - 60:16                                                                                     translated [1] - 44:24
                                   testified [3] - 57:14, 58:2,     67:5, 67:8, 67:14, 67:25,
 subject [6] - 8:3, 9:15, 9:22,                                                                        translation [4] - 60:11,
                                  58:24                             68:5, 68:9, 68:13, 68:19,
34:23, 43:15, 48:3                                                                                    63:18, 63:22, 65:7
                                   testify [1] - 14:16              68:22, 69:2, 69:11, 69:20,
 submission [2] - 3:5, 34:16                                                                           translations [1] - 44:7
                                   testimony [4] - 49:14,           71:5, 72:10, 72:13, 72:20,
 submit [7] - 12:9, 27:12,                                                                             translator [3] - 22:1, 24:15,
                                                                    73:5, 73:10, 73:14, 73:18,
                                  57:10, 57:12, 58:17                                                 68:20
40:3, 40:14, 60:6, 72:6,                                            74:12, 74:20, 75:7, 75:14,
78:15                              tests [1] - 49:6                                                    translators [1] - 66:17
                                                                    76:1, 76:10, 76:19, 77:2,
 submitted [1] - 35:2              TEYF [1] - 1:7                                                      transport [1] - 64:8
                                                                    77:21, 78:1, 78:6, 78:14,
 submitting [2] - 3:24, 8:6        Teyf [104] - 2:19, 2:22, 2:23,                                      transportation [1] - 76:8
                                                                    78:17, 79:1, 79:4
                                  3:3, 6:4, 6:7, 6:11, 6:24,                                           travel [10] - 15:14, 15:18,
 subsequently [1] - 18:22                                            themselves [1] - 34:25
                                  7:23, 8:15, 8:19, 8:24, 9:3,                                        15:22, 17:19, 17:22, 56:24,
 substantial [2] - 59:15,                                            thereafter [1] - 6:25
                                  9:16, 10:8, 10:18, 11:22,                                           57:1, 57:4, 61:23
59:19                                                                therefore [3] - 10:13, 12:13,
                                  12:12, 13:7, 15:13, 15:16,                                           travelled [1] - 50:3
 succeeded [1] - 48:8                                               18:7
                                  15:23, 16:13, 16:24, 17:12,                                          travelling [4] - 15:24,
 suffers [1] - 45:14                                                 they've [4] - 8:1, 10:16,
                                  17:14, 17:24, 18:6, 18:10,                                          17:12, 47:12, 73:7
 sufficient [1] - 62:9                                              11:9, 61:22
                                  18:17, 20:7, 20:20, 20:25,                                           trial [23] - 34:17, 39:18,
 suggested [1] - 62:23                                               third [5] - 16:18, 25:12,
                                  21:1, 23:5, 23:7, 23:9, 23:22,                                      39:19, 50:21, 50:22, 50:24,
 suicide [2] - 43:17, 43:19                                         25:17, 29:13, 33:20
                                  23:24, 24:6, 24:9, 24:22,                                           56:3, 57:2, 58:7, 62:12, 63:6,
 Suite [2] - 1:14, 1:17                                              third-party [4] - 25:12,
                                  25:7, 25:13, 25:24, 26:6,                                           63:9, 64:6, 67:9, 67:10,
 summary [2] - 34:18, 34:25                                         25:17, 29:13, 33:20
                                  26:11, 26:21, 27:8, 27:23,                                          67:13, 67:16, 69:22, 70:13,
 summed [1] - 56:9                28:11, 28:14, 28:21, 30:18,        thoughts [1] - 77:16
 sums [1] - 53:19                                                                                     70:18, 73:24, 74:2, 74:9
                                  32:3, 32:7, 33:25, 34:22,          threat [1] - 57:5
 Sunday [1] - 71:23                                                                                    Trial [5] - 68:16, 70:1, 70:9,
                                  35:15, 35:17, 35:20, 38:9,         threatened [2] - 8:22
 Sundays [1] - 71:21                                                                                  75:4, 75:9
                                  38:24, 39:4, 39:21, 40:25,         threatening [1] - 43:20
 support [1] - 29:11                                                                                   tried [2] - 65:14, 67:15
                                  41:10, 41:17, 41:22, 42:7,         three [6] - 16:5, 40:9, 40:10,
 supported [2] - 58:17, 61:2                                                                           trigger [1] - 70:7
                                  42:24, 43:1, 43:14, 43:16,        49:7, 66:9, 74:17
 suppose [1] - 13:12                                                                                   triplicate [1] - 15:4
                                  44:11, 44:15, 45:8, 45:17,         throughout [1] - 58:18
                                                                                                       true [2] - 25:11, 57:8




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 93 of 94
                                                                                                    94


 try [6] - 11:6, 65:7, 66:8,     57:17                              ways [1] - 46:20
67:11, 76:6, 77:20                                                  weak [1] - 43:13
 trying [3] - 33:1, 33:4,                       V                   wealth [1] - 62:7
69:10                                                               wear [1] - 34:3
 Tryon [1] - 1:17                                                   week [9] - 67:10, 70:24,
                                  vacations [2] - 26:7, 26:9
 turn [3] - 51:2, 51:4, 55:9                                       72:18, 73:8, 73:9, 73:25,
                                  valid [1] - 26:25
 Twenty [1] - 22:25                                                74:1
                                  Van [3] - 1:16, 2:18, 6:8
 Twenty-seven [1] - 22:25                                           weeks [5] - 9:19, 66:9,
                                  variety [7] - 39:2, 39:25,
 twice [1] - 43:19                                                 71:11, 74:5, 74:17
                                 44:11, 45:10, 46:10, 46:20,
 two [16] - 11:17, 22:21,                                           weight [1] - 54:12
                                 47:8
38:7, 39:15, 48:6, 50:1, 50:8,                                      WESTERN [1] - 1:2
                                  various [1] - 24:24
60:3, 60:16, 60:18, 61:21,                                          whatnot [1] - 58:6
                                  VASILYEV [7] - 4:21, 4:23,
66:9, 70:24, 71:9, 71:11,                                           White [3] - 1:17, 2:20, 5:20
                                 4:25, 5:3, 5:12, 5:15, 5:17
71:25                                                               WHITE [2] - 5:20, 5:23
                                  Vasilyev [30] - 2:21, 3:19,
 typically [2] - 50:1, 70:16                                        white's [1] - 2:21
                                 4:1, 4:8, 4:15, 4:21, 5:7, 5:8,
                                                                    whole [3] - 58:22, 66:2,
                                 6:3, 6:10, 6:14, 6:17, 6:21,
              U                  7:8, 7:13, 7:16, 7:22, 7:24,
                                                                   67:9
                                                                    width [1] - 65:16
                                 8:3, 8:5, 8:7, 8:18, 8:21,
                                                                    wife [13] - 19:16, 20:25,
 U.S [6] - 16:18, 16:20,         8:24, 9:14, 9:20, 10:18,
                                                                   31:14, 31:16, 41:23, 44:1,
16:24, 17:8, 45:21, 69:6         11:21, 12:11, 51:19
                                                                   55:19, 55:22, 56:5, 57:18,
 ultimate [1] - 7:15              Vasilyev's [2] - 6:24, 7:6
                                                                   57:19, 58:20, 58:25
 ultimately [3] - 56:3, 59:1,     victim [1] - 78:10
                                                                    wife's [1] - 41:23
77:21                             video [1] - 65:21
                                                                    willing [11] - 6:18, 25:12,
 unable [2] - 45:14, 47:17        view [4] - 28:21, 29:4, 56:2,
                                                                   26:11, 33:25, 34:3, 34:5,
 unaware [1] - 7:6               62:7
                                                                   61:24, 68:15, 69:25, 71:2
 unclear [2] - 11:5, 19:8         violate [1] - 60:25
                                                                    wish [7] - 36:7, 36:9, 36:12,
 uncovered [1] - 7:13             violated [2] - 60:22, 60:24
                                                                   36:14, 59:5, 65:24, 76:1
 under [18] - 17:12, 33:21,       violating [1] - 8:24
                                                                    WITNESS [1] - 22:5
36:25, 37:3, 37:4, 37:5,          violation [2] - 9:9, 62:2
                                                                    witness [5] - 3:6, 8:8, 22:6,
37:21, 43:21, 45:24, 47:1,        violations [2] - 27:4, 27:6
                                                                   22:8, 28:3
47:7, 47:12, 48:14, 48:21,        violence [6] - 40:6, 40:10,
                                                                    witnesses [4] - 13:9, 51:3,
54:12, 57:12, 71:12, 77:6        40:24, 42:22, 44:16, 48:20
                                                                   66:14, 66:21
 underestimate [1] - 71:10        violin [2] - 38:24, 39:8
                                                                    wives [2] - 43:8, 43:9
 understood [5] - 52:14,          virtually [1] - 71:19
                                                                    wonderful [1] - 43:10
52:18, 55:11, 66:18, 70:12        visa [2] - 17:4, 57:16
                                                                    WOOD [1] - 1:10
 undisputed [1] - 61:21           visit [3] - 25:2, 25:3, 33:21
                                                                    word [1] - 53:9
 UNITED [3] - 1:1, 1:4, 1:10      visited [1] - 26:7
                                                                    works [1] - 76:19
 United [10] - 1:12, 11:14,       visitor [1] - 71:22
                                                                    worse [2] - 49:9, 54:23
15:15, 16:20, 16:25, 17:2,        visits [3] - 25:3, 25:6, 71:21
                                                                    worth [1] - 66:19
17:5, 47:18, 61:11, 61:13         Voentorg [1] - 61:6
                                                                    written [2] - 51:25, 74:13
 unless [3] - 47:3, 77:14,        voir [1] - 74:15
78:1
 unmonitored [1] - 8:11                                                           Y
                                               W
 unnecessary [1] - 63:3
 unraised [1] - 52:12                                               year [2] - 20:11, 56:10
 unrelated [1] - 6:15             wait [1] - 69:10
                                                                    years [9] - 4:15, 8:16, 9:17,
 unseal [1] - 38:1                Wait [1] - 39:7
                                                                   15:13, 22:21, 22:24, 22:25,
 unusual [1] - 77:14              waive [4] - 68:15, 69:25,
                                                                   23:15, 23:16
 unwilling [2] - 40:15, 40:17    72:7, 75:5
                                                                    York [4] - 4:25, 5:6, 5:11,
 up [24] - 13:7, 15:4, 23:4,      waiver [2] - 70:23, 72:5
                                                                   43:11
24:10, 32:25, 42:18, 50:14,       waives [1] - 70:9
                                                                    yourself [3] - 5:16, 12:24,
52:17, 54:10, 54:21, 56:9,        waiving [1] - 70:13              62:19
57:11, 58:6, 59:13, 59:18,        Wake [12] - 63:17, 63:19,
60:2, 62:25, 65:10, 65:11,       64:6, 64:17, 66:23, 67:2,
68:12, 75:22, 77:15, 77:21,      69:9, 76:4, 76:5, 76:9, 76:24,
78:2                             76:25
 upper [1] - 42:11                walked [1] - 42:18
 uses [1] - 7:8                   wants [1] - 71:4
 utilized [3] - 7:16, 7:17,       warranty [1] - 55:21




           Case 5:18-cr-00452-FL Document 103 Filed 01/23/19 Page 94 of 94
